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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK
        -----------------------------------------------------------------x
        In re:                                                           :
                                                                           Chapter 11
                                                                         :
        HOOPER HOLMES, INC.                                              :
                                                                           Case No. 18-23302 (RDD)
        D/B/A PROVANT HEALTH, et al.,                                    :
                                                                         :
                                    1                                      (Jointly Administered)
                          Debtors.                                       :
                                                                        x


                           SCHEDULE OF ASSETS AND LIABILITIES FOR
                       PROVANT HEALTH SOLUTIONS, LLC (CASE NO. 18-23309)




                   1
                    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are as follows: Hooper Holmes, Inc. (9359); Hooper Distribution Services, LLC (6838);
        Hooper Wellness, LLC (6005); Accountable Health Solutions, LLC (9625); Hooper Information Services, Inc.
        (4927); Hooper Kit Services, LLC (8378); and Provant Health Solutions, LLC (8511). The location of the Debtors’
        corporate headquarters is 560 N. Rogers Road, Olathe, KS 66286.


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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK
        -----------------------------------------------------------------x
        In re:                                                          :
                                                                           Chapter 11
                                                                        :
        HOOPER HOLMES, INC.                                             :
                                                                           Case No. 18-23302 (RDD)
        D/B/A PROVANT HEALTH, et al.,                                   :
                                                                        :
                                    1                                      (Jointly Administered)
                          Debtors.                                      :
                                                                        x

           GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
            DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
                  LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                Hooper Holmes, Inc. d/b/a Provant Health and the other above-captioned debtors and
        debtors-in-possession (collectively, the “Debtors”) have filed their respective Schedules of
        Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs (the “Statements”)
        in the United States Bankruptcy Court for the Southern District of New York (the “Court”). The
        Debtors, with the assistance of their legal and financial advisors, prepared the Schedules and
        Statements in accordance with section 521 of chapter 11 of title 11 of the United States Code
        (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

                James E. Fleet has signed each set of the Schedules and Statements. Mr. Fleet serves as
        the Debtors’ Chief Restructuring Officer and he is an authorized signatory for each of the
        Debtors in these chapter 11 cases. In reviewing and signing the Schedules and Statements, Mr.
        Fleet has necessarily relied upon the efforts, statements, advice, and representations of personnel
        of the Debtors and their legal and financial advisors. Mr. Fleet has not (and could not have)
        personally verified the accuracy of each such statement and representation, including statements
        and representations concerning amounts owed to creditors.

                In preparing the Schedules and Statements, the Debtors relied on financial data derived
        from their books and records that was available at the time of such preparation. Although the
        Debtors have made every reasonable effort to ensure the accuracy and completeness of the
        Schedules and Statements, subsequent information or discovery may result in material changes
        to the Schedules and Statements. As a result, inadvertent errors or omissions may exist. For the
        avoidance of doubt, the Debtors hereby reserve their rights to amend and supplement the
        Schedules and Statements as may be necessary or appropriate.



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                    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are as follows: Hooper Holmes, Inc. (9359); Hooper Distribution Services, LLC (6838);
        Hooper Wellness, LLC (6005); Accountable Health Solutions, LLC (9625); Hooper Information Services, Inc.
        (4927); Hooper Kit Services, LLC (8378); and Provant Health Solutions, LLC (8511). The location of the Debtors’
        corporate headquarters is 560 N. Rogers Road, Olathe, KS 66286.



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                The Debtors and their agents, attorneys, and financial advisors do not guarantee or
        warrant the accuracy or completeness of the data that is provided herein, and shall not be liable
        for any loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
        whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
        communicating, or delivering the information contained herein. While commercially reasonable
        efforts have been made to provide accurate and complete information herein, inadvertent errors
        or omissions may exist. The Debtors and their agents, attorneys, and financial advisors expressly
        do not undertake any obligations to update, modify, revise, or re-categorize the information
        provided herein or to notify any third party should the information be updated, modified, revised,
        or re-categorized, except as required by applicable law. In no event shall the Debtors or their
        agents, attorneys, and financial advisors be liable to any third party for any direct, indirect,
        incidental, consequential, or special damages (including, but not limited to, damages arising from
        the disallowance of a potential claim against the Debtors or damages to business reputation, lost
        business, or lost profits), whether foreseeable or not and however caused, even if the Debtors or
        their agents, attorneys, or financial advisors are advised of the possibility of such damages.

                                    Global Notes and Overview of Methodology

                   1. Description of Cases. On August 27, 2018 (the “Petition Date”), each of the Debtors
                      filed voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The
                      Debtors are operating their business and managing their property as debtors in
                      possession pursuant to section 1107(a) and 1108 of the Bankruptcy Code. On August
                      29, 2018, an order for procedural purposes, [Docket No. 35], was entered directing
                      joint administration of these chapter 11 cases.             Notwithstanding the joint
                      administration of the Debtors’ cases for procedural purposes, each Debtor has filed its
                      own Schedules and Statements. The information provided herein, except as
                      otherwise noted, is reported as of the close of business on the Petition Date.

                   2. Global Notes Control. These Global Notes pertain to and comprise an integral part
                      of each of the Schedules and Statements and should be referenced in connection with
                      any review thereof. In the event that the Schedules and Statements conflict with these
                      Global Notes, these Global Notes shall control.

                   3. Reservations and Limitations. Reasonable efforts have been made to prepare and
                      file complete and accurate Schedules and Statements; however, as noted above,
                      inadvertent errors and omissions may exist. The Debtors reserve all rights to amend
                      and supplement the Schedules and Statements as may be necessary or appropriate.
                      Nothing contained in the Schedules and Statements constitutes a waiver of any of the
                      Debtors’ rights or an admission of any kind with respect to these chapter 11 cases,
                      including, but not limited to, any rights or claims of the Debtors against any third
                      party or issues involving substantive consolidation, equitable subordination, or
                      defenses or causes of action arising under the provisions of chapter 5 of the
                      Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws
                      to recover assets or avoid transfers. Any specific reservation of rights contained
                      elsewhere in the Global Notes does not limit in any respect the general reservation of
                      rights contained in this paragraph.


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                   a. No Admission. Nothing contained in the Schedules and Statements is intended or
                      should be construed as an admission or stipulation of the validity of any claim
                      against the Debtors, any assertion made therein or herein, or a waiver of the
                      Debtors’ rights to dispute any claim or assert any cause of action or defense
                      against any party.

                   b. Recharacterization. Notwithstanding that the Debtors have made reasonable
                      efforts to correctly characterize, classify, categorize, or designate certain claims,
                      assets, executory contracts, unexpired leases, and other items reported in the
                      Schedules and Statements, the Debtors nonetheless may have improperly
                      characterized, classified, categorized, or designated certain items. The Debtors
                      reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                      reported in the Schedules and Statements at a later time as is necessary and
                      appropriate.

                   c. Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                      Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G a
                      “executory” or “unexpired” does not constitute an admission by the Debtors of the
                      legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                      rights to recharacterize or reclassify such claim or contract.

                   d. Claims Description. Any failure to designate a claim on the Debtors’ Schedules
                      and Statements as “disputed,” “contingent,” or “unliquidated” does not
                      constitute an admission by the Debtors that such amount is not “disputed,”
                      “contingent,” or “unliquidated.” Each Debtor reserves all rights to dispute,
                      or assert offsets or defenses to, any claim reflected on its respective Schedules
                      and Statements on any grounds, including, without limitation, liability or
                      classification, or to otherwise subsequently designate such claims as “disputed,”
                      “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                      priority, or avoidability of any claim. Moreover, listing a claim does not
                      constitute an admission of liability by the Debtors against which the claim is
                      listed or by any of the Debtors. The Debtors reserve all rights to amend its
                      Schedules and Statements as necessary and appropriate, including, but not
                      limited to, with respect to claim description and designation.

                   e. Estimates and Assumptions. The preparation of the Schedules and Statements
                      required the Debtors to make reasonable estimates and assumptions with respect
                      to the reported amounts of assets and liabilities, the amount of contingent
                      assets and contingent liabilities on the date of the Schedules and Statements, and
                      the reported amounts of revenues and expenses during the applicable reporting
                      periods. Actual results could differ from such estimates.

                   f. Causes of Action. Despite reasonable efforts, the Debtors may not have
                      identified all current and potential causes of action the Debtors may have against
                      third parties in their respective Schedules and Statements, including,
                      without limitation, avoidance actions arising under chapter 5 of the Bankruptcy


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                       Code and actions under other relevant bankruptcy and non-bankruptcy laws to
                       recover assets. The Debtors reserve all rights with respect to any causes of
                       action, and nothing in these Global Notes or the Schedules and Statements should
                       be construed as a waiver of any such causes of action.

                       Additionally, prior to the Petition Date, the Debtors, as plaintiff, cross-claimant
                       and/or third party plaintiff may have asserted claims against third parties, seeking
                       monetary damages for business-related losses.

                   g. Intellectual Property Rights. Exclusion of certain intellectual property should
                      not be construed as an admission that such intellectual property rights have
                      been abandoned, have been terminated or otherwise expired by their terms, or
                      have been assigned or otherwise transferred pursuant to a sale,
                      acquisition, or other transaction. Conversely, inclusion of certain intellectual
                      property rights should not be construed as an admission that such intellectual
                      property rights have not been abandoned, have not been terminated or otherwise
                      expired by their terms, or have not been assigned or otherwise transferred
                      pursuant to a sale, acquisition, or other transaction.

                   h. Insiders. In the circumstances where the Schedules and Statements require
                      information regarding “insiders,” the Debtors have included information with
                      respect to certain individuals who served as officers and directors, as the case may
                      be, during the relevant time periods. Such individuals may no longer serve in such
                      capacities. The listing of a party as an insider for purposes of the Schedules and
                      Statements is not intended to be, nor should it be, construed an admission of any
                      fact, right, claim, or defense, and all such rights, claims, and defenses are hereby
                      expressly reserved. Information regarding the individuals listed as insiders in
                      the Schedules and Statements has been included for informational purposes only
                      and such information may not be used for the purposes of determining control of
                      the Debtors, the extent to which any individual exercised management
                      responsibilities or functions, corporate decision-making authority over the
                      Debtors, or whether such individual could successfully argue that he or she
                      is not an insider under applicable law, including the Bankruptcy Code and federal
                      securities laws, or with respect to any theories of liability or any other purpose.

             4. Methodology.

                   a. Basis of Presentation. The Schedules and Statements do not purport to represent
                      financial statements prepared in accordance with Generally Accepted
                      Accounting Principles in the United States (“GAAP”), nor are they intended
                      to be fully reconciled to the financial statements of each Debtor. The
                      Schedules and Statements contain unaudited information that is subject to
                      further review and potential adjustment. The Schedules and Statements reflect
                      the Debtors’ reasonable efforts to report the assets and liabilities of each Debtor on
                      an unconsolidated basis.



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                   b. Confidential Information. There may be instances in the Schedules and
                      Statements where the Debtors deemed it necessary and appropriate to redact
                      from the public record information such as names, addresses, or amounts.
                      Typically, the Debtors have used this approach because of a confidentiality
                      agreement between the Debtors and a third party, for the protection of sensitive
                      commercial information, or for the privacy of an individual.

                   c. Umbrella or Master Agreements. Contracts and leases listed on the Schedules
                      and Statements may be umbrella or master agreements that cover relationships
                      with some or all of the Debtors. Where relevant, such agreements have been
                      listed in the Schedules and Statements only of the Debtor entity that signed the
                      original umbrella or master agreement. Other Debtors, however, may be liable
                      together with such Debtor on account of such agreements and the Debtors reserve
                      all rights to amend the Schedules and Statements to reflect changes regarding
                      the liability of the Debtors with respect to such agreements, if appropriate.

                   d. Executory Contracts. Although the Debtors have made diligent attempts to
                      attribute an executory contract to its rightful Debtor, in certain instances, the
                      Debtors may have inadvertently failed to do so due to the complexity and size of
                      the Debtors’ businesses. Accordingly, the Debtors reserve all of their rights with
                      respect to the named parties of any and all executory contracts, including the right
                      to amend Schedule G.

                   e. Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
                      may properly be disclosed in multiple parts of the Statements and Schedules.
                      To the extent these disclosures would be duplicative, the Debtors have
                      determined to only list such assets, liabilities and prepetition payments once.

                   f. Net Book Value. In certain instances, current market valuations for individual
                      items of property and other assets are neither maintained by, nor readily available
                      to, the Debtors.       Accordingly, unless otherwise indicated, the Debtors’
                      Schedules and Statements reflect net book values. Market values may vary,
                      at some times materially, from net book values. The Debtors believe that it
                      would be an inefficient use of estate assets for the Debtors to obtain the current
                      market values of its property. Accordingly, the Debtors have indicated in the
                      Schedules and Statements that the market values of certain assets and liabilities are
                      undetermined. Assets that have been fully depreciated or that were expensed for
                      accounting purposes either do not appear in these Schedules and Statements, or
                      are listed with a zero-dollar value, as such assets have no net book value. The
                      omission of an asset from the Schedules and Statements does not constitute a
                      representation regarding the ownership of such asset, and any such omission
                      does not constitute a waiver of any rights of the Debtors with respect to such
                      asset.




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                   g. Undetermined or Unknown Assets. The description of an amount as
                      “unknown.” “TBD,” or “undetermined” is not intended to reflect upon the
                      materiality of such amount.

                   h. Unliquidated Amounts. Amounts that could not be fairly quantified by the
                      Debtors are scheduled as “unliquidated.”

                   i. Totals. All totals that are included in the Schedules and Statements represent
                      totals of all known amounts. To the extent there are unknown or undetermined
                      amounts, the actual total may be different from the listed total.

                   j. Property and Equipment. The Debtors may lease furniture, fixtures, and
                      equipment from certain third-party lessors. Any such leases are listed in the
                      Schedules and Statements. Nothing in the Schedules and Statements is, or should
                      be construed as, an admission as to the determination of the legal status of any
                      lease (including whether any lease is a true lease or a financing arrangement), and
                      the Debtors reserve all rights with respect thereto.

                   k. Allocation of Liabilities. The Debtors allocated liabilities between the
                      prepetition and postpetition periods based on the information and research
                      conducted in connection with the preparation of the Schedules and Statements.
                      As additional information becomes available and further research is conducted,
                      the allocation of liabilities between the prepetition and postpetition periods may
                      change.

                   l. Paid Claims. The Debtors have authority to pay certain outstanding prepetition
                      payables pursuant to Court order—as such, outstanding liabilities may have been
                      reduced by any court-approved postpetition payments made on prepetition
                      payables. Where and to the extent these liabilities have been satisfied, they are
                      not listed in the Schedules and Statements. To the extent the Debtors later pay any
                      amount of the claims listed in the Schedules and Statements pursuant to any
                      orders entered by the Court, the Debtors reserve all rights to amend or
                      supplement the Schedules and Statements or to take other action, such as filing
                      claims objections, as is necessary and appropriate to avoid overpayment or
                      duplicate payments for liabilities. Nothing contained herein should be deemed
                      to alter the rights of any party in interest to contest a payment made pursuant to
                      an order of the Court where such order preserves the right to contest.

                   m. Intercompany Claims. Receivables and payables among the Debtors are
                      reported on Schedule A/B and Schedule E/F, respectively, per the Debtors’ books
                      and records. The listing of any amounts with respect to such receivables and
                      payables is not, and should not be construed as, an admission of the
                      characterization of such balances as debt, equity, or otherwise. For the
                      avoidance of doubt, the Debtors reserve all rights, claims, and defenses in
                      connection with any and all intercompany receivables and payables,



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                       including with respect to the characterization of intercompany claims, loans,
                       and notes.

                   n. Guarantees and Other Secondary Liability Claims. The Debtors have
                      exercised reasonable efforts to locate and identify guarantees of its executory
                      contracts, unexpired leases, secured financings, and other such
                      agreements. Where guarantees have been identified, they have been included in
                      the relevant Schedules G and H for the affected Debtor. The Debtors may
                      have inadvertently omitted guarantees embedded in its contractual agreements
                      and may identify additional guarantees as it continues to review its books
                      and records and contractual agreements. The Debtors reserve their rights, but are
                      not required, to amend the Schedules and Statements if additional guarantees are
                      identified.

                   o. Excluded Assets and Liabilities. The Debtors have excluded certain categories
                      of assets and liabilities, including Goodwill, from the Schedules and Statements
                      and certain accrued expenses. The Debtors also have excluded rejection damage
                      claims of counterparties to executory contracts and unexpired leases that may be
                      rejected, to the extent such damage claim exists. In addition, certain immaterial
                      assets and liabilities may have been excluded. Further, certain liabilities
                      authorized to be paid pursuant to Court orders are excluded from the Schedules
                      and Statements.

                   p. Liens. The inventories, property and equipment listed in the Schedules and
                      Statements are presented without consideration of any liens.

                   q. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

                   r. Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
                      course of business. Such setoffs and nettings may occur due to a variety of
                      transactions or disputes including, but not limited to, intercompany
                      transactions, counterparty settlements,        pricing   discrepancies,   credits,
                      rebates, returns, refunds, and negotiations and/or disputes between the
                      Debtors and their customers and/or suppliers. These normal, ordinary
                      course setoffs and nettings are common to the industry. Due to the voluminous
                      nature of setoffs and nettings, it would be unduly burdensome and costly for
                      the Debtors to list each such transaction. Therefore, although such setoffs
                      and other similar rights may have been accounted for when scheduling certain
                      amounts, these ordinary course setoffs are not independently accounted for, and
                      as such, are or may be excluded from the Debtors’ Schedules and Statements. In
                      addition, some amounts listed in the Schedules and Statements may have been
                      affected by setoffs or nettings by third parties of which the Debtors are not yet
                      aware and/or of which the Debtors have approved to effectuate in the claims
                      process of its chapter 11 cases. The Debtors reserve all rights to challenge
                      any setoff and/or recoupment rights that may be asserted.



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                   s. Consolidated Accounts Payable and Disbursement System. The Debtors use a
                      centralized cash management system to streamline collection, transfer, and
                      disbursement of funds generated by the Debtors’ business operations

             5. Specific Schedules Disclosures.

                   a. Schedules A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
                      Prepayments. Details with respect to the Debtors’ cash management system and
                      bank accounts are provided in the Debtors’ Motion for Entry of Interim and Final
                      Orders (I) Authorizing the Debtors to (A) Continue Using the Cash Management
                      System and (B) Maintain Existing Bank Accounts and Business Forms and Books
                      and Records, (II) Authorizing Continued Intercompany Transactions [Docket No.
                      6] (the “Cash Management Motion”) and the orders of the Court granting the
                      Cash Management Motion [Docket Nos. 40].

                       Additionally, in the Debtors’ Motion for Entry of an Order (I) Determining that
                       Utility Providers Have Been Provided with Adequate Assurance of Payment, (II)
                       Prohibiting the Utility Providers from Altering, Refusing, or Discontinuing
                       Services, (III) Approving the Proposed Adequate Assurance Procedures, and (IV)
                       Granting Related Relief [Docket No. 22], the Debtors requested authority from
                       the Court to provide adequate assurance of payment for future utility services,
                       including an initial deposit in the amount of $70,000. Such deposits are not listed
                       on Schedule A/B, Part 2, which has been prepared as of the Petition Date.

                   b. Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and
                      Interests in Incorporated and Unincorporated Businesses, including any
                      Interest in an LLC, Partnership, or Joint Ventures. Ownership interests in
                      subsidiaries, partnerships, and joint ventures have been listed in Schedule A/B,
                      Part 4, as unknown amounts on account of the fact that the fair market value of
                      such ownership is dependent on numerous variables and factors, and may differ
                      significantly from their net book value.

                   c. Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
                      Collectibles. Dollar amounts are presented net of accumulated depreciation and
                      other adjustments.

                   d. Schedule A/B, Par 10 – Intangibles and Intellectual Property. The Debtors
                      listed various intangibles and intellectual property owned by the Debtors,
                      including trademarks, domain names, websites, and the like. The Debtors listed
                      the value of such intellectual property as unknown on account of the fact that the
                      fair market value of such assets is dependent on numerous variables and factors,
                      and may differ significantly from their net book value.

                   e. Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
                      impairments and other adjustments.



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                       Other Contingent and Unliquidated Claims or Causes of Action of Every
                       Nature, Including Counterclaims of the Debtors and Rights to Setoff Claims.
                       In the ordinary course of its businesses, the Debtors may have accrued, or may
                       subsequently accrue, certain rights to counter-claims, cross-claims, setoffs,
                       credits, rebates, or refunds with its customers and suppliers, or potential warranty
                       claims against its suppliers. Additionally, certain of the Debtors may be party to
                       pending litigation in which such Debtor has asserted, or may assert, claims as a
                       plaintiff or counter-claims and/or cross-claims as a defendant. Because such
                       claims are unknown to the Debtors and not quantifiable as of the Petition Date,
                       they are not listed on Schedule A/B, Part 11.

                       Interests in Insurance Policies and Annuities. A list of the Debtors’ insurance
                       policies and related information is available in the Debtors’ Motion for Entry of
                       Interim and Final Orders (I) Authorizing the Debtors to (I) Continue Insurance
                       Coverage Entered into Prepetition and Satisfy Prepetition Obligations Related
                       Thereto, (II) Renew, Amend, Supplement, Extend, or Purchase Insurance Policies,
                       (III) Honor the terms of their Premium Financing Agreements and Pay Premiums
                       Thereunder, (IV) Enter into New Premium Financing Agreements in the Ordinary
                       Course of Business, and (IV) Granting Related Relief [Docket No. 13]. The
                       Debtors believe that there is little or no cash value to the vast majority of such
                       insurance policies. Such policies have all been included on Schedule A/B, Part 11,
                       with values listed as “unknown.”

                   f. Schedule D – Creditors Who Have Claims Secured by Property. Except as
                      otherwise agreed pursuant to a stipulation or order entered by the Court, the
                      Debtors reserve all rights to dispute or challenge the validity, perfection, or
                      immunity from avoidance of any lien purported to be granted or perfected in any
                      specific asset to a secured creditor listed on Schedule D. Moreover, although the
                      Debtors have scheduled claims of certain creditors as secured claims, the Debtors’
                      reserve all rights to dispute or challenge the secured nature of any such creditor’s
                      claim or the characterization of the structure of any such transaction or any
                      document or instrument related to such creditor’s claim.

                       The descriptions provided in Schedule D are intended only to be a summary.
                       Reference to the applicable agreements and other related relevant documents is
                       necessary for a complete description of the collateral and the nature, extent, and
                       priority of any liens. Nothing in these Global Notes or the Schedules and
                       Statements shall be deemed a modification or interpretation of the terms of such
                       agreements. In certain instances, the Debtors may be a co-obligor, co-mortgagor,
                       or guarantor with respect to scheduled claims of other Debtors, and no claim set
                       forth on Schedule D of any Debtor is intended to acknowledge claims of creditors
                       that are otherwise satisfied or discharged by other entities.




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                   g. Schedule E/F – Creditors Who Have Unsecured Claims.

                       Part 1 – Creditors with Priority Unsecured Claims. As requested in the Debtors’
                       Motion for Entry of Interim and Final Orders (I) Authorizing the Payment of
                       Certain Prepetition Taxes and Fees and (II) Granting Related Relief [Docket No.
                       14] (the “Taxes Motion”) and the orders of the Court granting the Taxes Motion
                       [Docket Nos. 41], the Debtors have been granted the authority to pay, in its
                       discretion, certain tax liabilities that accrued prepetition. Accordingly, any
                       unsecured priority claims based upon prepetition tax accruals that have been paid
                       pursuant to the Taxes Order are not listed in Schedule E.

                       Furthermore, as requested in the Debtors Motion for Entry of Interim and Final
                       Orders (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
                       Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits
                       Programs, and (II) Granting Related Relief [Docket No. 12] (the “Wages
                       Motion”) and the orders of the Court granting the Wages Motion [Docket Nos.
                       39], the Debtors received final authority to pay certain prepetition obligations,
                       including to pay employee wages and other employee benefits, in the ordinary
                       course of business. Certain claims listed on Schedule E are claims held by the
                       Debtors’ employees for paid time off (“PTO Claims”). Accrued, unused paid
                       time off is paid out only upon separation from the Debtors. Any PTO Claims
                       listed on Schedule E reflect amounts owed as of the Petition Date and have not
                       been adjusted for any time off used since the Petition Date. As such, the Debtors
                       believe that current amounts may differ from those PTO Claims listed on
                       Schedule E as of the Petition Date. The Debtors believe that any non-insider,
                       nonpriority employee claims for prepetition amounts related to ongoing payroll
                       and benefits, other than the listed PTO Claims, have been or will be satisfied, and
                       such satisfied amounts are not listed.

                       The listing of a claim on Schedule E/F, Part 1, does not constitute an admission
                       by the Debtors that such claim or any portion thereof is entitled to priority status.

                       Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified
                       in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
                       Debtors made a reasonable attempt to set forth its unsecured obligations, although
                       the actual amount of claims against the Debtors may vary from those liabilities
                       represented on Schedule E/F, Part 2. The listed liabilities, which have been listed
                       on a gross accounts payable basis, may not reflect the correct amount of any
                       unsecured creditor’s allowed claims or the correct amount of all unsecured claims.

                       The Debtors generally do not allocate individual liabilities to particular Debtors.
                       Therefore, in most cases, it would be a time-consuming and inefficient use of
                       estate resources, or impracticable, to assign a given liability to a particular Debtor.
                       To the extent the debt could not be attributed to a specific Debtor, the liability has
                       been listed on Schedule E/F, Part 2, of Hooper Holmes, Inc.



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                       Schedule E/F, Part 2, contains information regarding threatened or pending
                       litigation involving the Debtors. The amounts for these potential claims are listed
                       as “unknown” and are marked as contingent, unliquidated, and disputed in the
                       Schedules and Statements.

                       Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
                       to executory contracts and unexpired leases. Such prepetition amounts, however,
                       may be paid in connection with the assumption or assumption and assignment of
                       an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
                       not include claims that may arise in connection with the rejection of any
                       executory contracts and unexpired leases, if any, that may be or have been
                       rejected.

                       In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
                       incurred on various dates or on a date or dates that are unknown to the Debtors or
                       are subject to dispute. Where the determination of the date on which a claim
                       arose, accrued, or was incurred would be unduly burdensome and costly to the
                       Debtors’ estates, the Debtors have not listed a specific date or dates for such
                       claim.

                       As of the time of filing of the Schedules and Statements, the Debtors have not
                       received all invoices for payables, expenses, and other liabilities that may have
                       accrued prior to the Petition Date. Accordingly, the information contained in
                       Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
                       undertake no obligations, to amend Schedules D and E/F if, or when, the Debtors
                       receive such invoices.

                   h. Schedule G – Executory Contracts and Unexpired Leases. While reasonable
                      efforts have been made to ensure the accuracy of Schedule G, inadvertent errors
                      or omissions may have occurred. Additionally, in certain instances, executory
                      contracts and unexpired leases may be omitted due to their confidential nature,
                      but can be made available to the U.S. Trustee on a confidential basis.
                      Additionally, relationships between the Debtors and their customers are often
                      governed by a master services agreement, under which customers also place work
                      and purchase orders, which may be considered executory contracts. Disclosure of
                      all of these purchase and work orders, however, is impracticable and unduly
                      burdensome. Accordingly, to the extent the Debtors have determined to disclose
                      non-confidential master services agreements in Schedule G, purchase and work
                      orders placed thereunder may have been omitted.

                       Listing a contract or agreement on Schedule G does not constitute an admission
                       that such contract or agreement is an executory contract or unexpired lease or that
                       such contract or agreement was in effect on the Petition Date or is valid or
                       enforceable. Expired contracts and leases may have also been inadvertently
                       included. The Debtors hereby reserve all of their rights to dispute the validity,
                       status, or enforceability of any contracts, agreements, or leases set forth in


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                       Schedule G and to amend or supplement such Schedule as necessary. Certain of
                       the leases and contracts listed on Schedule G may contain renewal options,
                       guarantees of payment, indemnifications, options to purchase, rights of first
                       refusal and other miscellaneous rights. Such rights, powers, duties and
                       obligations are not set forth separately on Schedule G. In addition, the Debtors
                       may have entered into various other types of agreements in the ordinary course of
                       its business, such as supplemental agreements and letter agreement, which
                       documents may not be set forth in Schedule G. The Debtors reserve the right to
                       dispute the effectiveness of any such contract listed on Schedule G or to amend
                       Schedule G at any time to remove any contract.

                       The Debtors have reserved all rights to dispute or challenge the characterization
                       of any transaction or any document or instrument related to a creditor’s claim.

                       In some cases, the same supplier or provider may appear multiple times in
                       Schedule G. Multiple listings, if any, reflect distinct agreements between the
                       applicable Debtor and such supplier or provider.

                       Omission of a contract or agreement from Schedule G does not constitute an
                       admission that such omitted contract or agreement is not an executory contract or
                       unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                       any such omitted contracts or agreements are not impaired by the omission.
                       Certain Debtors are guarantors and parties to guaranty agreements regarding the
                       Debtors’ prepetition credit and term facilities. The guaranty obligations arising
                       under these agreements are reflected on Schedules D and F only.

                   i. Schedule H – Co-Debtors. For purposes of Schedule H, only the agent under the
                      prepetition credit facility or counterparties that are subject to a guaranty are listed
                      as co-Debtors on Schedule H. The Debtors have not listed any litigation-related
                      co-Debtors on Schedule H. Instead, all such listings can be found on the Debtors’
                      Schedules E/F.

             6. Specific Statements Disclosures.

                   a. Statements, Part 2, Questions 3 and 4 – Payments to Certain Creditors. Prior
                      to the Petition Date, the Debtors maintained an integrated cash management
                      system through which Hooper Holmes, Inc. made certain payments on behalf of
                      its other affiliated entities. Consequently, all payments to creditors and insiders
                      listed in response to Questions 3 and 4 on each of the Debtors’ Statements, other
                      than Debtor Hooper Kit Services, LLC, reflect payments made by Hooper
                      Holmes, Inc. from its operating bank accounts (the “Operating Accounts”), on
                      behalf of the corresponding Debtor entity, pursuant to the Debtors’ cash
                      management system described in the Cash Management Motion. Hooper Kit
                      Services, LLC maintains a separate bank account that is used to make payments to
                      certain trade creditors.



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                   b. Statements, Part 2, Question 6 – Setoffs. For the discussion of setoffs and
                      nettings incurred by the Debtors, refer to paragraph 4(r) of these Global Notes.

                   c. Statements, Part 6, Question 11 – Payments Related to Bankruptcy. The
                      attachment to Question 11 reflects payments to professionals made from the
                      Debtors’ main concentration account, which is owned by Hooper Holmes, Inc., on
                      behalf of its affiliate Debtor entities on a consolidated basis. The Debtors believe
                      that it would be an inefficient use of the assets of the estates to allocate these
                      payments on a Debtor-by-Debtor basis. The response to Question 11 in each of
                      the Statements thus refers to the attachment to Question 11 of Hooper Holmes,
                      Inc.’s Statement.

                   d. Statements, Part 9, Question 17 – Employee Benefit Plan. The Debtors
                      maintained two defined contribution savings plans established under Section
                      401(k) of the Internal Revenue Code. Following the consummation of the merger
                      among various Debtor entities, effect May 11, 2017, the defined contribution
                      plans were merged into one plan, the Hooper Provant 401k Plan.

                   e. Statements, Part 10, Question 20 – Off-Premise Storage. The Debtor Hooper
                      Kit Services, LLC maintains inventory located on off-premise sites. The
                      locations listed for off-premise storage do not include shippers that are holding
                      goods in-transit, including, but not limited to, goods on ships, in trucks or in
                      warehouses where they may be temporarily stored during the transport process.
                      Authorized employees of each facility have access to Hooper Kit Services, LLC’s
                      inventory maintained at such facility.

                   f. Statements, Part 13, Questions 26 – Books, Records, and Financial
                      Statements. Pursuant to the requirements of the Securities Exchange Act of
                      1934, as amended, the Debtors have filed with the U.S. Securities and Exchange
                      Commission (the “SEC”) reports on Form 8-K, Form 10-Q, and Form 10-K.
                      These SEC filings contain consolidated financial information relating to the
                      Debtors. The Debtors have not filed any financial information specifically related
                      to the Debtors either individually or on a combined or consolidated basis.
                      Additionally, consolidated financial information for the Debtors is posted on the
                      company’s website at www.provanthealth.com. In addition, the Debtors provide
                      certain parties, such as banks, auditors, potential investors, vendors, and financial
                      advisors, with financial statements that may not be part of a public filing. The
                      Debtors do not maintain complete lists or other records tracking such disclosures.
                      Therefore, the Debtors have not provided lists of these parties in its Responses to
                      Statement Question 26.

                   g. Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
                      Credited or Given to Insiders. Distributions by the Debtors to their respective
                      directors and officers are listed on the attachment to Questions 3 and 4. Certain
                      directors and executive officers of Hooper Holmes, Inc. are also directors and
                      executive officers of certain Debtor affiliates. To the extent payments to such


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                       individuals are not listed in the response to Questions 3 and 4 on the Statements
                       for such Debtor affiliates, they did not receive payment for their services as
                       directors or executive officers of these entities. Certain of the Debtors’ directors
                       and executive officers received distributions net of tax withholdings in the year
                       preceding the Petition Date. The amounts listed under Questions 3 and 4 reflect
                       the gross amounts paid to such directors and executive officers, rather than the net
                       amounts after deducting for tax withholdings.




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 Debtor        Provant Health Solutions, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number           18-23309
  (if known)
                                                                                                                                                                             ¨ Check if this is an
                                                                                                                                                                                amended filing

 Official Form 206Sum
 Summary of Assets and Liabilities for Non-Individuals                                                                                                                                     12/15



  Part 1:       Summary of Assets



 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                 UNKNOWN
         Copy line 88 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1b. Total personal property:
                                                                                                                                                                               $9,413,213.71
         Copy line 91A from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .


     1c. Total of all property:
                                                                                                                                                                               $9,413,213.71
         Copy line 92 from Schedule A/B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .




    Part 2:       Summary of Liabilities



   2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                              $23,479,146.00
      Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D . . . . . . . . .



   3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206EF)

        3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                  $14,364.37
            Copy the total claims from Part 1 from line 6a of Schedule E/F . . . . . . . . . . . . . . . . . . . . . . . . . . . .


        3b. Total amount of claims of nonpriority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F . . . . . . . . . . . . . .
                                                                                                                                                                  +            $9,787,750.81




   4. Total liabilities . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                                                                                              $33,281,261.18
      Lines 2 + 3a + 3b




Official Form 206Sum                                                                                                                                                                   Page 1 of 1
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 United States Bankruptcy Court for the: Southern District of New York


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  (if known)
                                                                                                                                    ¨ Check if this is an
                                                                                                                                       amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                 12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtors name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtors interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1:        CASH AND CASH EQUIVALENTS

 1.    DOES THE DEBTOR HAVE ANY CASH OR CASH EQUIVALENTS?
       ¨ No. Go to Part 2.
       þ Yes. Fill in the information below.


          All cash or cash equivalents owned or controlled by the debtor                                                            Current value of
                                                                                                                                    debtors interest

 2.    CASH ON HAND
       N/A

 3.    CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL BROKERAGE ACCOUNTS
       (IDENTIFY ALL)
       Name of institution (bank or brokerage firm)                      Type of account          Last 4 digits of account number
       3.1.         SILICON VALLEY BANK                                  DISBURSEMENT             X0393                                             $0.00

 4.    OTHER CASH EQUIVALENTS
       N/A

 5     Total of Part 1.
       ADD LINES 2 THROUGH 4 (INCLUDING AMOUNTS ON ANY ADDITIONAL SHEETS). COPY THE                                                                 $0.00
       TOTAL TO LINE 80.

 Part 2:        DEPOSITS AND PREPAYMENTS

 6.    DOES THE DEBTOR HAVE ANY DEPOSITS OR PREPAYMENTS?
       ¨ No. Go to Part 3.
       þ Yes. Fill in the information below.


                                                                                                                                    Current value of
                                                                                                                                    debtors interest

 7.    DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
       DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
       7.1.         GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                    $37,809.00
       7.2.         GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                    $28,861.00
       7.3.         GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                     $9,646.85
       7.4.         GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                     $3,739.42


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                                                                                                                                  Current value of
                                                                                                                                  debtors interest

 7.   DEPOSITS, INCLUDING SECURITY DEPOSITS AND UTILITY DEPOSITS
      DESCRIPTION, INCLUDING NAME OF HOLDER OF DEPOSIT
      7.5.       GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                      $3,373.13
      7.6.       GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                      $3,340.96
      7.7.       GREENWICH MILLS, LLC - SECURITY DEPOSIT                                                                                      $1,670.48
      7.8.       REGUS - SECURITY DEPOSIT                                                                                                      $378.00

 8.   PREPAYMENTS, INCLUDING PREPAYMENTS ON EXECUTORY CONTRACTS, LEASES,
      INSURANCE, TAXES, AND RENT
      DESCRIPTION, INCLUDING NAME OF HOLDER OF PREPAYMENT
      N/A

 9    Total of Part 2.
      ADD LINES 7 THROUGH 8. COPY THE TOTAL TO LINE 81.                                                                                      $88,818.84


 Part 3:     ACCOUNTS RECEIVABLE

 10. DOES THE DEBTOR HAVE ANY ACCOUNTS RECEIVABLE?
      ¨ No. Go to Part 4.
      þ Yes. Fill in the information below.


                                                                                                                                  Current value of
                                                                                                                                  debtors interest

 11. ACCOUNTS RECEIVABLE
      90 DAYS OR LESS                           $2,533,733.09                                   $0.00      = è                            $2,533,733.09
                                                                 -
                                                   face amount       doubtful or uncollectable accounts
      OVER 90 DAYS                               $660,419.85                                    $0.00      = è                              $660,419.85
                                                                 -
                                                   face amount       doubtful or uncollectable accounts

 12   Total of Part 3.
      CURRENT VALUE ON LINES 11A + 11B = LINE 12. COPY THE TOTAL TO LINE 82.                                                              $3,194,152.94


 Part 4:     INVESTMENTS

 13. DOES THE DEBTOR OWN ANY INVESTMENTS?
      þ No. Go to Part 5.
      ¨ Yes. Fill in the information below.


                                                                                                          Valuation method used   Current value of
                                                                                                          for current value       debtors interest

 14. MUTUAL FUNDS OR PUBLICLY TRADED STOCKS NOT INCLUDED IN PART 1
      NAME OF FUND OR STOCK:

 15. NON-PUBLICLY TRADED STOCK AND INTERESTS IN INCORPORATED AND
     UNINCORPORATED BUSINESSES, INCLUDING ANY INTEREST IN AN LLC, PARTNERSHIP,
     OR JOINT VENTURE

 16. GOVERNMENT BONDS, CORPORATE BONDS, AND OTHER NEGOTIABLE AND
     NON-NEGOTIABLE INSTRUMENTS NOT INCLUDED IN PART 1
      DESCRIBE:

 17   Total of Part 4.
      ADD LINES 14 THROUGH 16. COPY THE TOTAL TO LINE 83.                                                                                             N/A




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 Part 5:     INVENTORY, EXCLUDING AGRICULTURE ASSETS

 18. DOES THE DEBTOR OWN ANY INVENTORY (EXCLUDING AGRICULTURE ASSETS)?
      þ No. Go to Part 6.
      ¨ Yes. Fill in the information below.


          General description                       Date of the last     Net book value of     Valuation method used   Current value of
                                                    physical inventory   debtor's interest     for current value       debtors interest
                                                                         (Where available)

 19. RAW MATERIALS

 20. WORK IN PROGRESS

 21. FINISHED GOODS, INCLUDING GOODS HELD FOR RESALE

 22. OTHER INVENTORY OR SUPPLIES

 23   Total of Part 5.
      ADD LINES 19 THROUGH 22. COPY THE TOTAL TO LINE 84.                                                                                  N/A

 24. Is any of the property listed in Part 5 perishable?
     þ No
     ¨ Yes
 25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes      Book value                      Valuation method                                                  Current value

 26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     þ No
     ¨ Yes
 Part 6:     FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND LAND)

 27. DOES THE DEBTOR OWN OR LEASE ANY FARMING AND FISHING-RELATED ASSETS (OTHER THAN TITLED MOTOR VEHICLES AND
     LAND)?
      þ No. Go to Part 7.
      ¨ Yes. Fill in the information below.

          General description                                            Net book value of     Valuation method used   Current value of
                                                                         debtor's interest     for current value       debtors interest
                                                                         (Where available)

 28. CROPSEITHER PLANTED OR HARVESTED

 29. FARM ANIMALS EXAMPLES: LIVESTOCK, POULTRY, FARM-RAISED FISH EXAMPLES:
     LIVESTOCK, POULTRY, FARM-RAISED FISH

 30. FARM MACHINERY AND EQUIPMENT (OTHER THAN TITLED MOTOR VEHICLES) (OTHER
     THAN TITLED MOTOR VEHICLES)

 31. FARM AND FISHING SUPPLIES, CHEMICALS, AND FEED

 32. OTHER FARMING AND FISHING-RELATED PROPERTY NOT ALREADY LISTED IN PART 6

 33   Total of Part 6.
      ADD LINES 28 THROUGH 32. COPY THE TOTAL TO LINE 85.                                                                                  N/A

 34. Is the debtor a member of an agricultural cooperative?
     þ No
     ¨ Yes. Is any of the debtors property stored at the cooperative?
          ¨ No
          ¨ Yes
 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     þ No
     ¨ Yes
 36. Is a depreciation schedule available for any of the property listed in Part 6?
     þ No
     ¨ Yes


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 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 7:     OFFICE FURNITURE, FIXTURES, AND EQUIPMENT; AND COLLECTIBLES

 38. DOES THE DEBTOR OWN OR LEASE ANY OFFICE FURNITURE, FIXTURES, EQUIPMENT, OR COLLECTIBLES?
      þ No. Go to Part 8.
      ¨ Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
                                                                              debtor's interest   for current value       debtors interest
                                                                              (Where available)

 39. OFFICE FURNITURE

 40. OFFICE FIXTURES

 41. OFFICE EQUIPMENT, INCLUDING ALL COMPUTER EQUIPMENT AND COMMUNICATION
     SYSTEMS EQUIPMENT AND SOFTWARE

 42. COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS, PRINTS, OR
     OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA AND
     CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER COLLECTIONS,
     MEMORABILIA, OR COLLECTIBLES EXAMPLES: ANTIQUES AND FIGURINES; PAINTINGS,
     PRINTS, OR OTHER ARTWORK; BOOKS, PICTURES, OR OTHER ART OBJECTS; CHINA
     AND CRYSTAL; STAMP, COIN, OR BASEBALL CARD COLLECTIONS; OTHER
     COLLECTIONS, MEMORABILIA, OR COLLECTIBLES

 43   Total of Part 7.
      ADD LINES 39 THROUGH 42. COPY THE TOTAL TO LINE 86.                                                                                     N/A


 44. Is a depreciation schedule available for any of the property listed in Part 7?
     þ No
     ¨ Yes
 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 8:     MACHINERY, EQUIPMENT, AND VEHICLES

 46. DOES THE DEBTOR OWN OR LEASE ANY MACHINERY, EQUIPMENT, OR VEHICLES?
      þ No. Go to Part 9.
      ¨ Yes. Fill in the information below.


          General description                                                 Net book value of   Valuation method used   Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   for current value       debtors interest
          HIN, or N-number)                                                   (Where available)

 47. AUTOMOBILES, VANS, TRUCKS, MOTORCYCLES, TRAILERS, AND TITLED FARM
     VEHICLES

 48. WATERCRAFT, TRAILERS, MOTORS, AND RELATED ACCESSORIES EXAMPLES: BOATS,
     TRAILERS, MOTORS, FLOATING HOMES, PERSONAL WATERCRAFT, AND FISHING
     VESSELS EXAMPLES: BOATS, TRAILERS, MOTORS, FLOATING HOMES, PERSONAL
     WATERCRAFT, AND FISHING VESSELS

 49. AIRCRAFT AND ACCESSORIES

 50. OTHER MACHINERY, FIXTURES, AND EQUIPMENT (EXCLUDING FARM MACHINERY AND
     EQUIPMENT)

 51   Total of Part 8.
      ADD LINES 47 THROUGH 50. COPY THE TOTAL TO LINE 87.                                                                                     N/A


 52. Is a depreciation schedule available for any of the property listed in Part 8?
     þ No
     ¨ Yes

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 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 9:      REAL PROPERTY

 54. DOES THE DEBTOR OWN OR LEASE ANY REAL PROPERTY?
      ¨ No. Go to Part 10.
      þ Yes. Fill in the information below.

 55. ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR LAND WHICH THE DEBTOR OWNS OR IN WHICH THE DEBTOR HAS AN INTEREST


          Description and location of property          Nature and extent   Net book value of      Valuation method used   Current value of
          Include street address or other description   of debtors         debtor's interest      for current value       debtors interest
          such as Assessor Parcel Number (APN), and     interest in         (Where available)
          type of property (for example, acreage,       property
          factory, warehouse, apartment or office
          building), if available

      55.1.       GREENWICH OFFICE 42 LADD      REAL PROPERTY                         UNKNOWN UNKNOWN                                UNKNOWN
                  ST., EAST GREENWICH, RI 02818 LEASE
 56   Total of Part 9.
      ADD THE CURRENT VALUE ON LINES 55.1 THROUGH 55.6 AND ENTRIES FROM ANY                                                          UNKNOWN
      ADDITIONAL SHEETS. COPY THE TOTAL TO LINE 88.

 57. Is a depreciation schedule available for any of the property listed in Part 9?
     þ No
     ¨ Yes
 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 10: INTANGIBLES AND INTELLECTUAL PROPERTY

 59. DOES THE DEBTOR HAVE ANY INTERESTS IN INTANGIBLES OR INTELLECTUAL PROPERTY?
      ¨ No. Go to Part 11.
      þ Yes. Fill in the information below.


          General description                                               Net book value of      Valuation method used   Current value of
                                                                            debtor's interest      for current value       debtors interest
                                                                            (Where available)

 60. PATENTS, COPYRIGHTS, TRADEMARKS, AND TRADE SECRETS
      N/A

 61. INTERNET DOMAIN NAMES AND WEBSITES
      N/A

 62. LICENSES, FRANCHISES, AND ROYALTIES
      N/A

 63. CUSTOMER LISTS, MAILING LISTS, OR OTHER COMPILATIONS
      63.1.       CUSTOMER RELATIONSHIPS                                           $5,497,191.00   BOOK                            $2,844,758.02

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY
      64.1.       AHS PORTAL - LEGACY WELLNESS PLATFORM BUILT                         UNKNOWN UNKNOWN                                UNKNOWN
                  ON TOP OF LICENSED WEBSITE TECHNOLOGY
                  (LIFERAY)
      64.2.       DMS DOCUMENT MANAGEMENT SYSTEM - INTERNAL                           UNKNOWN UNKNOWN                                UNKNOWN
                  CREATION OF FORMS AND VOUCHERS OFFERED TO
                  PARTICIPANTS ON HUMOLOGY PLATFORM
      64.3.       HEALTH AND WELLNESS OPERATING SYSTEM (HWOS)                         UNKNOWN UNKNOWN                                UNKNOWN
                  - INTENRAL EVENT ORDER ENTRY, STAFFING,
                  SCHEDULING SYSTEM. INTERFACES TO BILLING AND
                  LAB APPLICATIONS AND PARTICIPANT SCHEDULING
      64.4.       HUMOLOGY - MOBILE IOS AND ANDROID                                   UNKNOWN UNKNOWN                                UNKNOWN
                  APPLICATIONS



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          General description                                             Net book value of     Valuation method used     Current value of
                                                                          debtor's interest     for current value         debtors interest
                                                                          (Where available)

 64. OTHER INTANGIBLES, OR INTELLECTUAL PROPERTY
      64.5.       HUMOLOGY - WEB WELLNESS PLATFORM USED BY                         UNKNOWN UNKNOWN                                      UNKNOWN
                  CLIENT EMPLOYEES
      64.6.       INCENTIVE MANAGEMENT - INTERNAL ADMIN AND                        UNKNOWN UNKNOWN                                      UNKNOWN
                  RULES ENGINE FOR CREATING AND EXECUTING
                  INCENTIVE MANAGEMENT PROGRAMS
      64.7.       LAB INFORMATION MANAGEMENT SYSTEM (LIMS) -                       UNKNOWN UNKNOWN                                      UNKNOWN
                  MANAGEMENT OF LAB RESULTS
      64.8.       LIFECHANGING - MULTIPLE INTERNAL FACING ADMIN                    UNKNOWN UNKNOWN                                      UNKNOWN
                  APPLICATIONS USED BY CALL CENTER AND CLIENT
                  MANAGEMENT TO VIEW MEMBER DATA
      64.9.       PORTAL                                                           UNKNOWN BOOK                                   $3,285,483.91
      64.10.      PROVANT EVENTS - PARTICIPANT FACING                              UNKNOWN UNKNOWN                                  UNKNOWN
                  SCHEDULING FOR ONSITE EVENTS
      64.11.      REMOTE DATA CAPTURE (RDC) - DATA ENTRY AND                       UNKNOWN UNKNOWN                                      UNKNOWN
                  CORRECTION APPLICATION. WORKS IN COMBINATION
                  WITH LICENSED OCR SOFTWARE
      64.12.      SAGE GL - A/P, A/R                                               UNKNOWN UNKNOWN                                      UNKNOWN
      64.13.      SCREENING PRO - ANDROID MOBILE APP USED BY                       UNKNOWN UNKNOWN                                      UNKNOWN
                  PROVIDERS TO ENTER BIOMETRICS AT ONSITE
                  EVENTS
      64.14.      SQL SERVER 2012 - MICROSOFT DATABASE USED BY                     UNKNOWN UNKNOWN                                      UNKNOWN
                  HWOS, LIMS, PROVANT EVENTS
      64.15.      SQL SERVER 2014 - MICROSOFT DATABASE USED BY                     UNKNOWN UNKNOWN                                      UNKNOWN
                  HUMOLOGY, INCENTIVE MGMT, DMS, RDC
 65. GOODWILL
      N/A

 66   Total of Part 10.
      ADD LINES 60 THROUGH 65. COPY THE TOTAL TO LINE 89.                                                                         $6,130,241.93


 67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     þ No
     ¨ Yes
 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     þ No
     ¨ Yes
 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
      þ No. Go to Part 12.
      ¨ Yes. Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtors interest

 71. NOTES RECEIVABLE
      DESCRIPTION (INCLUDE NAME OF OBLIGOR)

 72. TAX REFUNDS AND UNUSED NET OPERATING LOSSES (NOLS)
      DESCRIPTION (FOR EXAMPLE, FEDERAL, STATE, LOCAL)

 73. INTERESTS IN INSURANCE POLICIES OR ANNUITIES

 74. CAUSES OF ACTION AGAINST THIRD PARTIES (WHETHER OR NOT A LAWSUIT HAS
     BEEN FILED)

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS


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                                                                                                                                                              Current value of
                                                                                                                                                              debtors interest

 75. OTHER CONTINGENT AND UNLIQUIDATED CLAIMS OR CAUSES OF ACTION OF EVERY
     NATURE, INCLUDING COUNTERCLAIMS OF THE DEBTOR AND RIGHTS TO SET OFF
     CLAIMS

 76. TRUSTS, EQUITABLE OR FUTURE INTERESTS IN PROPERTY

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP EXAMPLES: SEASON TICKETS, COUNTRY CLUB
     MEMBERSHIP

 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                                                                        N/A


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes
 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                                       Current value of                  Current value of real
                                                                                                 personal property                 property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                           $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                        $88,818.84

 82. Accounts receivable. Copy line 12, Part 3.                                                        $3,194,152.94


 83. Investments. Copy line 17, Part 4.

 84. Inventory. Copy line 23, Part 5.

 85. Farming and fishing-related assets. Copy line 33, Part 6.

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è              UNKNOWN


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                     $6,130,241.93

 90. All other assets. Copy line 78, Part 11.                                             +

 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                              $9,413,213.71         + 91b.           UNKNOWN




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .           $9,413,213.71




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                          Page 7 of 7
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 Debtor        Provant Health Solutions, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          18-23309
  (if known)
                                                                                                                                        ¨ Check if this is an
                                                                                                                                           amended filing

 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                             12/15

 Be as complete and accurate as possible.

 1.    1. Do any creditors have claims secured by debtors property?
       ¨ No. Check this box and submit page 1 of this form to the court with debtors other schedules. Debtor has nothing else to report on this form.
       þ Yes. Fill in all of the information below.

  Part 1:       List All Creditors with Secured Claims

 2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than       Column A                     Column B
       one secured claim, list the creditor separately for each claim.                                     Amount of claim              Value of collateral that
                                                                                                           Do not deduct the value of   supports this claim
                                                                                                           collateral.

 2.1            Creditors name                                    Describe debtors property that is                   $22,000.00
                CISCO SYSTEMS CAPITAL CORPORATION                  subject to a lien

                Creditor's mailing address                         Describe the lien
                PO BOX 742927                                      EQUIPMENT SUBJECT TO THE LEASE
                LOS ANGELES, CA 90074
                                                                   Is the creditor an insider or related
                Creditor's email address                           party?
                                                                   þ No
                Date or dates debt was incurred
                                                                   ¨ Yes
                Last 4 digits of account number:              Is anyone else liable on this claim?
                                                              þ No
                Do multiple creditors have an interest in the
                                                              ¨ Yes
                same property?
                þ No                                          As of the petition filing date, the claim is:
                ¨ Yes                                         Check all that apply.
                                                              ¨ Contingent
                                                              ¨ Unliquidated
                                                              ¨ Disputed

 2.2            Creditors name                                    Describe debtors property that is               $4,811,422.00
                CNH FINANCE FUND I, L.P.                           subject to a lien
                                                                   SUBSTANTIALLY ALL OF THE DEBTORS
                Creditor's mailing address
                                                                   EXISTING AND AFTER-ACQUIRED
                ATTN: TIMOTHY PETERS                               PROPERTY
                2 GREENWICH PLAZA, 4TH FL
                GREENWICH, CT 06830                                Describe the lien
                                                                   FIRST PRIORITY
                Creditor's email address
                                                                   Is the creditor an insider or related
                Date or dates debt was incurred                    party?
                Last 4 digits of account number:                   þ No
                                                                   ¨ Yes
                Do multiple creditors have an interest in the Is anyone else liable on this claim?
                same property?
                                                              ¨ No
                þ No                                          þ Yes
                ¨ Yes
                                                              As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                   ¨ Contingent
                                                                   ¨ Unliquidated
                                                                   ¨ Disputed




Official Form 206D                             Schedule D: Creditors Who Have Claims Secured by Property                                            Page 1 of 2
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  Part 1:    Additional Page

                                                                                                       Column A                     Column B
                                                                                                       Amount of claim              Value of collateral that
                                                                                                       Do not deduct the value of   supports this claim
                                                                                                       collateral.

 2.3         Creditors name                                Describe debtors property that is                 $18,645,724.00
             SWK FUNDING, LLC                               subject to a lien
                                                            SUBSTANTIALLY ALL OF THE DEBTORS
             Creditor's mailing address
                                                            ASSETS SUBJECT TO CUSTOMARY
             ATTN: WINSTON BLACK                            EXCLUSIONS
             14755 PRESTON ROAD, STE 105
             DALLAS, TX 75254                               Describe the lien
                                                            SECOND PRIORITY
             Creditor's email address
                                                            Is the creditor an insider or related
             Date or dates debt was incurred                party?
             Last 4 digits of account number:               þ No
                                                            ¨ Yes
             Do multiple creditors have an interest in the Is anyone else liable on this claim?
             same property?
                                                           ¨ No
             þ No                                          þ Yes
             ¨ Yes
                                                           As of the petition filing date, the claim is:
                                                            Check all that apply.
                                                            ¨ Contingent
                                                            ¨ Unliquidated
                                                            ¨ Disputed

  3.      Total of the dollar amounts from Part 1, Column A, including the amounts from the                    $23,479,146.00
          Additional Page, if any.




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                           Page 2 of 2
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 Debtor        Provant Health Solutions, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          18-23309
  (if known)
                                                                                                                                    ¨ Check if this is an
                                                                                                                                       amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim              Priority amount

 2.1            Priority creditors name and mailing address As of the petition filing date, the claim is:              $28.71                   $28.71
                                                                   Check all that apply.
                DELAWARE DEPARTMENT OF LABOR
                EMPLOYMENT TRAINING FUND TAX                       ¨ Contingent
                PO BOX 41780                                       þ Unliquidated
                PHILADELPHIA, PA 19101-1780                        ¨ Disputed
                Date or dates debt was incurred                    Basis for the claim:
                                                                   TAX PAYABLE
                6/9/2017
                                                                   Is the claim subject to offset?
                Last 4 digits of account number:                   þ No
                Specify Code subsection of PRIORITY                ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) (8)

 2.2            Priority creditors name and mailing address As of the petition filing date, the claim is:            $166.05                   $166.05
                                                                   Check all that apply.
                DEPT OF LABOR & INDUSTRIES
                PO BOX 24106                                       ¨ Contingent
                SEATTLE, WA 98124-6524                             þ Unliquidated
                                                                   ¨ Disputed
                Date or dates debt was incurred
                                                                   Basis for the claim:
                VARIOUS                                            TAX PAYABLE
                Last 4 digits of account number:                   Is the claim subject to offset?
                Specify Code subsection of PRIORITY                þ No
                unsecured claim: 11 U.S.C. § 507(a) (8)            ¨ Yes

 2.3            Priority creditors name and mailing address As of the petition filing date, the claim is:                  $2.31                 $2.31
                                                                   Check all that apply.
                DEPT OF WORKFORCE SERVICES
                WYOMING WORKER'S COMPENSATION                      ¨ Contingent
                PO BOX 20006                                       þ Unliquidated
                CHEYENNE, WY 82003                                 ¨ Disputed
                Date or dates debt was incurred                    Basis for the claim:
                                                                   TAX PAYABLE
                7/10/2017
                                                                   Is the claim subject to offset?
                Last 4 digits of account number:                   þ No
                Specify Code subsection of PRIORITY                ¨ Yes
                unsecured claim: 11 U.S.C. § 507(a) (8)




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  Part 1:   Additional Page

                                                                                                                 Total claim             Priority amount

 2.4        Priority creditors name and mailing address As of the petition filing date, the claim is:                       $361.85              $361.85
                                                            Check all that apply.
            NYS ESTIMATED CORPORATION TAX
            PO BOX 4136                                     ¨ Contingent
            BINGHAMTON, NY 13902-4136                       þ Unliquidated
                                                            ¨ Disputed
            Date or dates debt was incurred
                                                            Basis for the claim:
            VARIOUS                                         TAX PAYABLE
            Last 4 digits of account number:                Is the claim subject to offset?
            Specify Code subsection of PRIORITY             þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)         ¨ Yes

 2.5        Priority creditors name and mailing address As of the petition filing date, the claim is:                 $13,508.41              $13,508.41
                                                            Check all that apply.
            OHIO ATTORNEY GENERAL
            PO BOX 89471                                    ¨ Contingent
            CLEVELAND, OH 44101-6471                        þ Unliquidated
                                                            ¨ Disputed
            Date or dates debt was incurred
                                                            Basis for the claim:
            4/29/2018                                       TAX PAYABLE
            Last 4 digits of account number:                Is the claim subject to offset?
            Specify Code subsection of PRIORITY             þ No
            unsecured claim: 11 U.S.C. § 507(a) (8)         ¨ Yes

 2.6        Priority creditors name and mailing address As of the petition filing date, the claim is:                       $297.04              $297.04
                                                            Check all that apply.
            OHIO BUREAU
            OF WORKERS COMPENSATION                         ¨ Contingent
            PO BOX 89492                                    þ Unliquidated
            CLEVELAND, OH 44101                             ¨ Disputed
            Date or dates debt was incurred                 Basis for the claim:
                                                            TAX PAYABLE
            7/27/2018
                                                            Is the claim subject to offset?
            Last 4 digits of account number:                þ No
            Specify Code subsection of PRIORITY             ¨ Yes
            unsecured claim: 11 U.S.C. § 507(a) (8)

  Part 2:   List All Creditors with NONPRIORITY Unsecured Claims


 3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                       Amount of claim

 3.1        Nonpriority creditors name and mailing address                  As of the petition filing date, the claim is:                        $3,906.22
                                                                             Check all that apply.
            ACCESS
            249 NORTH STREET                                                 ¨ Contingent
            DANVERS, MA 01923                                                ¨ Unliquidated
                                                                             ¨ Disputed
            Date or dates debt was incurred
                                                                             Basis for the claim:
            VARIOUS                                                          TRADE PAYABLE
            Last 4 digits of account number:                                 Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes

 3.2        Nonpriority creditors name and mailing address                  As of the petition filing date, the claim is:                        $4,187.98
                                                                             Check all that apply.
            ADP
            PO BOX 842875                                                    ¨ Contingent
            BOSTON, MA 02284-2875                                            ¨ Unliquidated
                                                                             ¨ Disputed
            Date or dates debt was incurred
                                                                             Basis for the claim:
            VARIOUS                                                          TRADE PAYABLE
            Last 4 digits of account number:                                 Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes


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                                                                                                                       Amount of claim

 3.3        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $16,792.00
                                                                       Check all that apply.
            AIG
            NATIONAL UNION                                             ¨ Contingent
            CHICAGO, IL 60673-1224                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.4        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $25,981.25
                                                                       Check all that apply.
            AMERICAN EXPRESS
            PO BOX 2855                                                ¨ Contingent
            NEW YORK, NY 10116-2855                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.5        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $20,926.10
                                                                       Check all that apply.
            AMERICAN EXPRESS CORPORATE PUR
            200 VESEY ST.                                              ¨ Contingent
            NEW YORK, NY 10285                                         ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.6        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $59.00
                                                                       Check all that apply.
            ARIBA, INC.
            3420 HILLVIEW AVE                                          ¨ Contingent
            BLDG 3                                                     ¨ Unliquidated
            PALO ALTO, CA 94304                                        ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            8/1/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.7        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $4,875.00
                                                                       Check all that apply.
            AXA EQUITABLE
            BOX 371405                                                 ¨ Contingent
            PITTSBURGH, PA 15250-7405                                  ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            5/16/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.8        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $180.00
                                                                       Check all that apply.
            BALLAST LANE APPLICATIONS
            11 BALLAST LANE                                            ¨ Contingent
            MARBLEHEAD, MA 01945                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            6/15/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.9        Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $100.00
                                                                       Check all that apply.
            BIOWASTE, LLC
            24 MARTIN STREET                                           ¨ Contingent
            CUMBERLAND, RI 02864                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            12/31/2017                                                 TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.10       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $6,607.19
                                                                       Check all that apply.
            BOUNDLESS NETWORK INC.
            DEPT. 3186                                                 ¨ Contingent
            PO BOX 123186                                              ¨ Unliquidated
            DALLAS, TX 75312-3186                                      ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.11       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,720.00
                                                                       Check all that apply.
            BRAND REGISTRATION OFFICE
            20 F STREET                                                ¨ Contingent
            7TH FLOOR                                                  ¨ Unliquidated
            WASHINGTON, DC 20001                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.12       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $21,198.70
                                                                       Check all that apply.
            CARENET HEALTHCARE SERVICES
            PO BOX 2503                                                ¨ Contingent
            SAN ANTONIO, TX 78299                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.13       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:          $2,121,513.00
                                                                       Check all that apply.
            CENTURY EQUITY PARTNERS
            100 FEDERAL ST                                             ¨ Contingent
            29TH FLOOR                                                 ¨ Unliquidated
            BOSTON, MA 02110                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       MONEY LOANED
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.14       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $16,785.31
                                                                       Check all that apply.
            CERNER CORP
            PO BOX 959156                                              ¨ Contingent
            ST LOUIS, MO 63195-9156                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.15       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $455.00
                                                                       Check all that apply.
            CERVENKA GREEN ANTONELLI LLC
            235 PROMENADE STREET                                       ¨ Contingent
            SUITE 475                                                  ¨ Unliquidated
            PROVIDENCE, RI 02908                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.16       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $29,105.78
                                                                       Check all that apply.
            CFGI, LLC
            99 HIGH STREET                                             ¨ Contingent
            30TH FLOOR                                                 ¨ Unliquidated
            BOSTON, MA 02110                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.17       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $976.36
                                                                       Check all that apply.
            CHIN & CURTIS LLP
            75 FEDERAL ST                                              ¨ Contingent
            BOSTON, MA 02110                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.18       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $60,840.75
                                                                       Check all that apply.
            CHOATE
            TWO INTERNATIONAL PLACE                                    ¨ Contingent
            BOSTON, MA 02110                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            4/10/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.19       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $83,593.48
                                                                       Check all that apply.
            CISCO CAPITAL
            P.O. BOX 742927                                            ¨ Contingent
            LOS ANGELES, CA 90074-2927                                 ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.20       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,800.06
                                                                       Check all that apply.
            CISCO SYSTEMS CAPITAL CORP
            PO BOX 742927                                              ¨ Contingent
            LOS ANGELES, CA 90074-2297                                 ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            8/31/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.21       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $32,042.32
                                                                       Check all that apply.
            CITY OF WARWICK TAX COLLECTOR
            PO BOX 981027                                              ¨ Contingent
            BOSTON, MA 02298-1027                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.22       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,632.00
                                                                       Check all that apply.
            COMPASS IT COMPLIANCE
            2 ASYLUM ROAD                                              ¨ Contingent
            PROVIDENCE, RI 02904                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            2/17/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.23       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $3,009.00
                                                                       Check all that apply.
            CONCENTRA - RI
            OCCUPATIONAL HEALTH CENTERS OF SOUTHWEST, P.A. ¨ Contingent
            CRANSTON, RI 002920-0942                       ¨ Unliquidated
                                                           ¨ Disputed
            Date or dates debt was incurred
                                                           Basis for the claim:
            VARIOUS                                        TRADE PAYABLE
            Last 4 digits of account number:               Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.24       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $871.04
                                                                       Check all that apply.
            CONCUR TECHNOLOGIES, INC.
            62157 COLLECTION CENTER DRIVE                              ¨ Contingent
            CHICAGO, IL 60693                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            6/4/2018                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.25       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,511.60
                                                                       Check all that apply.
            CONGA
            PO BOX 7839                                                ¨ Contingent
            BROOMFIELD, CO 80021                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            12/1/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.26       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $82,427.50
                                                                       Check all that apply.
            COX COMMUNICATIONS
            PO BOX 78000                                               ¨ Contingent
            DETROIT, MI 48278-1104                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.27       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,800.00
                                                                       Check all that apply.
            COYOTE LOGISTICS LLC
            PO BOX 742636                                              ¨ Contingent
            ATLANTA, GA 30374-2636                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            2/20/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.28       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $82.30
                                                                       Check all that apply.
            CROSSTOWN PRESS
            829 PARK AVENUE                                            ¨ Contingent
            CRANSTON, RI 02910                                         ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            10/26/2017                                                 TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.29       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $269.50
                                                                       Check all that apply.
            DCL INC.
            15606 HARMONY WAY                                          ¨ Contingent
            APPLE VALLEY, MN 55124                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            6/5/2018                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.30       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,239.30
                                                                       Check all that apply.
            DISCOUNT DRUG MART, INC.
            P.O. BOX 901390                                            ¨ Contingent
            CLEVELAND, OH 44190                                        ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.31       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $11,400.00
                                                                       Check all that apply.
            DISCOVERYORG LLC
            UNIT 94                                                    ¨ Contingent
            PO BOX 4500                                                ¨ Unliquidated
            PORTLAND, OR 97208                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.32       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,363.50
                                                                       Check all that apply.
            DR. DAVID ASHLEY
            560 N. ROGERS RD.                                          ¨ Contingent
            OLATHE, KS 66286                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.33       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $12,415.17
                                                                       Check all that apply.
            ECFIRST.COM
            295 NE VENTURE DRIVE                                       ¨ Contingent
            WAUKEE, IA 50263                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.34       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $91,960.00
                                                                       Check all that apply.
            ELIASSEN GROUP LLC
            55 WALKERS BROOK DRIVE                                     ¨ Contingent
            6TH FLOOR                                                  ¨ Unliquidated
            READING, MA 01867                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.35       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $69,960.00
                                                                       Check all that apply.
            EURUS TECHNOLOGIES LLC
            515 PLAINFIELD AVENUE                                      ¨ Contingent
            SUITE 203                                                  ¨ Unliquidated
            EDISON, NJ 8817                                            ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.36       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $72.00
                                                                       Check all that apply.
            EVERGREEN CLINIC
            2181 HWY 2 E                                               ¨ Contingent
            SUITE 9                                                    ¨ Unliquidated
            KALISPELL, MT 59901                                        ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            9/22/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.37       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $4,000.00
                                                                       Check all that apply.
            F.D.I MEDICAL/FITNESS DISTRIBUTORS, INC. (FDI)
            ATTN: PATRICK MCANDREWS                                    ¨ Contingent
            SPENCER FANE LLP                                           ¨ Unliquidated
            1000 WALNUT, SUITE 1400                                    ¨ Disputed
            KANSAS, MO 64106                                           Basis for the claim:
            Date or dates debt was incurred                            SETTLEMENT AGREEMENT
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.38       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $4,011.42
                                                                       Check all that apply.
            FAXLOGIC, LLC
            15950 DALLAS PARKWAY                                       ¨ Contingent
            SUITE 400                                                  ¨ Unliquidated
            DALLAS, TX 75248                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.39       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $222,908.07
                                                                       Check all that apply.
            FEDEX
            PO BOX 371461                                              ¨ Contingent
            PITTSBURGH, PA 15250-7461                                  ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.40       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $14,120.44
                                                                       Check all that apply.
            FEDEX FREIGHT
            PO BOX 223125                                              ¨ Contingent
            PITTSBURGH, PA 15251-2125                                  ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.41       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $10,400.00
                                                                       Check all that apply.
            FIRST OBJECT, INC
            1320 GREENWAY DRIVE                                        ¨ Contingent
            SUITE 855                                                  ¨ Unliquidated
            IRVING, TX 75038                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            10/16/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.42       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $29.95
                                                                       Check all that apply.
            FORM SWIFT
            604 MISSION ST.                                            ¨ Contingent
            SAN FRANCISCO, CA 94105                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            4/27/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.43       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,394.55
                                                                       Check all that apply.
            GEM MECHANICAL SERVICES, INC.
            ONE WELLINGTON ROAD                                        ¨ Contingent
            LINCOLN, RI 02865                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            2/15/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.44       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $305.86
                                                                       Check all that apply.
            GEORGIA DEPARTMENT OF REVENUE
            PROCESSING CENTER                                          ¨ Contingent
            PO BOX 740317                                              ¨ Unliquidated
            ATLANTA, GA 30374-0317                                     ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.45       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,023.40
                                                                       Check all that apply.
            GROUP DYNAMIC INC
            411 US ROUTE ONE                                           ¨ Contingent
            FALMOUTH, ME 04105                                         ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.46       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $122,283.50
                                                                       Check all that apply.
            HALLMARK
            121 SOUTH 8TH STREET                                       ¨ Contingent
            7TH FLOOR                                                  ¨ Unliquidated
            MINNEAPOLIS, MN 55402                                      ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.47       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $49,973.64
                                                                       Check all that apply.
            HANSON MEDICAL SYSTEMS, INC.
            1954 HOWELL BRANCH ROAD                                    ¨ Contingent
            SUITE 203                                                  ¨ Unliquidated
            WINTER PARK, FL 32792                                      ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.48       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $7,000.00
                                                                       Check all that apply.
            HEALTH ENHANCEMENT RESEARCH OR
            7400 METRO BOULEVARD                                       ¨ Contingent
            SUITE 270                                                  ¨ Unliquidated
            MINNEAPOLIS, MN 55439                                      ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.49       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $48,434.00
                                                                       Check all that apply.
            HEALTH ENHANCEMENT SYSTEMS
            PO BOX 1035                                                ¨ Contingent
            MIDLAND, MI 48641-1035                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.50       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $58,515.00
                                                                       Check all that apply.
            HEALTHWISE, INC
            PO BOX 1989                                                ¨ Contingent
            BOISE, ID 83701                                            ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.51       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $21,608.46
                                                                       Check all that apply.
            HEWLETT PACKARD
            200 CONNELL DRIVE                                          ¨ Contingent
            SUITE 5000                                                 ¨ Unliquidated
            BERKELEY HEIGHTS, NJ 7922                                  ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.52       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $79.95
                                                                       Check all that apply.
            HOSTWAY
            100 N RIVERSIDE PLAZA                                      ¨ Contingent
            CHICAGO, IL 60606                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            9/25/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.53       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,178.00
                                                                       Check all that apply.
            INCORP SERVICES, INC.
            PO BOX 94438                                               ¨ Contingent
            LAS VEGAS, NV 89193-4438                                   ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.54       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $500.60
                                                                       Check all that apply.
            INDEED, INC
            MAIL CODE 5160                                             ¨ Contingent
            PO BOX 660367                                              ¨ Unliquidated
            DALLAS, TX 75266-0367                                      ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            5/27/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.55       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,247.21
                                                                       Check all that apply.
            INTEGRATED BENEFITS INSTITUTE
            595 MARKET ST #810                                         ¨ Contingent
            ATTN: KIM JINNETT                                          ¨ Unliquidated
            SAN FRANCISCO, CA 94105                                    ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            1/17/2018
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.56       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $13,919.89
                                                                       Check all that apply.
            INTERCALL
            PO BOX 281866                                              ¨ Contingent
            ATLANTA, GA 30384-1866                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.57       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $3,960.22
                                                                       Check all that apply.
            INTERNATIONAL TRANSLATION SERV
            605 SE NORTHBRANCH DR.                                     ¨ Contingent
            WAUKEE, IA 50263                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.58       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $7,850.85
                                                                       Check all that apply.
            IRON MOUNTAIN
            PO BOX 27128                                               ¨ Contingent
            B7820                                                      ¨ Unliquidated
            NEW YORK, NY 10087-7128                                    ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.59       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,944.77
                                                                       Check all that apply.
            KONICA MINOLTA
            BUSINESS SOLUTIONS, USA INC                                ¨ Contingent
            DEPT AT 952823                                             ¨ Unliquidated
            ATLANTA, GA 31192-2823                                     ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.60       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $975.70
                                                                       Check all that apply.
            KONICA MINOLTA PREMIER
            PO BOX 41602                                               ¨ Contingent
            PHILADELPHIA, PA 19101-1602                                ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            8/10/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.61       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $928,296.34
                                                                       Check all that apply.
            LABORATORY CORPORATION OF AMERICA HOLDINGS
            ATTN: NEIL SPALDING                                        ¨ Contingent
            1225 JAY LANE                                              ¨ Unliquidated
            GRAHAM, NC 27215                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.62       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,420.00
                                                                       Check all that apply.
            LIBERTY CLEANING COMPANY
            25 STONE DRIVE                                             ¨ Contingent
            CRANSTON, RI 02920                                         ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            8/3/2018                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.63       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $4,650.00
                                                                       Check all that apply.
            LORI DUSTIN
            6 TOMKINS LANE                                             ¨ Contingent
            FRAMINGHAM, MA 01702                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            3/7/2018                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.64       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,530.28
                                                                       Check all that apply.
            MASS PRINTING
            352 PARK ST                                                ¨ Contingent
            SUITE 202W                                                 ¨ Unliquidated
            NORTH READING, MA 01864                                    ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            8/2/2018
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.65       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $24,858.42
                                                                       Check all that apply.
            MEDICAL STAFFING NETWORK
            PO BOX 840292                                              ¨ Contingent
            DALLAS, TX 75284-0292                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.66       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $4,798.40
                                                                       Check all that apply.
            MERRIL
            CM-9638                                                    ¨ Contingent
            ST. PAUL, MN 55170-9638                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.67       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $3,575.00
                                                                       Check all that apply.
            MICHAEL MCEACHERN
            ADDRESS REDACTED                                           ¨ Contingent
                                                                       ¨ Unliquidated
            Date or dates debt was incurred                            ¨ Disputed
            4/3/2018                                                   Basis for the claim:
            Last 4 digits of account number:                           TRADE PAYABLE
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.68       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            MILLENNIUM CONSULTING, INC.
            ATTN: BRIAN A. BLISS, ESQ.                                 þ Contingent
            MCKINNEY & ASSOCIATES LLC                                  þ Unliquidated
            24 SALT POND ROAD, SUITE C-4                               þ Disputed
            WAKEFIELD, RI 02879                                        Basis for the claim:
            Date or dates debt was incurred                            JUDGEMENT
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.69       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $85,256.00
                                                                       Check all that apply.
            MILLENNIUM CONSULTING, INC.
            PO BOX 5130                                                ¨ Contingent
            WAKEFIELD, RI 02880                                        ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.70       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:          $1,563,883.45
                                                                       Check all that apply.
            MINUTECLINIC DIAGNOSTIC
            PO BOX 329                                                 ¨ Contingent
            MAIL STOP 2290                                             ¨ Unliquidated
            WOONSOCKET, RI 02895                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.71       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:          $1,921,336.85
                                                                       Check all that apply.
            MOORE MEDICAL CORPORATION
            PO BOX 99718                                               ¨ Contingent
            CHICAGO, IL 60696                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.72       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $180.00
                                                                       Check all that apply.
            MT. PLEASANT ALARMS
            85 ACADEMY AVENUE                                          ¨ Contingent
            PROVIDENCE, RI 02908                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            8/1/2018                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.73       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $368.75
                                                                       Check all that apply.
            MUTO ADVISORS, LLC
            PO BOX 582                                                 ¨ Contingent
            SILVERTHORNE, CO 80498                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            8/30/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.74       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $5,000.00
                                                                       Check all that apply.
            NATIONAL BUSINESS GROUP ON HEA
            PO BOX 75516                                               ¨ Contingent
            BALTIMORE, MD 21275                                        ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            7/25/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.75       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $61.91
                                                                       Check all that apply.
            NATIONAL GRID
            PO BOX 11739                                               ¨ Contingent
            NEWARK, NJ 07101-4739                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.76       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $13,751.60
                                                                       Check all that apply.
            NAVISITE, LLC
            P.O. BOX 10138                                             ¨ Contingent
            UNIONDALE, NY 11555-0138                                   ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.77       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $105,075.25
                                                                       Check all that apply.
            ND DATA GROUP OF RI
            1459 STUART ENGLAS BLVD                                    ¨ Contingent
            SUITE 303                                                  ¨ Unliquidated
            MOUNT PLEASANT, SC 29464                                   ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.78       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $101,293.60
                                                                       Check all that apply.
            NETANIUM
            116 JOHN STREET                                            ¨ Contingent
            SUITE 110                                                  ¨ Unliquidated
            LOWELL, MA 01852                                           ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            12/28/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.79       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $175.00
                                                                       Check all that apply.
            NEW ENGLAND
            EMPLOYEE BENEFITS COUNCIL                                  ¨ Contingent
            240 BEAR HILL ROAD, SUITE 102                              ¨ Unliquidated
            WALTHAM, MA 02451                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            10/25/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.80       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,073.17
                                                                       Check all that apply.
            NYSIF DISABILITY BENEFITS
            PO BOX 5239                                                ¨ Contingent
            NEW YORK, NY 10008                                         ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            7/17/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.81       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $967.65
                                                                       Check all that apply.
            OCCUPATIONAL HEALTH CENTERS OF
            PO BOX 75410                                               ¨ Contingent
            OKLAHOMA CITY, OK 73147-0410                               ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            2/12/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.82       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $49,379.90
                                                                       Check all that apply.
            OMNICOLOR PRINTING
            331 NORTH BROADWAY                                         ¨ Contingent
            RUMFORD, RI 02916                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.83       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $746,005.31
                                                                       Check all that apply.
            OPTISOM, LLC
            2525 CAMINO DEL RIO SOUTH #270                             ¨ Contingent
            SAN DIEGO, CA 92108                                        ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.84       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $114.74
                                                                       Check all that apply.
            PITNEY BOWES
            PO BOX 371874                                              ¨ Contingent
            PITTSBURGH, PA 15250-7874                                  ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            8/3/2017                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.85       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,050.00
                                                                       Check all that apply.
            PR NEWSWIRE ASSOCIATION LLC
            G.P.O BOX 5897                                             ¨ Contingent
            NEW YORK, NY 10087-5897                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            5/23/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.86       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $29,706.00
                                                                       Check all that apply.
            PUBLIX SUPER MARKETS, INC.
            PO BOX 32009                                               ¨ Contingent
            LAKELAND, FL 33802-2009                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.87       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $309.00
                                                                       Check all that apply.
            QUALITY SYSTEMS INC
            PO BOX 809390                                              ¨ Contingent
            CHICAGO, IL 60680                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            7/6/2017                                                   TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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 3.88       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $258,875.00
                                                                       Check all that apply.
            QUEST DIAGNOSTICS
            PO BOX 740709                                              ¨ Contingent
            ATLANTA, GA 30374-0709                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.89       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $771.71
                                                                       Check all that apply.
            R&L CARRIERS
            PO BOX 10020                                               ¨ Contingent
            PORT WILLIAM, OH 45164-2000                                ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.90       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $189.00
                                                                       Check all that apply.
            REGUS MANAGEMENT GROUP LLC
            725 COOL SPRINGS BLVD                                      ¨ Contingent
            SUITE 600                                                  ¨ Unliquidated
            FRANKLIN, TN 37067                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            6/26/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.91       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $5,856.00
                                                                       Check all that apply.
            RESOURCING, LLC
            4387 SWAMP ROAD #205                                       ¨ Contingent
            DOYLESTOWN, PA 18902                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.92       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $36,855.00
                                                                       Check all that apply.
            RSM US LLP
            331 W. 3RD STREET                                          ¨ Contingent
            SUITE 200                                                  ¨ Unliquidated
            DAVENPORT, IA 52801                                        ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            1/31/2018
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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 3.93       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $32,257.50
                                                                       Check all that apply.
            SANSIVERI, KIMBALL & CO. LLP
            50 HOLDEN STREET                                           ¨ Contingent
            PROVIDENCE, RI 02908                                       ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.94       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            UNKNOWN
                                                                       Check all that apply.
            SARAH HOUSER
            ADDRESS REDACTED                                           þ Contingent
                                                                       þ Unliquidated
            Date or dates debt was incurred                            þ Disputed

            Last 4 digits of account number:                           Basis for the claim:
                                                                       EEOC CLAIM
                                                                       Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.95       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $6,572.69
                                                                       Check all that apply.
            SHI INTERNATIONAL CORP
            PO BOX 952121                                              ¨ Contingent
            DALLAS, TX 75395-2121                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.96       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,491.00
                                                                       Check all that apply.
            SHRED-IT USA
            28883 NETWORK PLACE                                        ¨ Contingent
            13783926                                                   ¨ Unliquidated
            CHICAGO, IL 60673-1288                                     ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.97       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $10,531.00
                                                                       Check all that apply.
            SILKROAD
            1801 W. OLYMPIC BLVD                                       ¨ Contingent
            FILE 1221                                                  ¨ Unliquidated
            PASADENA, CA 91199-1221                                    ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes




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 3.98       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $2,470.00
                                                                       Check all that apply.
            SMART ERP SOLUTIONS INC
            4683 CHABOT DR                                             ¨ Contingent
            SUITE 380                                                  ¨ Unliquidated
            PLEASANTON, CA 94588                                       ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.99       Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $21,216.00
                                                                       Check all that apply.
            SOFTWARE QUALITY ASSC, LLC
            PO BOX 204653                                              ¨ Contingent
            DALLAS, TX 75320-4653                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.100      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $47,640.00
                                                                       Check all that apply.
            STARPOINT
            PO BOX 654068                                              ¨ Contingent
            DALLAS, TX 75265-4068                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.101      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $5,100.00
                                                                       Check all that apply.
            SURVEYGIZMO
            4888 PEARL EAST CIRCLE                                     ¨ Contingent
            STE 100 WEST                                               ¨ Unliquidated
            BOULDER, CO 80301                                          ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            5/4/2017
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.102      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                 $57.00
                                                                       Check all that apply.
            TAKE CARE HEALTH PENNSYLVANIA
            16802 COLLECTIONS CENTER DRIVE                             ¨ Contingent
            CHICAGO, IL 60693                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            6/12/2017                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.103      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $13,520.00
                                                                       Check all that apply.
            TEKSYSTEMS, INC.
            P.O. BOX 198568                                            ¨ Contingent
            ATLANTA, GA 30384-8568                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.104      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $5,843.25
                                                                       Check all that apply.
            THE EXECUTIVE SEARCH GROUP
            675 THIRD AVENUE - 5TH FLOOR                               ¨ Contingent
            NEW YORK, NY 10017                                         ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.105      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $480.00
                                                                       Check all that apply.
            TLC HOMECARE & NURSING
            1550 WILLISTON ROAD                                        ¨ Contingent
            SOUTH BURLINGTON, VT 05403                                 ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            11/16/2017                                                 TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.106      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $29,247.00
                                                                       Check all that apply.
            TWINE HEALTH
            C/O NGIN WORKPLACE                                         ¨ Contingent
            210 BROADWAY, SUITE 201                                    ¨ Unliquidated
            CAMBRIDGE, MA 02139                                        ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.107      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $97,235.91
                                                                       Check all that apply.
            US CLOUD LC
            1714 GILSINN LANE                                          ¨ Contingent
            FENTON, MO 63026                                           ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.108      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $13,502.56
                                                                       Check all that apply.
            VAR TECHNOLOGY FINANCE
            PO BOX 790448                                              ¨ Contingent
            1441588                                                    ¨ Unliquidated
            SAINT LOUIS, MO 63179-0448                                 ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.109      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $5,319.93
                                                                       Check all that apply.
            VERIZON WIRELESS
            PO BOX 15062                                               ¨ Contingent
            ALBANY, NY 12212-5062                                      ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.110      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $1,261.12
                                                                       Check all that apply.
            VISION SERVICE PLAN
            PO BOX 742788                                              ¨ Contingent
            LOS ANGELES, CA 90074-2788                                 ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            1/16/2018                                                  TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.111      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $8,298.00
                                                                       Check all that apply.
            WAIKATO INC
            9265 DOWDY DRIVE                                           ¨ Contingent
            SUITE #227                                                 ¨ Unliquidated
            SAN DIEGO, CA 92126                                        ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            2/6/2018
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.112      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $30,751.24
                                                                       Check all that apply.
            WALGREENS
            PO BOX NO 90478                                            ¨ Contingent
            CHICAGO, IL 60696-0478                                     ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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                                                                                                                       Amount of claim

 3.113      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:                $331.15
                                                                       Check all that apply.
            WASTE MANAGEMENT
            PO BOX 42090                                               ¨ Contingent
            PHOENIX, AZ 85080                                          ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes

 3.114      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:              $4,760.00
                                                                       Check all that apply.
            WELCOA
            17002 MARCY STREET                                         ¨ Contingent
            STE 140                                                    ¨ Unliquidated
            OMAHA, NE 68118                                            ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            2/7/2018
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.115      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $47,500.00
                                                                       Check all that apply.
            WELLNESS LAYERS INC.
            336 ATLANTIC AVE                                           ¨ Contingent
            SUITE 301                                                  ¨ Unliquidated
            EAST ROCKAWAY, NY 11518                                    ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.116      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:             $25,766.64
                                                                       Check all that apply.
            WELLSOURCE, INC.
            8100 SW NYBERG ST                                          ¨ Contingent
            SUITE 450                                                  ¨ Unliquidated
            TUALATIN, OR 97062                                         ¨ Disputed
            Date or dates debt was incurred                            Basis for the claim:
                                                                       TRADE PAYABLE
            VARIOUS
                                                                       Is the claim subject to offset?
            Last 4 digits of account number:                           þ No
                                                                       ¨ Yes

 3.117      Nonpriority creditors name and mailing address            As of the petition filing date, the claim is:            $141,611.60
                                                                       Check all that apply.
            ZIPONGO, INC.
            564 PACIFIC                                                ¨ Contingent
            SAN FRANCISCO, CA 94133                                    ¨ Unliquidated
                                                                       ¨ Disputed
            Date or dates debt was incurred
                                                                       Basis for the claim:
            VARIOUS                                                    TRADE PAYABLE
            Last 4 digits of account number:                           Is the claim subject to offset?
                                                                       þ No
                                                                       ¨ Yes




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    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                               Total of claim amounts


   5a. Total claims from Part 1                                                                      5a.                      $14,364.37



   5b. Total claims from Part 2                                                                      5b.   +               $9,787,750.81



   5c. Total of Parts 1 and 2                                                                        5c.                   $9,802,115.18
       Lines 5a + 5b = 5c.




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  Fill in this information to identify the case:
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 Debtor        Provant Health Solutions, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          18-23309
  (if known)
                                                                                                                                      ¨ Check if this is an
                                                                                                                                         amended filing

 Official Form 206G
 Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

 Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1.    Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtors other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).

 2.    List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired lease

 2.1            State what the contract        MASTER SERVICES AGREEMENT                21ST CENTURY ONCOLOGY
                or lease is for and the                                                 ATTN: LEGAL DEPT
                nature of the debtors                                                  2270 COLONIAL BLVD
                interest                                                                FORT MYERS, FL 33907

                State the term remaining       CURRENT

                List the contract number
                of any government
                contract

 2.2            State what the contract        MASTER SERVICES AGREEMENT                21ST CENTURY ONCOLOGY
                or lease is for and the                                                 ATTN: LEGAL DEPT
                nature of the debtors                                                  2270 COLONIAL BLVD
                interest                                                                FORT MYERS, FL 33907

                State the term remaining       CURRENT

                List the contract number
                of any government
                contract

 2.3            State what the contract        MASTER SERVICES AGREEMENT                21ST CENTURY ONCOLOGY
                or lease is for and the                                                 ATTN: LEGAL DEPT
                nature of the debtors                                                  2270 COLONIAL BLVD
                interest                                                                FORT MYERS, FL 33907

                State the term remaining       CURRENT

                List the contract number
                of any government
                contract

 2.4            State what the contract        MASTER SERVICES AGREEMENT                21ST CENTURY ONCOLOGY
                or lease is for and the                                                 ATTN: LEGAL DEPT
                nature of the debtors                                                  2270 COLONIAL BLVD
                interest                                                                FORT MYERS, FL 33907

                State the term remaining       CURRENT

                List the contract number
                of any government
                contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.5        State what the contract     INDEMNIFICATION AGREEMENT                277 PARK AVENUE LLC
            or lease is for and the                                              277 PARK AVENUE
            nature of the debtors                                               FLOOR 44
            interest                                                             NEW YORK, NY 10172

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.6        State what the contract     MASTER SERVICES AGREEMENT                AAA LIFE INSURANCE
            or lease is for and the                                              17900 NORTH LAUREL PARK DRIVE
            nature of the debtors                                               LIVONIA, MI 48152-3985
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.7        State what the contract     EXHIBIT A - SCHEDULE OF WORK A.2         AAA SOUTHERN NEW ENGLAND INC
            or lease is for and the     RE: MASTER SERVICES AGREEMENT            110 ROYAL LITTLE DR
            nature of the debtors      GENERAL TERMS AND CONDITIONS             PROVIDENCE, RI 02904
            interest                    DTD 10/14/2011

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.8        State what the contract     EXHIBIT A-1 SCHEDULE OF WORK             AAA SOUTHERN NEW ENGLAND INC
            or lease is for and the     RE MASTER SERVICES AGREEMENT             110 ROYAL LITTLE DR
            nature of the debtors      DTD 2/21/2012                            PROVIDENCE, RI 02904
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.9        State what the contract     MASTER SERVICES AGREEMENT                AAA SOUTHERN NEW ENGLAND INC
            or lease is for and the                                              110 ROYAL LITTLE DR
            nature of the debtors                                               PROVIDENCE, RI 02904
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.10       State what the contract     INCENTIVE COMPENSATION PLAN              ABEL, SHANNON
            or lease is for and the                                              11404 OLD GEORGETOWN RD.
            nature of the debtors                                               SUITE 204
            interest                                                             ROCKVILLE, MD 20852

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.11       State what the contract     MASTER SERVICES AGREEMENT                ABT ASSOCIATES INC
            or lease is for and the                                              55 WHEELER STREET
            nature of the debtors                                               CAMBRIDGE, MA 2138
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.12       State what the contract     DATA TRANSFER AGREEMENT                  ACCOUNTABLE CARE ORGANIZATION OF PENNSYLVANIA LLC
            or lease is for and the                                              259 N RADNOR CHESTER ROAD
            nature of the debtors                                               RADNOR, PA 19087
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.13       State what the contract     GIFT CARD CLAIM CODE PURCHASE            ACI GIFT CARDS INC
            or lease is for and the     AGREEMENT                                C/O AMAZON.COM INC
            nature of the debtors                                               ATTN: GENERAL COUNSEL
            interest                                                             410 TERRY AVE NORTH
                                                                                 SEATTLE, WA 98109-5210
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.14       State what the contract     GIFT CARD CLAIM CODE PURCHASE            ACI GIFT CARDS INC
            or lease is for and the     AGREEMENT                                C/O AMAZON.COM INC
            nature of the debtors                                               ATTN: GENERAL COUNSEL
            interest                                                             410 TERRY AVE NORTH
                                                                                 SEATTLE, WA 98109-5210
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.15       State what the contract     CONFIDENTIALITY AGREEMENT                ACTIVEHEALTH MANAGEMENT INC
            or lease is for and the                                              ATTN: ROBERT J WILLIAMS, CFO
            nature of the debtors                                               1333 BROADWAY AVE
            interest                                                             NEW YORK, NY 10018

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.16       State what the contract     MUTUAL CONFIDENTIALITY                   ACTIVEHEALTH MANAGEMENT INC
            or lease is for and the     AGREEMENT                                ATTN: ROBERT J WILLIAMS, CFO
            nature of the debtors                                               1333 BROADWAY AVE
            interest                                                             NEW YORK, NY 10018

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.17       State what the contract     CONFIDENTIALITY & NON-DISCLOSURE         AETNA LIFE INSURANCE COMPANY
            or lease is for and the     AGREEMENT                                ATTN: DIAN F MCCAMMON, CPO
            nature of the debtors                                               151 FARMINGTON AVENUE
            interest                                                             HARTFORD, CT 06156

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.18       State what the contract     CONFIDENTIALITY & NON-DISCLOSURE         AETNA LIFE INSURANCE COMPANY
            or lease is for and the     AGREEMENT                                ATTN: THOMAS A YOUNG, VP & CCO
            nature of the debtors                                               151 FARMINGTON AVENUE
            interest                                                             HARTFORD, CT 06156

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.19       State what the contract     END USER SOFTWARE LICENSE AND            ALIENVAULT, INC
            or lease is for and the     SERVICES AGREEMENT                       ATTN: ANDREW FIEO
            nature of the debtors                                               1875 S GRANT ST
            interest                                                             STE 200
                                                                                 SAN MATEO, CA 94402
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.20       State what the contract     SALES ORDER FORM                         ALIENVAULT, INC
            or lease is for and the     QUOTE NO 00087132                        ATTN: ANDREW FIEO
            nature of the debtors                                               1875 S GRANT ST
            interest                                                             STE 200
                                                                                 SAN MATEO, CA 94402
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.21       State what the contract     SALES ORDER FORM                         ALIENVAULT, INC
            or lease is for and the     QUOTE NO. 00071416                       ATTN: ANDREW FIEO
            nature of the debtors                                               1875 S GRANT ST
            interest                                                             STE 200
                                                                                 SAN MATEO, CA 94402
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.22       State what the contract     DATA TRANSFER AGREEMENT                  ALL SORTS MAILING SERVICES INC
            or lease is for and the                                              3335 KELLER SPRINGS RD
            nature of the debtors                                               SUITE 104
            interest                                                             CARROLLTON, TX 75006-5089

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.23       State what the contract     GIFT CARD CLAIM CODE PURCHASE            AMAZON
            or lease is for and the     AGREEMENT                                410 TERRY AVENUE NORTH
            nature of the debtors                                               SEATTLE, WA 98109-5210
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.24       State what the contract     GIFT CARD CLAIM CODE PURCHASE            AMAZON
            or lease is for and the     AGREEMENT                                410 TERRY AVENUE NORTH
            nature of the debtors      PRODUCT PARTNER - GIFT CARD              SEATTLE, WA 98109-5210
            interest                    REWARDS OPTION FOR INCENTIVE
                                        MANAGEMENT CLIENTS
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.25       State what the contract     ADDENDUM NUMBER 1                        AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     RE: AGREEMENT CW2247623 DTD              INC
            nature of the debtors      9/12/2012                                AMERICAN EXPRESS TOWER
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    CURRENT                                  NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.26       State what the contract     STANDALONE PROFESSIONAL                  AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     SERVICES AGREEMENT                       INC
            nature of the debtors                                               AMERICAN EXPRESS TOWER
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    CURRENT                                  NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.27       State what the contract     STANDALONE PROFESSIONAL                  AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     SERVICES AGREEMENT                       INC
            nature of the debtors                                               AMERICAN EXPRESS TOWER
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    CURRENT                                  NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.28       State what the contract     MUTUAL NON-DISCLOSURE                    AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     AGREEMENT                                INC
            nature of the debtors                                               ATTN: GLOBAL REAL ESTATE AND PURCHASING SERVICES,
            interest                                                             HR
                                                                                 AMERICAN EXPRESS TOWER, THREE WORLD FINANCIAL
            State the term remaining    CURRENT                                  CENTER
                                                                                 200 VESEY STREET, 30TH FLOOR
            List the contract number                                             NEW YORK, NY 10285
            of any government
            contract




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            (Name)                                            Pg 57 of 161
        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.29       State what the contract     SERVICES CHANGE AUTHORIZATION            AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the                                              INC
            nature of the debtors                                               ATTN: KAREN DIPROFIO
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    CURRENT                                  NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.30       State what the contract     AMENDMENT NO 3                           AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     AMENDS AGREEMENT CW2247623 DTD           INC
            nature of the debtors      9/12/2012                                ATTN: PAULA MEDNICK, CATEGORY MANAGER
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    9/11/2018                                NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.31       State what the contract     AMENDMENT NO. 1 - CW212820               AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     AMENDS AGREEMENT CW200279                INC
            nature of the debtors      DTD7/1/2010                              ATTN: PAULA MEDNICK, CATEGORY MANAGER
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    CURRENT                                  NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.32       State what the contract     AMENDMENT NUMBER 2                       AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY
            or lease is for and the     AMENDS AGREEMENTCW2247623 DTD            INC
            nature of the debtors      9/12/2012, AS AMENDED                    ATTN: PAULA MEDNICK, CATEGORY MANAGER
            interest                                                             200 VESEY STREET
                                                                                 WORLD FINANCIAL CENTER
            State the term remaining    9/11/2018                                NEW YORK, NY 10285-3410
            List the contract number
            of any government
            contract

 2.33       State what the contract     MASTER SERVICES AGREEMENT                AMERISTAR CASINO BLACK HAWK INC
            or lease is for and the                                              111 RICHMAN STREET
            nature of the debtors                                               BLACK HAWK, CO 80422
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.34       State what the contract     MASTER SERVICES AGREEMENT                AMERISTAR CASINO COUNCIL BLUFFS INC
            or lease is for and the                                              2200 RIVER ROAD
            nature of the debtors                                               COUNCIL BLUFFS, IA 51501
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.35       State what the contract     MASTER SERVICES AGREEMENT                AMERISTAR CASINO KANSAS CITY INC
            or lease is for and the                                              3200 NORTH AMERISTAR DRIVE
            nature of the debtors                                               KANSAS CITY, MO 64161
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.36       State what the contract     MASTER SERVICES AGREEMENT                AMERISTAR CASINO ST CHARLES INC
            or lease is for and the                                              ONE AMERISTAR BOULEVARD
            nature of the debtors                                               ST CHARLES, MO 63301
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.37       State what the contract     MASTER SERVICES AGREEMENT                AMERISTAR CASINO VICKSBURG INC
            or lease is for and the                                              4116 WASHINGTON STREET
            nature of the debtors                                               VICKSBURG, MS 39180
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.38       State what the contract     SERVICES AGREEMENT                       ANHEUSER-BUSCH COMPANIES, LLC
            or lease is for and the                                              ATTN: STEPHEN FREIN, VP TOTAL REWARDS
            nature of the debtors                                               ONE BUSCH PLACE, 202-9
            interest                                                             ST. LOUIS, MO 63118

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.39       State what the contract     SERVICES CHANGE AUTHORIZATION            ANHEUSER-BUSCH COMPANIES, LLC
            or lease is for and the                                              ATTN: STEPHEN FREIN, VP TOTAL REWARDS
            nature of the debtors                                               ONE BUSCH PLACE, 202-9
            interest                                                             ST. LOUIS, MO 63118

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.40       State what the contract     EMPLOYMENT SEPARATION                    ANKETELL, BARBARA
            or lease is for and the     AGREEMENT AND GENERAL RELEASE            ADDRESS REDACTED
            nature of the debtors
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.41       State what the contract     CONFIDENTIALITY AGREEMENT                AON CONSULTING INC
            or lease is for and the                                              ATTN: BRIAN M FERN, VP - LEGAL
            nature of the debtors                                               THE LEADENHALL BUILDING
            interest                                                             122 LEADENHALL STREET
                                                                                 LONDON EC3V 4AN
            State the term remaining    CURRENT                                  UNITED KINGDOM
            List the contract number
            of any government
            contract

 2.42       State what the contract     FIRST AMENDMENT TO SERVICES              ARCELORMITTAL USA LLC
            or lease is for and the     AGREEMENT                                ATTN: KATHY HILBRICH
            nature of the debtors      AMENDS SERVICES AGREEMENT DTD            3210 WATLING ST
            interest                    7/22/2014                                MC 7-005
                                                                                 EAST CHICAGO, IN 46312
            State the term remaining    6/30/2019

            List the contract number
            of any government
            contract

 2.43       State what the contract     SERVICES AGREEMENT                       ARCELORMITTAL USA LLC
            or lease is for and the                                              ATTN: KATHY HILBRICH
            nature of the debtors                                               3210 WATLING ST
            interest                                                             MC 7-005
                                                                                 EAST CHICAGO, IN 46312
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.44       State what the contract     SERVICES CHANGE AUTHORIZATION            ARCELORMITTAL USA LLC
            or lease is for and the                                              ATTN: KATHY HILBRICH
            nature of the debtors                                               3210 WATLING ST
            interest                                                             MC 7-005
                                                                                 EAST CHICAGO, IN 46312
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.45       State what the contract     SERVICES CHANGE AUTHORIZATION            ARCELORMITTAL USA LLC
            or lease is for and the                                              ATTN: KATHY HILBRICH
            nature of the debtors                                               3210 WATLING ST
            interest                                                             MC 7-005
                                                                                 EAST CHICAGO, IN 46312
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.46       State what the contract     PROPOSAL                                 ATRION NETWORKING CORPORATION
            or lease is for and the     PROPOSAL NO 107888-OP21896               ATTN: JOE CARANCI
            nature of the debtors                                               125 METRO CENTER BLVD
            interest                                                             WARWICK, RI 02886

            State the term remaining    6/30/2019

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.47       State what the contract     PROPOSAL - 2015-16 MAXTIME               ATRION NETWORKING CORPORATION
            or lease is for and the     SUPPORT                                  ATTN: JOE CARANCI
            nature of the debtors      PROPOSAL NO 107888_QU19744               125 METRO CENTER BLVD
            interest                                                             WARWICK, RI 02886

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.48       State what the contract     CONSULTING AGREEMENT                     BALLAST LANE APPLICATIONS LLC
            or lease is for and the                                              ATTN: LARRY EHRHARDT
            nature of the debtors                                               11 BALLAST LANE
            interest                                                             MARBLEHEAD, MA

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.49       State what the contract     SOW FOR POST EVENT DATA                  BALLAST LANE APPLICATIONS LLC
            or lease is for and the     COLLECTION PORTAL                        ATTN: LARRY EHRHARDT
            nature of the debtors                                               11 BALLAST LANE
            interest                                                             MARBLEHEAD, MA

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.50       State what the contract     MASTER SERVICES AGREEMENT                BELTERRA RESORT INDIANA LLC
            or lease is for and the                                              777 BELTERRA DRIVE
            nature of the debtors                                               FLORENCE, IN 47020
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.51       State what the contract     LICENSE AGREEMENT TO PERFORM             BEPCO LP
            or lease is for and the     WORK FOR TENANT AND/OR OWNER             3850 N CAUSEWAY BLVD
            nature of the debtors                                               #1900
            interest                                                             METAIRIE, LA 70002

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.52       State what the contract     CONFIDENTIALITY AND                      BLUE CROSS AND BLUE SHIELD OF ALABAMA
            or lease is for and the     NONDISCLOSURE AGREEMENT                  450 RIVERCHASE PARKWAY EAST
            nature of the debtors                                               BIRMINGHAM, AL 35244
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.53       State what the contract     STATEMENT OF WORK # 6                    BRISTOL-MYERS SQUIBB COMPANY
            or lease is for and the     RE: SERVICES AGREEMENT DTD               ATTN: VICE PRESIDENT & ASSISTANT GENERAL COUNSEL
            nature of the debtors      8/15/2014                                STATEGIC CORPORATE TRANSACTIONS
            interest                                                             777 SCUDDERS MILL RD
                                                                                 PLAINSBORO, NJ 08536
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.54       State what the contract     STATEMENT OF WORK #1                     BRISTOL-MYERS SQUIBB COMPANY
            or lease is for and the     RE: SERVICES AGREEMENT DTD               ATTN: VICE PRESIDENT & ASSISTANT GENERAL COUNSEL
            nature of the debtors      8/15/2017                                STATEGIC CORPORATE TRANSACTIONS
            interest                                                             777 SCUDDERS MILL RD
                                                                                 PLAINSBORO, NJ 08536
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.55       State what the contract     STATEMENT OF WORK #5                     BRISTOL-MYERS SQUIBB COMPANY
            or lease is for and the                                              ATTN: VICE PRESIDENT & ASSISTANT GENERAL COUNSEL
            nature of the debtors                                               STATEGIC CORPORATE TRANSACTIONS
            interest                                                             777 SCUDDERS MILL RD
                                                                                 PLAINSBORO, NJ 08536
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.56       State what the contract     MEDICAL SERVICES AGREEMENT               BRISTOL-MYERS SQUIBB COMPANY
            or lease is for and the                                              ROUTE 206 AND PROVINCE LINE ROAD
            nature of the debtors                                               PRINCETON, NJ 08543
            interest
            State the term remaining    8/15/2020

            List the contract number
            of any government
            contract

 2.57       State what the contract     MEDICAL SERVICES AGREEMENT               BRISTOL-MYERS SQUIBB COMPANY
            or lease is for and the                                              ROUTE 206 AND PROVINCE LINE ROAD
            nature of the debtors                                               PRINCETON, NJ 08543
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.58       State what the contract     EXHIBIT B - SCHEDULE                     BURNS & MCDONNEL
            or lease is for and the     RE: MASTER SERVICE AGREEMENT             ATTN: LAUREN DUNN
            nature of the debtors      DTD 9/10/2015                            9400 WARD PARKWAY
            interest                                                             KANSAS, MO 64114

            State the term remaining    9/1/2019

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.59       State what the contract     MASTER SERVICES AGREEMENT                BURNS & MCDONNEL
            or lease is for and the                                              ATTN: LAUREN DUNN
            nature of the debtors                                               9400 WARD PARKWAY
            interest                                                             KANSAS, MO 64114

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.60       State what the contract     MASTER SERVICES AGREEMENT                CACTUS PETE'S INC
            or lease is for and the                                              PO BOX 508
            nature of the debtors                                               1385 HIGHWAY 93
            interest                                                             JACKPOT, NV 89825

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.61       State what the contract     ADDENDUM                                 CARENET HEALTHCARE SERVICES
            or lease is for and the     OUTSOURCE PROVIDER OF HEALTH             PO BOX 2503
            nature of the debtors      ADVOCACY SERVICES FOR PROVANT'S          SAN ANTONIO, TX 78299
            interest                    CLIENTS

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.62       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: JENI MCGILL
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.63       State what the contract     CONTRACT # 3341770                       CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.64       State what the contract     FIRST AMENDMENT TO SERVICES              CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors      AMENDS SERVICES AGREEMENT DTD            15407 MCGINTY ROAD WEST
            interest                    8/14/2011                                WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.65       State what the contract     PROPOSAL FOR WELLNESS SERVICES           CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.66       State what the contract     PROPOSAL FOR WELLNESS SERVICES           CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.67       State what the contract     RESPONSE TO QUESTIONNAIRE                CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.68       State what the contract     SERVICES AGREEMENT                       CARGILL, INCORPORATED
            or lease is for and the     CONTRACT # 3341770                       ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.69       State what the contract     SERVICES AGREEMENT                       CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.70       State what the contract     THRID AMENDMENT TO SERVICES              CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors      AMENDS SERVICES AGREEMENT DTD            15407 MCGINTY ROAD WEST
            interest                    8/14/2011                                WAYZATA, MN 55391-2399

            State the term remaining    8/31/2019

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.71       State what the contract     WELLNESS PROPOSAL FOR CARGILL            CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.72       State what the contract     WELLNESS PROPOSAL FOR CARGILL            CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: JENI MCGILL, SR BENEFITS CONSULTANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.73       State what the contract     SERVICES AGREEMENT                       CARGILL, INCORPORATED
            or lease is for and the     CONTRACT # 3341770                       ATTN: JENI MCGILL, SR BENEFITS CONSUTLANT
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.74       State what the contract     FOURTH AMENDMENT TO SERVICES             CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: LISA REBERG
            nature of the debtors      AMENDS SERVICES AGREEMENT DTD            15407 MCGINTY ROAD WEST
            interest                    8/14/2011, AS AMENDED                    WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.75       State what the contract     MASTER SERVICES AGREEMENT                CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.76       State what the contract     SECOND AMENDMENT TO SERVICES             CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: LISA REBERG
            nature of the debtors      AMENDS SERVICES AGREEMENT DTD            15407 MCGINTY ROAD WEST
            interest                    8/14/2011, AS AMENDED                    WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.77       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.78       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.79       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA 2/13/2012                        ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.80       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.81       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.82       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
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        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.83       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
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            contract

 2.84       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.85       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.86       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the     RE: MSA DTD 2/13/2012                    ATTN: LISA REBERG
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.87       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: STEPHANIE MOORE
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.88       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: STEPHANIE MOORE
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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            (Name)                                            Pg 67 of 161
        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.89       State what the contract     SERVICES CHANGE AUTHORIZATION            CARGILL, INCORPORATED
            or lease is for and the                                              ATTN: STEPHANIE MOORE
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.90       State what the contract     SELECT SUPPLIER SERVICES                 CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: STRATEGIC SOURCING LEAD LAWYER
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.91       State what the contract     SELECT SUPPLIER SERVICES                 CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: STRATEGIC SOURCING LEAD LAWYER
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.92       State what the contract     SELECT SUPPLIER SERVICES                 CARGILL, INCORPORATED
            or lease is for and the     AGREEMENT                                ATTN: STRATEGIC SOURCING LEAD LAWYER
            nature of the debtors                                               15407 MCGINTY ROAD WEST
            interest                                                             WAYZATA, MN 55391-2399

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.93       State what the contract     INDEMNIFICATION AGREEMENT                CASSIDY TURLEY NEW YORK INC
            or lease is for and the                                              11 E. 52ND ST
            nature of the debtors                                               NEW YORK, NY 10022
            interest
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.94       State what the contract     HIPAA BUSINESS ASSOCIATE                 CENTURA HEALTH CORPORATION
            or lease is for and the     AGREEMENT                                ATTN: ANGIE WILLMARIA, DIR OF ASSOCIATE WELLNESS
            nature of the debtors                                               9100 E MINERAL CIR
            interest                                                             CENTENNIAL, CO 80112

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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            (Name)                                            Pg 68 of 161
        List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired lease

 2.95       State what the contract     SEREVICES CHANGE AUTHORIZATION           CENTURA HEALTH CORPORATION
            or lease is for and the     RE: MASTER SERVICES AGREEMENT            ATTN: ANGIE WILLMARIA, DIR OF ASSOCIATE WELLNESS
            nature of the debtors      DTD 8/24/2016                            9100 E MINERAL CIR
            interest                                                             CENTENNIAL, CO 80112

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.96       State what the contract     SERVICES CHANGE REQUEST FORM             CENTURA HEALTH CORPORATION
            or lease is for and the     RE: SOW OF WORK NO. 3 DTD 11/4/2013;     ATTN: ANGIE WILLMARIA, DIR OF ASSOCIATE WELLNESS
            nature of the debtors      MASTER SERVICES AGREEMENT DTD            9100 E MINERAL CIR
            interest                    6/6/2014 AS AMENDED                      CENTENNIAL, CO 80112

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.97       State what the contract     SUBORDINATED PROMISSORY NOTE             CENTURY FOCUSED FUND III, L.P.
            or lease is for and the                                              ATTN: FRANK BAZOS
            nature of the debtors                                               100 FEDERAL STREET
            interest                                                             BOSTON, MA 02110

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.98       State what the contract     CERNER SALES ORDER                       CERNER CORPORATION
            or lease is for and the     RE CONTENT LICENSE AGREEMENT             ATTN: TERESA WALLER, SR DIRECTOR, CONTRACT
            nature of the debtors      DTD 1/2/2009                             MANAGEMENT
            interest                                                             2800 ROCKCREEK PARKWAY
                                                                                 KANSAS CITY, MO 64117
            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.99       State what the contract     MASTER SERVICES AGREEMENT                CHARLES STARK DRAPER LABORATORY INC, THE
            or lease is for and the                                              555 TECHNOLOGY SQUARE
            nature of the debtors                                               MS 44
            interest                                                             CAMBRIDGE, MA 02139

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract

 2.100      State what the contract     SERVICES CHANGE AUTHORIZATION            CHARLES STARK DRAPER LABORATORY INC, THE
            or lease is for and the                                              555 TECHNOLOGY SQUARE
            nature of the debtors                                               MS 44
            interest                                                             CAMBRIDGE, MA 02139

            State the term remaining    CURRENT

            List the contract number
            of any government
            contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.101     State what the contract    BUSINESS ASSOCIATE AGREEMENT             CHRYSLER GROUP LLC
           or lease is for and the                                             ATTN: KATHLEEN S. NEAL
           nature of the debtors                                              CIMS 485-07-02
           interest                                                            1000 CHRYSLER DR
                                                                               AUBURN HILLS, MI 48326
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.102     State what the contract    SERVICES CHANGE AUTHORIZATION            CHRYSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: KATHLEEN S. NEAL
           nature of the debtors                                              CIMS 485-07-02
           interest                                                            1000 CHRYSLER DR
                                                                               AUBURN HILLS, MI 48326
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.103     State what the contract    MASTER SERVICES AGREEMENT                CHRYSLER GROUP LLC
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              CIMS 485-07-02
           interest                                                            1000 CHRYSLER DR
                                                                               AUBURN HILLS, MI 48326
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.104     State what the contract    SERVICES CHANGE AUTHORIZATION            CHRYSLER GROUP LLC
           or lease is for and the                                             ATTN: NEIL LEVINS
           nature of the debtors                                              CIMS 485-07-02
           interest                                                            1000 CHRYSLER DR
                                                                               AUBURN HILLS, MI 48326
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.105     State what the contract    DATA TRANSFER AGREEMENT                  CIGNA HEALTH & LIFE INSURANCE COMPANY
           or lease is for and the                                             ATTN: PERRY S PARRIS, SR INFORMATICS SPECIALIST
           nature of the debtors                                              900 COTTAGE GROVE ROAD
           interest                                                            BLOOMFIELD, CT 06002

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.106     State what the contract    INSTALLMENT PAYMENT AGREEMENT            CISCO SYSTEMS CAPITAL CORPORATION
           or lease is for and the    AGREEMENT NO 12793-IP001-0               170 W TASMAN DR
           nature of the debtors                                              SAN JOSE, CA 95134
           interest
           State the term remaining   6/30/2019

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.107     State what the contract    INSTALLMENT PAYMENT AGREEMENT            CISCO SYSTEMS CAPTIAL CORPORATION
           or lease is for and the    AGREEMENT NO 12793-IP001-0               ATTN: LORI SIMPSON
           nature of the debtors                                              7025-3 KIT CREEK ROAD
           interest                                                            M/S RTP 3L/2
                                                                               RESEARCH TRIANGLE PARK, NC 27709-4987
           State the term remaining   6/30/2019

           List the contract number
           of any government
           contract

 2.108     State what the contract    AGREEMENT BETWEEN CITY OF                CITY OF PORTLAND
           or lease is for and the    PORTLAND                                 ATTN: HUMAN RESOURCES
           nature of the debtors                                              CITY HALL, RM 113
           interest                                                            389 CONGRESS ST
                                                                               PORTLAND, ME 04101
           State the term remaining   7/19/2019

           List the contract number
           of any government
           contract

 2.109     State what the contract    FIRST AMENDMENT DTD 7/13/2017            CITY OF PORTLAND
           or lease is for and the    AMENDS AGREEMENT DTD 7/19/2016           ATTN: JON P JENNINGS, CITY MANAGER
           nature of the debtors                                              389 CONGRESS ST
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.110     State what the contract    CONSULTING SERVICES AGREEMENT            CLOUDERA, INC.
           or lease is for and the                                             ATTN: THEO RECCHIA, PUCHASING MANAGER
           nature of the debtors                                              1001 PAGE MILL RD, BLDG 3
           interest                                                            PALO ALTO, CA 94304

           State the term remaining   3/1/2019

           List the contract number
           of any government
           contract

 2.111     State what the contract    PURCHASE ORDER                           CLOUDERA, INC.
           or lease is for and the    PO# 014234US                             ATTN: THEO RECCHIA, PUCHASING MANAGER
           nature of the debtors                                              1001 PAGE MILL RD, BLDG 3
           interest                                                            PALO ALTO, CA 94304

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.112     State what the contract    COUNTERSIGNED AGREEMENT                  COMPASS IT COMPLIANCE, LLC
           or lease is for and the                                             ATTN: PRESIDENT
           nature of the debtors                                              2 ASYLUM ROAD
           interest                                                            NORTH PROVIDENCE, RI 02904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.113     State what the contract    STATEMENT OF WORK                        COMPASS IT COMPLIANCE, LLC
           or lease is for and the    SOW # 1887                               ATTN: PRESIDENT
           nature of the debtors                                              2 ASYLUM ROAD
           interest                                                            NORTH PROVIDENCE, RI 02904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.114     State what the contract    STATEMENT OF WORK                        COMPASS IT COMPLIANCE, LLC
           or lease is for and the                                             ATTN: PRESIDENT
           nature of the debtors                                              2 ASYLUM ROAD
           interest                                                            NORTH PROVIDENCE, RI 02904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.115     State what the contract    STATEMENT OF WORK                        COMPASS IT COMPLIANCE, LLC
           or lease is for and the                                             ATTN: PRESIDENT
           nature of the debtors                                              2 ASYLUM ROAD
           interest                                                            NORTH PROVIDENCE, RI 02904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.116     State what the contract    MASTER SERVICES AGREEMENT                CONOCOPHILLIPS COMPANY
           or lease is for and the                                             ATTN: BRENDA BLAIR
           nature of the debtors                                              600 NORTH DAIRY ASHFORD
           interest                                                            HOUSTON, TX 77079

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.117     State what the contract    MASTER SERVICES AGREEMENT                COUNTY OF OLMSTED
           or lease is for and the                                             ATTN: AMY HOOT, WELLNESS COORDINATOR
           nature of the debtors                                              151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.118     State what the contract    SERVICES CHANGE AUTHORIZATION            COUNTY OF OLMSTED
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: AMY HOOT, WELLNESS COORDINATOR
           nature of the debtors     DTD 7/6/2015                             151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.119     State what the contract    SERVICES CHANGE AUTHORIZATION            COUNTY OF OLMSTED
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: DAVID SHERDEN
           nature of the debtors     DTD 7/6/2015                             151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.120     State what the contract    SERVICES CHANGE AUTHORIZATION            COUNTY OF OLMSTED
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: DAVID SHERDEN
           nature of the debtors     DTD 7/6/2015                             151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.121     State what the contract    SERVICES CHANGE AUTHORIZATION            COUNTY OF OLMSTED
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: DAVID SHERDEN
           nature of the debtors     DTD 7/6/2015                             151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.122     State what the contract    SERVICES CHANGE AUTHORIZATION            COUNTY OF OLMSTED
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: DAVID SHERDEN
           nature of the debtors     DTD 7/6/2015                             151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.123     State what the contract    SERVICES CHANGE AUTHORIZATION            COUNTY OF OLMSTED
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: DAVID SHERDEN
           nature of the debtors     7/6/2015                                 151 4TH STREET
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.124     State what the contract    LETTER OF INTENT                         CSM BAKERY SOLUTIONS LLC
           or lease is for and the                                             ATTN: CATALINA MANZUR, BENEFITS MANAGER
           nature of the debtors                                              1912 MONTREAL RD
           interest                                                            TUCKER, GA 30084

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.125     State what the contract    SERVICES CHANGE AUTHORIZATION            CSM BAKERY SOLUTIONS LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CATALINA MANZUR, BENEFITS MANAGER
           nature of the debtors     DTD 3/18/2016                            1912 MONTREAL RD
           interest                                                            TUCKER, GA 30084

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.126     State what the contract    SERVICES CHANGE AUTHORIZATION            CSM BAKERY SOLUTIONS LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHAYLA GAINES
           nature of the debtors     DTD 3/23/2016                            1912 MONTREAL RD
           interest                                                            TUCKER, GA 30084

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.127     State what the contract    SERVICES CHANGE AUTHORIZATION            CSM BAKERY SOLUTIONS LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHAYLA GAINES
           nature of the debtors                                              1912 MONTREAL RD
           interest                                                            TUCKER, GA 30084

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.128     State what the contract    MASTER SERVICES AGREEMENT                CSM BAKERY SOLUTIONS LLC
           or lease is for and the                                             ATTN: HUMAN RESOURCES
           nature of the debtors                                              1912 MONTREAL RD
           interest                                                            TUCKER, GA 30084

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.129     State what the contract    PROFESSIONAL SERVICES                    CYBRIANT
           or lease is for and the    AGREEMENT                                ATTN: MARY PIZZELLA
           nature of the debtors                                              11175 CICERO DRIVE
           interest                                                            SUITE 100
                                                                               ALPHARETTA, GA 30022
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.130     State what the contract    DATA CAPTURE - SCOPE OF WORK             DHRUV TECHNOLOGY SOLUTIONS INC
           or lease is for and the                                             6790 KENMAR WAY
           nature of the debtors                                              SAN DIEGO, CA 92130
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.131     State what the contract    DATA CAPTURE - SCOPE OF WORK             DHRUV TECHNOLOGY SOLUTIONS INC
           or lease is for and the                                             6790 KENMAR WAY
           nature of the debtors                                              SAN DIEGO, CA 92130
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.132     State what the contract    CONSULTING SERVICES                      DIGITAL GUARDIAN
           or lease is for and the    SCHEDULE/STATEMENT OF WORK               860 WINTER STREET
           nature of the debtors     SCHEDULE NO. 001                         STE 3
           interest                                                            WALTHAM, MA 02451-1499

           State the term remaining   2/28/2019

           List the contract number
           of any government
           contract

 2.133     State what the contract    EXAMINATION OF PROVANT'S HEALTH          DISANTO, PRIEST & CO
           or lease is for and the    SERVICES SYSTEM                          117 METRO CENTER BLVD
           nature of the debtors                                              SUITE 3000
           interest                                                            WARWICK, RI 02886

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.134     State what the contract    LETTER AGREEMENT                         DISANTO, PRIEST & CO
           or lease is for and the                                             117 METRO CENTER BLVD
           nature of the debtors                                              SUITE 3000
           interest                                                            WARWICK, RI 02886

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.135     State what the contract    EXHIBIT A - APPENDIX 3 - STATEMENT       DISNEY WORLDWIDE SERVICES INC
           or lease is for and the    OF WORK NO. 2                            ATTN: JEFFREY E SHAPIRO
           nature of the debtors     AMENDS DWS AGREEMENT NO.                 500 SOUTH BUENA VISTA STREET
           interest                   CAX-15-MB-104 DTD 7/1/2015               BURBANK, CA 91521

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.136     State what the contract    SECOND AMENDMENT                         DISNEY WORLDWIDE SERVICES INC
           or lease is for and the    AMENDS DWS AGREEMENT NO.                 ATTN: JEFFREY E SHAPIRO
           nature of the debtors     CAX-15-MB-104 DTD 7/1/2015               500 SOUTH BUENA VISTA STREET
           interest                                                            BURBANK, CA 91521

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.137     State what the contract    THIRD AMENDMENT                          DISNEY WORLDWIDE SERVICES INC
           or lease is for and the    AMENDS DWS AGREEMENT NO.                 ATTN: JEFFREY E SHAPIRO
           nature of the debtors     CAX-15-MB-104 DTD 7/1/2015               500 SOUTH BUENA VISTA STREET
           interest                                                            BURBANK, CA 91521

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.138     State what the contract    AGREEMENT FOR PROFESSIONAL               DISNEY WORLDWIDE SERVICES, INC.
           or lease is for and the    SERVICES                                 ATTN: STEPHANY SILVERS
           nature of the debtors     DWS AGREEMENT NO. CAX-15-MB-104          500 SOUTH BUENA VISTA STREET
           interest                                                            BURBANK, CA 91521

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.139     State what the contract    FOURTH AMENDMENT                         DISNEY WORLDWIDE SERVICES, INC.
           or lease is for and the    AMENDS AGREEMENT FOR                     ATTN: STEPHANY SILVERS
           nature of the debtors     PROFESSIONAL SERVICES DTD                500 SOUTH BUENA VISTA STREET
           interest                   7/1/2015, AS AMENDED.                    BURBANK, CA 91521

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.140     State what the contract    MASTER SERVICES AGREEMENT                DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.141     State what the contract    EXHIBIT A - SCHEDULE NO. 2               DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: JANICE M ROGERS, VP HUMAN RESOURCES
           nature of the debtors     DTD 1/21/2015                            121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.142     State what the contract    EXHIBIT A - SCHEDULE OF WORK             DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SEREVICES AGREEMENT           ATTN: JANICE M ROGERS, VP HUMAN RESOURCES
           nature of the debtors     GENERAL TERMS & CONDITIONS DTD           121 FREE ST.
           interest                   12/15/2014                               PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.143     State what the contract    EXHIBIT A - SCHEDULE OF WORK DTD         DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES GENERAL              ATTN: JANICE M ROGERS, VP HUMAN RESOURCES
           nature of the debtors     TERMS & CONDITIONS DTD 12/15/2014        121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.144     State what the contract    SUBCONTRACTOR BUSINESS                   DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    ASSOCIATE AGREEMENT                      ATTN: JANICE M ROGERS, VP HUMAN RESOURCES
           nature of the debtors                                              121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.145     State what the contract    SUBCONTRACTOR BUSINESS                   DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    ASSOCIATE AGREEMENT                      ATTN: JANICE M ROGERS, VP HUMAN RESOURCES
           nature of the debtors                                              121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.146     State what the contract    SUBCONTRACTOR BUSINESS                   DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    ASSOCIATE AGREEMENT                      ATTN: JANICE M ROGERS, VP HUMAN RESOURCES
           nature of the debtors                                              121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.147     State what the contract    SERVICES CHANGE AUTHORIZATION            DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: LISA MCCANN
           nature of the debtors     DTD 2/24/2015                            121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.148     State what the contract    SERVICES CHANGE AUTHORIZATION            DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: LISA MCCANN
           nature of the debtors     DTD 2/24/2015                            121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                    (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.149     State what the contract    SERVICES CHANGE AUTHORIZATION            DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: LISA MCCANN
           nature of the debtors     DTD 2/24/2015                            121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.150     State what the contract    SERVICES CHANGE AUTHORIZATION            DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: LISA MCCANN
           nature of the debtors     DTD 2/24/2015                            121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.151     State what the contract    SERVICES CHANGE AUTHORIZATION            DIVERSIFIED BUSINESS COMMUNICATIONS
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: LISA MCCANN
           nature of the debtors     DTD 2/24/2015                            121 FREE ST.
           interest                                                            PORTLAND, ME 04101

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.152     State what the contract    MASTER SERVICES AGREEMENT                DOYLESTOWN HEALTH
           or lease is for and the                                             595 WEST STATE STREET
           nature of the debtors                                              595 WEST STATE STREET
           interest                                                            DOYLESTOWN, PA 18901

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.153     State what the contract    MASTER SERVICE AGREEMENT EXHIBIT DOYLESTOWN HEALTH
           or lease is for and the    A                                ATTN: LEGAL DEPARTMENT
           nature of the debtors                                      595 WEST STATE STREET
           interest                                                    DOYLESTOWN, PA 18901

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.154     State what the contract    SERVICES CHANGE AUTHORIZATION            DOYLESTOWN HEALTH
           or lease is for and the                                             ATTN: TEDDI MAE MILLER
           nature of the debtors                                              595 WEST STATE STREET
           interest                                                            DOYLESTOWN, PA 18901

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                    (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.155     State what the contract    BUSINESS ASSOCIATE AGREEMENT             DOYLESTOWN HOSPITAL
           or lease is for and the                                             ATTN: DIR OF RISK SERVICES
           nature of the debtors                                              595 W STATE ST
           interest                                                            DOYLESTOWN, PA 18901

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.156     State what the contract    EXHIBIT A - SHEDULE 002                  DROPBOX INC
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: ARDEN HOFFMAN, VP
           nature of the debtors     DTD 8/30/2016                            333 BRANNAN ST
           interest                                                            SAN FRANCISCO, CA 94107

           State the term remaining   9/1/2018

           List the contract number
           of any government
           contract

 2.157     State what the contract    MASTER SERVICES AGREEMENT                DROPBOX INC
           or lease is for and the                                             ATTN: ARDEN HOFFMAN, VP
           nature of the debtors                                              333 BRANNAN ST
           interest                                                            SAN FRANCISCO, CA 94107

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.158     State what the contract    SERVICE CHANGE AUTHORIZATION             DUQUESNE LIGHT COMPANY
           or lease is for and the                                             ATTN: GARY HOWELL, HW BENEFITS ADMIN
           nature of the debtors                                              411 SEVENTH AVENUE
           interest                                                            MD 16-1
                                                                               PITTSBURGH, PA 15219
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.159     State what the contract    LETTER OF INTENT                         DUQUESNE LIGHT HOLDINGS, INC.
           or lease is for and the                                             ATTN: GARY HOWELL, HW BENEFITS ADMIN
           nature of the debtors                                              411 SEVENTH AVENUE
           interest                                                            MD 16-1
                                                                               PITTSBURGH, PA 15219
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.160     State what the contract    SERVICE CHANGE AUTHORIZATION             DUQUESNE LIGHT HOLDINGS, INC.
           or lease is for and the                                             ATTN: GARY HOWELL, HW BENEFITS ADMIN
           nature of the debtors                                              411 SEVENTH AVENUE
           interest                                                            MD 16-1
                                                                               PITTSBURGH, PA 15219
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.161     State what the contract    SERVICE CHANGE AUTHORIZATION             DUQUESNE LIGHT HOLDINGS, INC.
           or lease is for and the                                             ATTN: GARY HOWELL, HW BENEFITS ADMIN
           nature of the debtors                                              411 SEVENTH AVENUE
           interest                                                            MD 16-1
                                                                               PITTSBURGH, PA 15219
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.162     State what the contract    SERVICE CHANGE AUTHORIZATION             DUQUESNE LIGHT HOLDINGS, INC.
           or lease is for and the                                             ATTN: GARY HOWELL, HW BENEFITS ADMIN
           nature of the debtors                                              411 SEVENTH AVENUE
           interest                                                            MD 16-1
                                                                               PITTSBURGH, PA 15219
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.163     State what the contract    MASTER SERVICES AGREEMENT                DUQUESNE LIGHT HOLDINGS, INC.
           or lease is for and the                                             ATTN: LEGAL
           nature of the debtors                                              411 SEVENTH AVENUE
           interest                                                            MD 16-1
                                                                               PITTSBURGH, PA 15219
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.164     State what the contract    2012-2013 SERVICES: ADDENDUM TO          E TRADE FINANCIAL CORPORATION
           or lease is for and the    2011 MSA- SHEDULE OF WORK                34 EXCHANGE PLACE
           nature of the debtors     RE: MASTER SERVICE AGREEMENT             HARBORSIDE FINANCIAL CENTER, 4TH FL
           interest                   DTD 12/20/2012                           JERSEY CITY, NJ 07331

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.165     State what the contract    BUSINESS ASSOCIATE AGREEMENT             E TRADE FINANCIAL CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              671 N GLEBE RD
           interest                                                            ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.166     State what the contract    FIRST AMENDMENT TO MASTER                E TRADE FINANCIAL CORPORATION
           or lease is for and the    SERVICES AGREEMENT                       ATTN: GENERAL COUNSEL
           nature of the debtors     AMENDS MASTER SERVICE                    671 N GLEBE RD
           interest                   AGREEMENT DTD 1/13/2013                  ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.167     State what the contract    MASTER SERVICES AGREEMENT                E TRADE FINANCIAL CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              671 N GLEBE RD
           interest                                                            ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.168     State what the contract    MASTER SERVICES AGREEMENT                E TRADE FINANCIAL CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              671 N GLEBE RD
           interest                                                            ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.169     State what the contract    SERVICES CHANGE AUTHORIZATION            E TRADE FINANCIAL CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              671 N GLEBE RD
           interest                                                            ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.170     State what the contract    AMENDMENT TO LEASE AGREEMENT             ELV-1 ASSOCIATES, LLC
           or lease is for and the    DTD 5/1/13                               4220 SOUTH MARYLAND PARKWAY
           nature of the debtors                                              LAS VEGAS, NV 89119
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.171     State what the contract    BUSINESS ASSOCIATE AGREEMENT             EMMC CUTLER HEALTH CENTER
           or lease is for and the                                             UNIVERSITY OF MAINE
           nature of the debtors                                              80 LONG ROAD
           interest                                                            ORONO, ME 04469-5721

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.172     State what the contract                                             EMORY UNIVERSITY
           or lease is for and the                                             ATTN: MICHAEL STAUFACKER
           nature of the debtors                                              1599 CLIFTON ROAD NE
           interest                                                            5TH FLOOR, OFFICE 5.411
                                                                               ATLANTA, GA 30322
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.173     State what the contract    MASTER SERVICES AGREEMENT                EMSER TILE, LLC
           or lease is for and the                                             ATTN: LEGAL DEPARTMENT
           nature of the debtors                                              8431 SANTA MONICA BOULEVARD
           interest                                                            LOS ANGELES, CA 90069

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.174     State what the contract    FIRST AMENDMENT TO MASTER                ERNST & YOUNG US LLP
           or lease is for and the    SERVICES AGREEMENT                       ATTN: AMERICAS PRODUCTS AND SERVICES,
           nature of the debtors     AMENDS MASTER SERVICE                    LEADER-PROCUREMENT
           interest                   AGREEMENT DTD 9/1/2017                   200 PLAZA DRIVE
                                                                               SECAUCUS, NJ 07094
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.175     State what the contract    SERVICES AGREEMENT                       ERNST & YOUNG US LLP
           or lease is for and the                                             ATTN: AMERICAS PRODUCTS AND SERVICES,
           nature of the debtors                                              LEADER-PROCUREMENT
           interest                                                            200 PLAZA DRIVE
                                                                               SECAUCUS, NJ 07094
           State the term remaining   8/31/2019

           List the contract number
           of any government
           contract

 2.176     State what the contract    FIRST AMENDMENT TO MASTER                ETRADE FINANCIAL CORPORATION
           or lease is for and the    SERVICES AGREEMENT DTD 9/30/2011         ATTN: GENERAL COUNSEL
           nature of the debtors                                              671 N. GLEBE RD.
           interest                                                            ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.177     State what the contract    MASTER SERVICES AGREEMENT                ETRADE FINANCIAL CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              671 N. GLEBE RD.
           interest                                                            ARLINGTON, VA 22203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.178     State what the contract    EXHIBIT B - SCHEDULE OF WORK             FACTORY MUTUAL INSURANCE COMPANY
           or lease is for and the    RE: MSA DTD 9/5/2014                     ATTN: GLENN E KING, VP
           nature of the debtors                                              270 CENTRAL AVE
           interest                                                            JOHNSTON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.179     State what the contract    EXHIBIT C - SCHEDULE OF WORK             FACTORY MUTUAL INSURANCE COMPANY
           or lease is for and the    RE: MSA DTD 9/5/2014                     ATTN: GLENN E KING, VP
           nature of the debtors                                              270 CENTRAL AVE
           interest                                                            JOHNSTON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.180     State what the contract    EXHIBIT C - SCHEDULE OF WORK             FACTORY MUTUAL INSURANCE COMPANY
           or lease is for and the    RE: MSA DTD 9/5/2014                     ATTN: GLENN E KING, VP
           nature of the debtors                                              270 CENTRAL AVE
           interest                                                            JOHNSTON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.181     State what the contract    MASTER SERVICES AGREEMENT                FACTORY MUTUAL INSURANCE COMPANY
           or lease is for and the                                             ATTN: GLENN E KING, VP
           nature of the debtors                                              270 CENTRAL AVE
           interest                                                            JOHNSTON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.182     State what the contract    INCENTIVE COMPENSATION PLAN              FAGAN, JILLIAN
           or lease is for and the                                             ADDRESS REDACTED
           nature of the debtors
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.183     State what the contract    MASTER SERVICES AGREEMENT                FAXLOGIC LLC
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              15950 DALLAS PARKWAY, STE 400
           interest                                                            DALLAS, TX 75248

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.184     State what the contract    SERVICES CHANGE AUTHORIZATION            FCA LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.185     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHRYSLER AUTOMOBILES
           or lease is for and the    RE; MASTER SERVICE AGREEMENT             1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.186     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHRYSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.187     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHRYSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.188     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHRYSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.189     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHRYSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.190     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHRYSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.191     State what the contract    SERVICES CHANGE AUTHORIZATION            FIAT CHYRSLER GROUP LLC
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             1000 CHRYSLER DR
           nature of the debtors     DTD 8/11/2014                            AUBURN HILLS, MI 48326
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.192     State what the contract    MASTER SERVICES AGREEMENT DTD            FIRST OBJECT INC
           or lease is for and the    2/17/2015                                ATTN: PRESIDENT
           nature of the debtors                                              1320 GREENWAY DR
           interest                                                            STE 855
                                                                               IRVING, TX 75038
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.193     State what the contract    CONFIDENTIALITY AGREEMENT                FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: MAIRE FIELD, SUPPLY CHAIN SPECIALIST
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.194     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: STACEY SILVIS, MGR EMP, COMP & BENEFITS
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.195     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: STACEY SILVIS, MGR EMP, COMP & BENEFITS
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.196     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: STACEY SILVIS, MGR EMP, COMP & BENEFITS
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.197     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: TAMMY SACCHINI
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.198     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: TINA SPEICHER, MGR BENEFITS
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.199     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: TINA SPEICHER, MGR BENEFITS
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.200     State what the contract    SERVICES CHANGE AUTHORIZATION            FIRSTENERGY CORP.
           or lease is for and the                                             ATTN: TINE SPEICHER, MGR BENEFITS
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.201     State what the contract    EXHIBIT A - SCHEDULE OF WORK             FIRSTENERGY SERVICE COMPANY
           or lease is for and the                                             ATTN: MAIRE FIELD, SUPPLY CHAIN SPEC IV
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.202     State what the contract    PURCHASE ORDER                           FIRSTENERGY SERVICE COMPANY
           or lease is for and the    PO NUMBER 55112878                       ATTN: MAIRE FIELD, SUPPLY CHAIN SPEC IV
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.203     State what the contract    PURCHASE ORDER                           FIRSTENERGY SERVICE COMPANY
           or lease is for and the    PO NUMBER 55121620                       ATTN: MAIRE FIELD, SUPPLY CHAIN SPEC IV
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   12/31/2020

           List the contract number
           of any government
           contract

 2.204     State what the contract    PURCHASE ORDER                           FIRSTENERGY SERVICE COMPANY
           or lease is for and the    PO NUMBER 55112878                       ATTN: MAIRE FIELD, SUPPLY CHAIN SPEC IV
           nature of the debtors                                              76 SOUTH MAIN STREET
           interest                                                            AKRON, OH 44308-1890

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.205     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.206     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.207     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.208     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.209     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.210     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.211     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.212     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the    RE: MSA DTD 9/9/2015                     ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.213     State what the contract    SERVICES CHANGE AUTHORIZATION            FM GLOBAL
           or lease is for and the                                             ATTN: CAROLE WILLIAMSON
           nature of the debtors                                              270 CENTRAL AVENUE
           interest                                                            JOHNSON, RI 02919

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.214     State what the contract    MASTER SERVICES AGREEMENT                FORTIVE CORPORATION, THE
           or lease is for and the                                             ATTN: TRAVIS ELLIOT, BENEFITS ANALYST
           nature of the debtors                                              6920 SEAWAY BLVD
           interest                                                            EVERETT, WA 98203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                    (if known)        Main Document
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           (Name)                                           Pg 88 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.215     State what the contract    SERVICES CHANGE AUTHORIZATION            FORTIVE CORPORATION, THE
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: TRAVIS ELLIOT, BENEFITS ANALYST
           nature of the debtors     DTD 8/10/2016                            6920 SEAWAY BLVD
           interest                                                            EVERETT, WA 98203

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.216     State what the contract    HOSTING AGREEMENT                        FPWEB.NET LC
           or lease is for and the    QUOTE NO 060716SL1                       ATTN: ROBERT E LAMEAR IV, CEO
           nature of the debtors                                              1714 GILSINN LN
           interest                                                            ST LOUIS, MO 63026

           State the term remaining   6/7/2019

           List the contract number
           of any government
           contract

 2.217     State what the contract    MASTER SERVICES AGREEMEENT               GAP INC, THE
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.218     State what the contract    HIPAA BUSINESS ASSOCIATE                 GAP INC, THE
           or lease is for and the    AGREEMENT                                ATTN: PRIVACY OFFICER
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.219     State what the contract    SERVICES CHANGE AUTHORIZATION            GAP INC, THE
           or lease is for and the    RE: MSA DTD 9/19/2017                    ATTN: STEPHANIE MASQUELIER
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.220     State what the contract    HIPPA BUSINESS ASSOCIATE                 GENERAL DYNAMICS CORPORATION
           or lease is for and the    AGREEMENT                                ATTN: HENRY C EICKELBERG, VP HUMAN CAPITAL
           nature of the debtors                                              PROCESSES
           interest                                                            2941 FAIRVIEW PARK DRIVE
                                                                               STE 100
           State the term remaining   CURRENT                                  FALLS CHURCH, VA 22042-4513
           List the contract number
           of any government
           contract




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           (Name)                                           Pg 89 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.221     State what the contract    PERSONAL DATA SECURITY                   GENERAL DYNAMICS CORPORATION
           or lease is for and the    AGREEMENT                                ATTN: HENRY EICKELBERG, VP HUMAN RESOURCES
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.222     State what the contract    SERVICES CHANGE AUTHORIZATION            GENERAL DYNAMICS CORPORATION
           or lease is for and the    RE: MSA DTD 3/4/2013 & UPDATED SOW       ATTN: ROBERT RESTIVO
           nature of the debtors     DTD 4/1/2014                             2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.223     State what the contract    SERVICES CHANGE AUTHORIZATION            GENERAL DYNAMICS CORPORATION
           or lease is for and the    RE: MSA DTD 4/14/2014                    ATTN: ROBERT RESTIVO
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.224     State what the contract    SERVICES CHANGE AUTHORIZATION            GENERAL DYNAMICS CORPORATION
           or lease is for and the    RE: MSA DTD 4/1/2014                     ATTN: ROBERT RESTIVO
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.225     State what the contract    HIPPA BUSINESS ASSOCIATE                 GENERAL DYNAMICS CORPORATION
           or lease is for and the    AGREEMENT                                ATTN: SANDRA AUTREY, BENEFITS MANAGER
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.226     State what the contract    CONTRACT MODIFICATION                    GENERAL DYNAMICS CORPORATION
           or lease is for and the    AUTHORIZATION                            ATTN: SANDRA AUTREY, MANAGER BENEFITS
           nature of the debtors     RE: MSA DTD 3/4/2013                     2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.227     State what the contract    EXHIBIT A - SCHEDULE OF WORK             GENERAL DYNAMICS CORPORATION
           or lease is for and the    RE: MSA DTD 3/4/2013                     ATTN: SANDRA AUTREY, MANAGER BENEFITS
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.228     State what the contract    EXHIBIT B - SCHEDULE OF WORK             GENERAL DYNAMICS CORPORATION
           or lease is for and the    RE: MSA DTD 4/1/2014                     ATTN: SANDRA AUTREY, MANAGER BENEFITS
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.229     State what the contract    SERVICES CHANGE AUTHORIZATION            GENERAL DYNAMICS CORPORATION
           or lease is for and the    RE: MSA DTD 3/4/2013                     ATTN: SANDRA AUTREY, MANAGER BENEFITS
           nature of the debtors                                              2941 FAIRVIEW PARK DRIVE
           interest                                                            STE 100
                                                                               FALLS CHURCH, VA 22042-4513
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.230     State what the contract    MASTER SERVICES AGREEMENT                GENERAL DYNAMICS CORPORATION
           or lease is for and the                                             C/O GULFSTREAM AEROSPACE CORPORATION
           nature of the debtors                                              ATTN: LEGAL
           interest                                                            500 GULFSTREAM ROAD
                                                                               SAVANNAH, GA 31407
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.231     State what the contract    SERVICES CHANGE AUTHORIZATION            GENERAL DYNAMICS-AMERICAN OVERSEAS MARINE CO LLC
           or lease is for and the    RE: MSA DTD 3/4/2013 & SOW DTD           UNIT OF GENERAL DYNAMICS CORPORATION
           nature of the debtors     2/23/2017                                ATTN: CHRIS NETTE
           interest                                                            500 GULFSTREAM ROAD
                                                                               SAVANNAH, GA 31407
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.232     State what the contract    SERVICES CHANGE AUTHORIZATION            GENERAL DYNAMICS-SHARED RESOURCES
           or lease is for and the    RE: MSA DTD 3/4/2013 & SOW DTD           UNIT OF GENERAL DYNAMICS CORPORATION
           nature of the debtors     2/23/2017                                ATTN: BETH LAZEN
           interest                                                            500 GULFSTREAM ROAD
                                                                               SAVANNAH, GA 31407
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.233     State what the contract    MASTER SERVICES AGREEMENT                GENESIS ALKALI
           or lease is for and the                                             ATTN: LISA WOLF
           nature of the debtors                                              3301 NW 150TH STREET
           interest                                                            OKLAHOME CITY, OK 73134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.234     State what the contract    INCENTIVE COMPENSATION PLAN              GORFIN, MICHAEL
           or lease is for and the                                             ADDRESS REDACTED
           nature of the debtors
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.235     State what the contract    COMMERICIAL LEASE AGREEMENT              GREENWICH MILLS, LLC
           or lease is for and the                                             C/O ALAN BLAZAR
           nature of the debtors                                              75 PHEASANT DR
           interest                                                            EAST GREENWICH, RI 02818

           State the term remaining   1/1/2019

           List the contract number
           of any government
           contract

 2.236     State what the contract    COMMERICIAL LEASE AGREEMENT              GREENWICH MILLS, LLC
           or lease is for and the                                             C/O JOSHUA TEVEROW, ESQ
           nature of the debtors                                              55 PINE ST
           interest                                                            PROVIDENCE, RI 02903

           State the term remaining   1/1/2019

           List the contract number
           of any government
           contract

 2.237     State what the contract    COMMERCIAL LEASE AGREEMENT               GREENWICH MILLS, LLC
           or lease is for and the                                             PO BOX 1954
           nature of the debtors                                              EAST GREENWICH, RI 02818
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.238     State what the contract    FIRST AMENDMENT TO OFFICIAL LEASE GREENWICH MILLS, LLC
           or lease is for and the    AGREEMENT                         PO BOX 1954
           nature of the debtors     AMENDS LEASE AGREEMENT DTD        EAST GREENWICH, RI 02818
           interest                   4/2/2013

           State the term remaining   3/31/2019

           List the contract number
           of any government
           contract




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           (Name)                                           Pg 92 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.239     State what the contract    FIRST AMENDMENT TO OFFICIAL LEASE GREENWICH MILLS, LLC
           or lease is for and the    AGREEMENT                         PO BOX 1954
           nature of the debtors     AMENDS LEASE AGREEMENT DTD        EAST GREENWICH, RI 02818
           interest                   9/9/2013

           State the term remaining   3/31/2019

           List the contract number
           of any government
           contract

 2.240     State what the contract    SECOND AMENDMENT TO OFFICIAL             GREENWICH MILLS, LLC
           or lease is for and the    LEASE AGREEMENT                          PO BOX 1954
           nature of the debtors     AMENDS LEASE AGREEMENT DTD               EAST GREENWICH, RI 02818
           interest                   9/9/2013

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.241     State what the contract    EXHIBIT A - SCHEDULE OF WORK             GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER AGREEMENT GENERAL             ATTN: GENERAL COUNSEL
           nature of the debtors     TERMS & CONDITIONS DTD 3/4/2013          500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.242     State what the contract    PURCHASE ORDER                           GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER AGREEMENT DTD                 ATTN: GENERAL COUNSEL
           nature of the debtors     4/22/2013; PO: PM2933000                 500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.243     State what the contract    SERVICE CHANGE AUTHORIZATION             GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: GWENDOLYN MCCLOUD
           nature of the debtors     DTD 4/22/2013                            500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.244     State what the contract    SERVICES CHANGE AUTHORIZATION            GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: GWENDOLYN MCCLOUD
           nature of the debtors     DTD 4/22/2013                            500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.245     State what the contract    SERVICES CHANGE AUTHORIZATION            GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: GWENDOLYN MCCLOUD
           nature of the debtors     DTD 4/22/2013                            500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.246     State what the contract    SERVICES CHANGE AUTHORIZATION            GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: GWENDOLYN MCCLOUD
           nature of the debtors     DTD 4/22/2013                            500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.247     State what the contract    SERVICES CHANGE AUTHORIZATION            GULFSTREAM AEROSPACE CORP.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: JACKIE SMITH
           nature of the debtors     DTD 4/22/2013                            500 GULFSTREAM RD
           interest                                                            SAVANNAH, GA 31408

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.248     State what the contract    MASTER SERVICES AGREEMENT                HALLMARK CARDS INC
           or lease is for and the                                             ATTN: COLLEEN MEURER
           nature of the debtors                                              2501 MCGEE TRAFFICWAY, MD 510
           interest                                                            KANSAS CITY, MO 64108

           State the term remaining   12/31/2019

           List the contract number
           of any government
           contract

 2.249     State what the contract    MASTER SERVICES AGREEMENT                HALLMARK CARDS INC
           or lease is for and the                                             ATTN: COLLEEN MEURER
           nature of the debtors                                              2501 MCGEE TRAFFICWAY, MD 510
           interest                                                            KANSAS CITY, MO 64108

           State the term remaining   12/31/2019

           List the contract number
           of any government
           contract

 2.250     State what the contract    MUTUAL CONFIDENTIAL                      HALLMARK CARDS INC
           or lease is for and the    NON-DISCLOSURE AGREEMENT                 ATTN: COLLEEN MEURER
           nature of the debtors                                              2501 MCGEE TRAFFICWAY, MD 510
           interest                                                            KANSAS CITY, MO 64108

           State the term remaining   3/16/2019

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.251     State what the contract    SERVICES CHANGE AUTHORIZATION            HALLMARK CARDS INC
           or lease is for and the    RE: MSA DTD 10/12/2017                   ATTN: SALLY LUCK
           nature of the debtors                                              2501 MCGEE TRAFFICWAY, MD 339
           interest                                                            KANSAS CITY, MO 64108

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.252     State what the contract    MASTER SERVICES AGREEMENT                HASBRO, INC.
           or lease is for and the                                             1027 NEWPORT AVE
           nature of the debtors                                              PAWTUCKET, RI 02861
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.253     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 8/1/2013                     ATTN: CECILIA DE CASTRO
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.254     State what the contract    FIRST AMENDMENT TO MASTER                HASBRO, INC.
           or lease is for and the    SERVICES AGREEMENT                       ATTN: DIANNE SILVA
           nature of the debtors     AMENDS MASTER SERVICES                   200 NARRAGANSETT PARK DRIVE
           interest                   AGREEMENT DTD 8/1/2013                   EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.255     State what the contract    MASTER SERVICES AGREEMENT                HASBRO, INC.
           or lease is for and the                                             ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.256     State what the contract    SECOND AMENDMENT TO MASTER               HASBRO, INC.
           or lease is for and the    SERVICES AGREEMENT                       ATTN: DIANNE SILVA
           nature of the debtors     AMENDS MASTER SERVICES                   200 NARRAGANSETT PARK DRIVE
           interest                   AGREEMENT DTD 8/1/2013                   EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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          Provant Health Solutions, LLC       Filed 09/21/18 Entered 09/21/18
                                                                        Case number 13:35:51
                                                                                    (if known)        Main Document
                                                                                               18-23309
           (Name)                                           Pg 95 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.257     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 8/1/2013                     ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.258     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.259     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.260     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.261     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.262     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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 Debtor   18-23309-rdd               Doc 7
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                                                                                    (if known)        Main Document
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           (Name)                                           Pg 96 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.263     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.264     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.265     State what the contract    SERVICES CHANGE AUTHORIZATION            HASBRO, INC.
           or lease is for and the    RE: MSA DTD 10/9/2013                    ATTN: DIANNE SILVA
           nature of the debtors                                              200 NARRAGANSETT PARK DRIVE
           interest                                                            EAST PROVIDENCE, RI 02916

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.266     State what the contract    WELLNESS CAMPAIGN SERVICES -             HEALTH ENHANCEMENT SYSTEMS INC
           or lease is for and the    RESELLER AGREEMENT                       ATTN: AMIE BARRETT
           nature of the debtors                                              800 CAMBRIDGE
           interest                                                            MIDLAND, MI 48642

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.267     State what the contract    MASTER PRODUCT LICENSE AND               HEALTHWISE, INC.
           or lease is for and the    SERVICES AGREEMENT                       ATTN: DIRECTOR OF CLIENT SERVICES
           nature of the debtors                                              2601 NORTH BOGUS BASIN ROAD
           interest                                                            BOISE, ID 83702

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.268     State what the contract    THIRD PARTY INVOFMATION SHARING          HEALTHYROADS INC
           or lease is for and the    AGREEMENT                                ATTN: PRIVACY OFFICER
           nature of the debtors     CONTRACT NO 001972-000                   10221 WATERIDGE CIRCLE
           interest                                                            SAN DIEGO, CA 92121

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                        Case number 13:35:51
                                                                                    (if known)        Main Document
                                                                                               18-23309
           (Name)                                           Pg 97 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.269     State what the contract    MUTUAL NON-DISCLOSURE                    HEWITT ASSOCIATES LLC
           or lease is for and the    AGREEMENT                                ATTN: GENERAL COUNSEL
           nature of the debtors                                              4 OVERLOOK POINT
           interest                                                            LINCOLNSHIRE, IL 60069

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.270     State what the contract    MASTER SERVICES AGREEMENT                HILCORP ENERGY COMPANY
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              1201 LOUISIANA ST
           interest                                                            STE 1400
                                                                               HOUSTON, TX 77002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.271     State what the contract    SERVICES CHANGE AUTHORIZATION            HILCORP ENERGY COMPANY
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: KAREN MCKEE, DIR COMPENSATION & BENEFITS
           nature of the debtors     DTD 5/12/2015                            1201 LOUISIANA ST
           interest                                                            STE 1400
                                                                               HOUSTON, TX 77002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.272     State what the contract    SERVICES CHANGE AUTHORIZATION            HILCORP ENERGY COMPANY
           or lease is for and the    RE; MSA DTD 5/12/2015                    ATTN: LISA HAINES
           nature of the debtors                                              1201 LOUISIANA ST
           interest                                                            STE 1400
                                                                               HOUSTON, TX 77002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.273     State what the contract    EXHIBIT A - SCHEDULE                     HILCORP ENERGY COMPANY
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: MICHAEL BREZINA, SVP HR
           nature of the debtors     DTD 4/1/2015                             1201 LOUISIANA ST
           interest                                                            STE 1400
                                                                               HOUSTON, TX 77002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.274     State what the contract    EXHIBIT A - SCHEDULE OF WORK DTD         HUB INTERNATIONAL LIMITED
           or lease is for and the    5/20/2016                                ATTN: DEBORAH DETERS, CHIEF HR OFFICER
           nature of the debtors     RE: MASTER AGREEMENT GENERAL             300 N LASALLE ST
           interest                   TERMS & CONDITIONS DTD 6/25/2013         CHICAGO, IL 60654

           State the term remaining   6/30/2019

           List the contract number
           of any government
           contract




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                                                                                    (if known)        Main Document
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           (Name)                                           Pg 98 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.275     State what the contract    MASTER SERVICES AGREEMENT                HUB INTERNATIONAL LIMITED
           or lease is for and the                                             ATTN: HR DEPT
           nature of the debtors                                              300 N LASALLE ST
           interest                                                            CHICAGO, IL 60654

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.276     State what the contract    SERVICES CHANGE AUTHORIZATION            HUB INTERNATIONAL LIMITED
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: KRISTIN SANDERS
           nature of the debtors     DTD 2013                                 300 N LASALLE ST
           interest                                                            CHICAGO, IL 60654

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.277     State what the contract    EMPLOYER CONFIDENTIALITY AND             HUB INTERNATIONAL LIMITED
           or lease is for and the    DATA USE AGREEMENT                       ATTN: LEGAL DEPT
           nature of the debtors                                              300 N LASALLE STREET, 17TH FLOOR
           interest                                                            CHICAGO, IL 60654

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.278     State what the contract    SERVICES CHANGES AUTHORIZATION           HUB INTERNATIONAL LIMITED
           or lease is for and the    RE: MASTER SERIVICES AGREEMENT           ATTN: OLGA REUPERT, VP BENEFITS & COMPENSATION
           nature of the debtors     DTD 6/25/2013                            300 N LASALLE ST
           interest                                                            CHICAGO, IL 60654

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.279     State what the contract    ZIPONGO SERVICE ORDER                    HUB INTERNATIONAL LIMITED
           or lease is for and the                                             ATTN: OLGA REUPERT, VP BENEFITS & COMPENSATION
           nature of the debtors                                              300 N LASALLE ST
           interest                                                            CHICAGO, IL 60654

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.280     State what the contract    SERVICES CHANGE AUTHORIZATION            HUDSON RIVER HEALTHCARE, INC.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: KATERINE BRIEGER, CCE, RD
           nature of the debtors     DTD 1/26/2017                            1037 MAIN ST
           interest                                                            PEEKSKILL, NY 10566

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                    (if known)        Main Document
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           (Name)                                           Pg 99 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.281     State what the contract    MASTER SERVICES AGREEMENT                HUDSON RIVER HEALTHCARE, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              1037 MAIN ST
           interest                                                            PEEKSKILL, NY 10566

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.282     State what the contract    MASTER SERVICES AGREEMENT                INFOMEDIA GROUP INC
           or lease is for and the                                             11845 FRONTAGE RD
           nature of the debtors                                              SAN ANTONIO, TX 78230
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.283     State what the contract    PREPAY ADDENDUM TO MSA                   INFOMEDIA GROUP INC
           or lease is for and the    RE: MASTER SERVICE AGREEMENT NO          11845 FRONTAGE RD
           nature of the debtors     C-13-M27252013 DTD 1/1/2014              SAN ANTONIO, TX 78230
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.284     State what the contract    INCENTIVE COMPENSATION PLAN              IRBY, DAWN
           or lease is for and the                                             1085 MURRIETA BLVD 224
           nature of the debtors                                              LIVERMORE, CA 94550
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.285     State what the contract    MASTER SERVICES AGREEMENT                JEWISH FEDERATION OF METROPOLITAN CHICAGO
           or lease is for and the                                             ATTN: LOUIS A LAZOVSKY
           nature of the debtors                                              30 S WELLS, STE 5100
           interest                                                            CHICAGO, IL 60606

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.286     State what the contract    MUTUAL NONDISCLOSURE                     JIFF INC.
           or lease is for and the    AGREEMENT                                644 EMERSON ST, STE 210
           nature of the debtors                                              PALO ALTO, CA 94301
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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 Debtor   18-23309-rdd               Doc 7
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                                                                                   (if known)        Main Document
                                                                                              18-23309
           (Name)                                          Pg 100 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.287     State what the contract    JIFF'S CUSTOMER IMPLEMENTATION           JIFF INC.
           or lease is for and the    FORM                                     ATTN: GENERAL COUNSEL'S OFFICE
           nature of the debtors     RE: RESELLER AGREEMENT DTD               215 CASTRO STREET, 2ND FL
           interest                   1/1/2017                                 MOUNTAIN VIEW, CA 94041

           State the term remaining   6/5/2020

           List the contract number
           of any government
           contract

 2.288     State what the contract    JIFF'S CUSTOMER IMPLEMENTATION           JIFF INC.
           or lease is for and the    FORM                                     ATTN: GENERAL COUNSEL'S OFFICE
           nature of the debtors     RE: RESELLER AGREEMENT DTD               215 CASTRO STREET, 2ND FL
           interest                   1/1/2017                                 MOUNTAIN VIEW, CA 94041

           State the term remaining   12/31/2018

           List the contract number
           of any government
           contract

 2.289     State what the contract    MUTUAL CONFIDENTIALITY AND DATA          JIFF INC.
           or lease is for and the    SHARING AGREEMENT                        ATTN: GENERAL COUNSEL'S OFFICE
           nature of the debtors                                              215 CASTRO STREET, 2ND FL
           interest                                                            MOUNTAIN VIEW, CA 94041

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.290     State what the contract    PLATFORM SERVICE PROVIDER                JIFF INC.
           or lease is for and the    REFERRAL, LICENSING &                    ATTN: GENERAL COUNSEL'S OFFICE
           nature of the debtors     DISTRIBUTION AGREEMENT                   215 CASTRO STREET, 2ND FL
           interest                                                            MOUNTAIN VIEW, CA 94041

           State the term remaining   1/1/2020

           List the contract number
           of any government
           contract

 2.291     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINA FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.292     State what the contract    MASTER SERVICES AGREEMENT                JPMORGAN CHASE & CO.
           or lease is for and the                                             ATTN: CHRISTINE FOSSACECA
           nature of the debtors                                              MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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 Debtor   18-23309-rdd               Doc 7
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                                                                       Case number 13:35:51
                                                                                   (if known)        Main Document
                                                                                              18-23309
           (Name)                                          Pg 101 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.293     State what the contract    MASTER SERVICES AGREEMENT                JPMORGAN CHASE & CO.
           or lease is for and the                                             ATTN: CHRISTINE FOSSACECA
           nature of the debtors                                              MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.294     State what the contract    MASTER SERVICES AGREEMENT                JPMORGAN CHASE & CO.
           or lease is for and the                                             ATTN: CHRISTINE FOSSACECA
           nature of the debtors                                              MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.295     State what the contract    MASTER SERVICES AGREEMENT                JPMORGAN CHASE & CO.
           or lease is for and the                                             ATTN: CHRISTINE FOSSACECA
           nature of the debtors                                              MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.296     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 1/1/2016                             MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.297     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.298     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 102 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.299     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE MASTER SERVICES AGREEMENT             ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.300     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.301     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.302     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/2013                           MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.303     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 2015                                 MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.304     State what the contract    SERVICES CHANGE AUTHORIZATION            JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors                                              MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.305     State what the contract    SERVICES CHANGE AUTHORIZATIONL           JPMORGAN CHASE & CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            ATTN: CHRISTINE FOSSACECA
           nature of the debtors     DTD 12/28/12                             MAIL CODE OH1-0638
           interest                                                            1111 POLARIS PARKWAY, SUITE 2N
                                                                               COLUMBUS, OH 43240-0638
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.306     State what the contract    AMENDMENT #2 TO SCHEDULE #1              JPMORGAN CHASE BANK NA
           or lease is for and the    CW793185                                 ATTN: CHRISTINE FOSSACECA, WL/WELLNESS MANAGER
           nature of the debtors     AMENDS SCHEDULE #1 CW793185 DTD          270 PARK AVE
           interest                   1/1/2016                                 NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.307     State what the contract    SECOND AMENDMENT TO SCHEDULE             JPMORGAN CHASE BANK NA
           or lease is for and the    ONE CW793185                             ATTN: CHRISTINE FOSSACECA, WL/WELLNESS MANAGER
           nature of the debtors     AMENDS SCHEDULE ONE TO MASTER            270 PARK AVE
           interest                   CONTRACT ID CW793185 DTD 1/1/2016        NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.308     State what the contract    AMENDMENT #1 TO SCHEDULE                 JPMORGAN CHASE BANK NA
           or lease is for and the    CW524362                                 ATTN: JOHN J VAILLANCOURT, CFO
           nature of the debtors     AMENDS SCHEDULE CW524362 DTD             270 PARK AVE
           interest                   11/15/2012                               NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.309     State what the contract    BUSINESS ASSOCIATE AGREEMENT             JPMORGAN CHASE BANK NA
           or lease is for and the                                             ATTN: JOHN J VAILLANCOURT, CFO
           nature of the debtors                                              270 PARK AVE
           interest                                                            NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.310     State what the contract    HEALTH AND WELLNESS SERVICE              JPMORGAN CHASE BANK NA
           or lease is for and the    AGREEMENTS                               ATTN: JOHN J VAILLANCOURT, CFO
           nature of the debtors                                              270 PARK AVE
           interest                                                            NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.311     State what the contract    HEALTH AND WELLNESS SERVICES             JPMORGAN CHASE BANK NA
           or lease is for and the    AGREEMENT                                ATTN: JOHN J VAILLANCOURT, CFO
           nature of the debtors                                              270 PARK AVE
           interest                                                            NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.312     State what the contract    MASTER AGREEMENT                         JPMORGAN CHASE BANK NA
           or lease is for and the                                             ATTN: JOHN J VAILLANCOURT, CFO
           nature of the debtors                                              270 PARK AVE
           interest                                                            NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.313     State what the contract    AMENDMENT #1 TO SCHEDULE                 JPMORGAN CHASE BANK NA
           or lease is for and the    CW433967                                 ATTN: SAM RIOS, EXEC DIR
           nature of the debtors     AMENDS SCHEDULE CW433967 DTD             270 PARK AVE
           interest                   8/15/2011                                NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.314     State what the contract    SCHEDULE CW524362 TO HEALTH &            JPMORGAN CHASE BANK NA
           or lease is for and the    WELLNESS SERVICES AGREEMENT              ATTN: SAM RIOS, EXEC DIR
           nature of the debtors                                              270 PARK AVE
           interest                                                            NEW YORK, NY 10017-2070

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.315     State what the contract    BUSINESS ASSOCIATE AGREEMENT             JPMORGAN CHASE HEALTH & INCOME PROTECTION PLANS
           or lease is for and the                                             270 PARK AVE
           nature of the debtors                                              NEW YORK, NY 10017-2070
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.316     State what the contract    MASTER SERVICES AGREEMENT                JUDGE TECHNICAL STAFFING
           or lease is for and the                                             300 CONSHOHOCKEN STATE RD
           nature of the debtors                                              STE 300
           interest                                                            WEST CONSHOHOCKEN, PA 19428

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.317     State what the contract    BUSINESS ASSOCIATE AGREEMENT             KAISER FOUNDATION HEALTH PLAN INC
           or lease is for and the                                             ATTN: MARY E CASAGRANDE
           nature of the debtors                                              300 LAKESIDE DRIVE
           interest                                                            26TH FLOOR
                                                                               OAKLAND, CA 94612
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.318     State what the contract    BUSINESS ASSOCIATE AGREEMENT             KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.319     State what the contract    CERTIFICATE OF LIABILITY INSURANCE       KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.320     State what the contract    CONTRACT RENEWAL                         KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.321     State what the contract    EXHIBIT A SCHEDULE OF WORK               KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.322     State what the contract    EXHIBIT B SCHEDULE OF WORK               KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.323     State what the contract    MASTER SERVICES AGREEMENT                KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.324     State what the contract    MASTER SERVICES AGREEMENT                KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.325     State what the contract    SERVICES CHANGE AUTHORIZATION            KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.326     State what the contract    SERVICES CHANGE AUTHORIZATION            KAMAN CORPORATION
           or lease is for and the                                             ATTN: GREGORY T TROY
           nature of the debtors                                              1332 BLUE HILLS AVENUE
           interest                                                            PO BOX 1
                                                                               BLOOMFIELD, CT 06002
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.327     State what the contract    CONTENT LICENSE AGREEMENT                KAUFMAN AND KEEN
           or lease is for and the                                             D/B/A PUREWELLNESS.COM
           nature of the debtors                                              ATTN: RON KEEN, PRESIDENT
           interest                                                            106 MAIN STREET
                                                                               BURLINGTON, VT 05495
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.328     State what the contract    LEASE AGREEMENT                          KJ LA PLAZA, LLC
           or lease is for and the                                             C/O LAKELAND MANAGEMENT COMPANY
           nature of the debtors                                              ATTN: BILL MILONE
           interest                                                            4220 SOUTH MARYLAND PARKWAY, SUITE 304-B
                                                                               LAS VEGAS, NV 89119
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.329     State what the contract    SERVICE MAINTENANCE AGREEMENT            KMBS - AMS IMAGING
           or lease is for and the    CONTRACT NO 6887                         2670 WARWICK AVE
           nature of the debtors                                              WARWICK, RI 02889-4297
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.330     State what the contract    EXHIBIT A - SCHEDULE                     KOHLER CO.
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            444 HIGHLAND DRIVE
           nature of the debtors     DTD 9/15/2015                            MS-007
           interest                                                            KOHLER, WI 53044

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.331     State what the contract    MASTER SERVICES AGREEMENT                KOHLER CO.
           or lease is for and the                                             444 HIGHLAND DRIVE
           nature of the debtors                                              MS-007
           interest                                                            KOHLER, WI 53044

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.332     State what the contract    LETTER OF INTENT                         KOHL'S CORPORATION
           or lease is for and the                                             ATTN: ALLEN KLINE, VP BENEFITS
           nature of the debtors                                              N56 W17000 RIDGEWOOD DRIVE
           interest                                                            MENOMONEE FALLS, WI 53051

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.333     State what the contract    AMENDMENT NO 2 TO MASTER                 KOHL'S DEPARTMENT STORES INC
           or lease is for and the    SERVICE AGREEMENT                        ATTN: LEGAL DEPARTMENT
           nature of the debtors     AMENDS MASTER SERVICE                    N56 W17000 RIDGEWOOD DRIVE
           interest                   AGREEMENT DTD 12/30/2014                 MENOMONEE FALLS, WI 53051

           State the term remaining   12/31/2018

           List the contract number
           of any government
           contract

 2.334     State what the contract    CONFIDENTIALITY AND                      KOHL'S DEPARTMENT STORES INC
           or lease is for and the    NON-DISCLOSURE AGREEMENT                 ATTN: LEGAL DEPARTMENT
           nature of the debtors                                              N56 W17000 RIDGEWOOD DRIVE
           interest                                                            MENOMONEE FALLS, WI 53051

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.335     State what the contract    MASTER SERVICES AGREEMENT                KOHL'S DEPARTMENT STORES INC
           or lease is for and the                                             ATTN: LEGAL DEPARTMENT
           nature of the debtors                                              N56 W17000 RIDGEWOOD DRIVE
           interest                                                            MENOMONEE FALLS, WI 53051

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.336     State what the contract    SERVICES CHANGE AUTHORIZATION            KOHL'S DEPARTMENT STORES INC
           or lease is for and the    RE: AMENDMENT 5/20/2015                  ATTN: LEGAL DEPARTMENT
           nature of the debtors                                              N56 W17000 RIDGEWOOD DRIVE
           interest                                                            MENOMONEE FALLS, WI 53051

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.337     State what the contract    SERVICES CHANGE AUTHORIZATION            KOHL'S DEPARTMENT STORES INC
           or lease is for and the    RE: MSA 12/30/2014 (AMENDMENT            ATTN: LEGAL DEPARTMENT
           nature of the debtors     5/20/2015)                               N56 W17000 RIDGEWOOD DRIVE
           interest                                                            MENOMONEE FALLS, WI 53051

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.338     State what the contract    SERVICE CHANGE AUTHORIZATION             KOHL'S DEPARTMENT STORES INC
           or lease is for and the    RE: MSA DTD 12/30/2014 ( AMENDMENT       ATTN: NICOLE CARLSEN, WELLNESS MANAGER
           nature of the debtors     DTD 12/16/2016)                          N56 W17000 RIDGEWOOD DRIVE
           interest                                                            MENOMONEE FALLS, WI 53051

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.339     State what the contract    SERVICE MAINTENANCE AGREEMENT            KONICA MINOLTA BUSINESS SOLUTIONS
           or lease is for and the                                             2670 WARWICK AVENUE
           nature of the debtors                                              WARWICK, RI 02889-4297
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.340     State what the contract    SERVICES CHANGE AUTHORIZATION            LEAR CORPORATION
           or lease is for and the                                             ATTN: KATIE CHARRETTE
           nature of the debtors                                              21557 TELEGRAPH ROAD
           interest                                                            SOUTHFIELD, MI 48033

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.341     State what the contract    SERVICES CHANGE AUTHORIZATION            LEAR CORPORATION
           or lease is for and the                                             ATTN: KATIE CHARRETTE
           nature of the debtors                                              21557 TELEGRAPH ROAD
           interest                                                            SOUTHFIELD, MI 48033

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.342     State what the contract    MASTER SERVICES AGREEMENT                LEAR CORPORATION
           or lease is for and the                                             ATTN: ROBERT MURN
           nature of the debtors                                              21557 TELEGRAPH ROAD
           interest                                                            SOUTHFIELD, MI 48033

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.343     State what the contract    MASTER SERVICES AGREEMENT                LEAR CORPORATION
           or lease is for and the                                             ATTN: TRACIE KELP
           nature of the debtors                                              21557 TELEGRAPH ROAD
           interest                                                            SOUTHFIELD, MI 48033

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.344     State what the contract    SERVICE AGREEMENT                        LIFEMARK OCCUPATIONAL HEALTH AND WELLNESS INC
           or lease is for and the                                             O/A THE HEALTH TEAM
           nature of the debtors                                              4 LANSING SQ, STE 110
           interest                                                            NORTH YORK, ON M2J 5A2

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.345     State what the contract    ORDER FORM NO.1                          LIMEADE INC
           or lease is for and the    RE: VALUE ADDED RESELLER                 ATTN: FINANCE
           nature of the debtors     AGREEMENT DTD 5/1/2017                   10885 NE 4TH STREET, STE 400
           interest                                                            BELLEVUE, WA 98004

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.346     State what the contract    VALUE ADDED RESELLER AGREEMENT           LIMEADE INC
           or lease is for and the                                             ATTN: FINANCE
           nature of the debtors                                              10885 NE 4TH STREET, STE 400
           interest                                                            BELLEVUE, WA 98004

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.347     State what the contract    PURCHASE ORDER                           LINKEDIN CORPORATION
           or lease is for and the    CONTRACT# CS4636380-18                   ATTN: MARSHIA ESCOBAR, SR MANAGER REVENUE
           nature of the debtors                                              RECOGNITION
           interest                                                            1000 W MAUDE AVE
                                                                               SUNNYVALE, CA 94085
           State the term remaining   6/26/2019

           List the contract number
           of any government
           contract

 2.348     State what the contract    CONFIDENTIALITY AGREEMENT                LIVONGO HEALTH INC
           or lease is for and the                                             150 W EVELYN AVE
           nature of the debtors                                              #150
           interest                                                            MOUNTAIN VIEW, CA 94041

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.349     State what the contract    MASTER SERVICES AGREEMENT                LOUISIANA-I GAMING
           or lease is for and the                                             4132 PETERS RD
           nature of the debtors                                              HARVEY, LA 70058
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.350     State what the contract    MASTER SERVICES AGREEMENT                MAIN LINE HEALTH, INC.
           or lease is for and the                                             ATTN: HEALTH AND PRODUCTIVITY MANAGER
           nature of the debtors                                              240 RADNOR CHESTER ROAD
           interest                                                            RADNOR, PA 19087

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.351     State what the contract    FIRST AMENDMENT TO MASTER                MAIN LINE HEALTH, INC.
           or lease is for and the    SERVICES AGREEMENT                       ATTN: SVP HUMAN RESOURCES
           nature of the debtors     AMENDS MASTER SERVICES                   240 RADNOR CHESTER ROAD
           interest                   AGREEMENT DTD 9/1/2017                   RADNOR, PA 19087

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.352     State what the contract    CONTINGENCY AGREEMENT                    MANGEMENT RECRUITERS OF SIMPSONVILLE INC
           or lease is for and the                                             ATTN: DANNIE A NEWELL, PRESIDENT
           nature of the debtors                                              2082 WOODRUFF RD, STE B
           interest                                                            GREENVILLE, SC 29607

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.353     State what the contract    MUTUAL CONFIDENTIALITY AND DATA          MARATHON HEALTH, INC.
           or lease is for and the    RELEASE AGREEMENT                        85 ACADEMY AVENUE PROVIDENCE
           nature of the debtors                                              PROVIDENCE, RI 02908
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.354     State what the contract    EXHIBIT B                                MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the    STATEMENT OF WORK NO.2                   ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.355     State what the contract    MASTER SERVICES AGREEMENT                MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.356     State what the contract    SERVICE CHANGE AUTHORIZATION             MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.357     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.358     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.359     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.360     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.361     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.362     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.363     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.364     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.365     State what the contract    SERVICES CHANGE AUTHORIZATION            MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.366     State what the contract    SUPPLIER QUALIFICATION PACKAGE           MAXIM INTEGRATED PRODUCTS INC
           or lease is for and the                                             ATTN: ANNA TROEGER
           nature of the debtors                                              160 RIO ROBLES
           interest                                                            SAN JOSE, CA 95134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.367     State what the contract    ORDER FORM AMENDMENT                     MCKESSON HEALTH SOLUTIONS LLC
           or lease is for and the    AMENDS MASTER AGREEMENT NO.              ATTN: ACCOUNT MANAGEMENT
           nature of the debtors     15824 DTD 11/20/2012                     275 GROVE ST, STE 1-110
           interest                                                            AUBURNDALE, MA 02466

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.368     State what the contract    BUSINESS ASSOCIATE AGREEMENT             MEDLINE INDUSTRIES, INC.
           or lease is for and the                                             ATTN: SHERRY NELSON
           nature of the debtors                                              THREE LAKES DR
           interest                                                            NORTHFIELD, IL 60093

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.369     State what the contract    MASTER SERVICES AGREEMENT                MEDLINE INDUSTRIES, INC.
           or lease is for and the                                             ATTN: SHERRY NELSON
           nature of the debtors                                              THREE LAKES DR
           interest                                                            NORTHFIELD, IL 60093

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.370     State what the contract    STATEMENT OF WORK                        MERRILL COMMUNICATIONS LLC
           or lease is for and the    AGREEMENT # 180553652                    ONE MERRILL CIRCLE
           nature of the debtors                                              SAINT PAUL, MN 55108
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 114 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.371     State what the contract    CONSULTANT ASSIGNMENT                    MILLENNIUM CONSULTING INC
           or lease is for and the    CONFIRMATION                             ATTN: JAMES E HANSEN
           nature of the debtors                                              26 PATRIOT PLACE, SUITE 101
           interest                                                            FOXBOROUGH, MA 02035

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.372     State what the contract    AMENDMENT #3 TO THE                      MINUTECLINIC LLC
           or lease is for and the    COMPREHENSIVE HEALTH SCREENING           ATTN: SENIOR LEGAL COUNSEL
           nature of the debtors     AGREEMENT; AMENDS SERVICES               ONE MINUTECLINIC DRIVE
           interest                   AGREEMENT DTD 8/10/2014                  MAIL STOP: 100 SVD
                                                                               WOONSOCKET, RI 02895
           State the term remaining   9/1/2017

           List the contract number
           of any government
           contract

 2.373     State what the contract    AMENDMENT #4 TO THE                      MINUTECLINIC LLC
           or lease is for and the    COMPREHENSIVE HEALTH SCREENING           ATTN: SENIOR LEGAL COUNSEL
           nature of the debtors     AGREEMENT                                ONE MINUTECLINIC DRIVE
           interest                   AMENDS SERVICES AGREEMENT DTD            MAIL STOP: 100 SVD
                                      8/10/2014                                WOONSOCKET, RI 02895
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.374     State what the contract    MASTER SERVICES AGREEMENT                MORAN TOWING CORPORATION
           or lease is for and the                                             ATTN: KATHY SOLOMON
           nature of the debtors                                              50 LOCUST AVENUE
           interest                                                            NEW CANAAN, CT 06840

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.375     State what the contract    SERVICES CHANGE AUTHORIZATION            MORAN TOWING CORPORATION
           or lease is for and the                                             ATTN: KATHY SOLOMON
           nature of the debtors                                              50 LOCUST AVENUE
           interest                                                            NEW CANAAN, CT 06840

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.376     State what the contract    SERVICES CHANGE AUTHORIZATION            MORAN TOWING CORPORATION
           or lease is for and the                                             ATTN: KATHY SOLOMON
           nature of the debtors                                              50 LOCUST AVENUE
           interest                                                            NEW CANAAN, CT 06840

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.377     State what the contract    SERVICES CHANGE AUTHORIZATION            MORAN TOWING CORPORATION
           or lease is for and the                                             ATTN: KATHY SOLOMON
           nature of the debtors                                              50 LOCUST AVENUE
           interest                                                            NEW CANAAN, CT 06840

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.378     State what the contract    SALES ORDER                              NAVISITE INC
           or lease is for and the    REMOTE DC-N-28894-4                      400 MINUTEMAN ROAD
           nature of the debtors                                              ANDOVER, MA 01810
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.379     State what the contract    SALES ORDER                              NAVISITE LLC
           or lease is for and the    REMOTE DC-R-41094-1                      400 MINUTEMAN ROAD
           nature of the debtors                                              ANDOVER, MA 01810
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.380     State what the contract    DIGITAL GUARDIAN 1 YR DLP                NETANIUM INC
           or lease is for and the                                             116 JOHN STREET
           nature of the debtors                                              LOWELL, MA 01852
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.381     State what the contract    QUOTE                                    NETANIUM INC
           or lease is for and the                                             116 JOHN STREET
           nature of the debtors                                              LOWELL, MA 01852
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.382     State what the contract    MASTER CONSULTING AGREEMENT              NEW DIRECTIONS
           or lease is for and the                                             2025 SMITH ST
           nature of the debtors                                              NORTH PROVIDENCE, RI 02911
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.383     State what the contract    MASTER SERVICES AGREEMENT                NEW NGC, INC.
           or lease is for and the                                             D/B/A NATIONAL GYPSUM COMPANY
           nature of the debtors                                              ATTN: HUMAN RESOURCES
           interest                                                            2001 REXFORD RD
                                                                               CHARLOTTE, NC 28211
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.384     State what the contract    EXHIBIT A- SCHEDULE OF WORK              NEW NGC, INC.
           or lease is for and the    RE: MASTER AGREEMENT GENERAL             D/B/A NATIONAL GYPSUM COMPANY
           nature of the debtors     TERMS AND CONDITIONS DTD 7/3/2013        ATTN: LEIGH J KEENER, EMPLOYEE BENEFITS MANAGER
           interest                                                            2001 REXFORD RD
                                                                               CHARLOTTE, NC 28211
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.385     State what the contract    EXHIBIT A- SCHEDULE OF WORK              NEW NGC, INC.
           or lease is for and the    RE: MASTER AGREEMENT GENERAL             D/B/A NATIONAL GYPSUM COMPANY
           nature of the debtors     TERMS AND CONDITIONS DTD 7/3/2013        ATTN: LEIGH J KEENER, EMPLOYEE BENEFITS MANAGER
           interest                                                            2001 REXFORD RD
                                                                               CHARLOTTE, NC 28211
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.386     State what the contract    EXHIBIT A- SCHEDULE OF WORK              NEW NGC, INC.
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             D/B/A NATIONAL GYPSUM COMPANY
           nature of the debtors     GENERAL TERMS AND CONDITIONS             ATTN: LEIGH J KEENER, EMPLOYEE BENEFITS MANAGER
           interest                   DTD7/3/2013                              2001 REXFORD RD
                                                                               CHARLOTTE, NC 28211
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.387     State what the contract    MASTER SERVICES AGREEMENT                NEW NGC, INC.
           or lease is for and the                                             D/B/A NATIONAL GYPSUM COMPANY
           nature of the debtors                                              ATTN: LEIGH J KEENER, EMPLOYEE BENEFITS MANAGER
           interest                                                            2001 REXFORD RD
                                                                               CHARLOTTE, NC 28211
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.388     State what the contract    SERVICE CHANGE AUTHORIZATION             NEW NGC, INC.
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             D/B/A NATIONAL GYPSUM COMPANY
           nature of the debtors     SOW DTD 7/23/2013                        ATTN: LEIGH J KEENER, EMPLOYEE BENEFITS MANAGER
           interest                                                            2001 REXFORD RD
                                                                               CHARLOTTE, NC 28211
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.389     State what the contract    MASTER SERVICES AGREEMENT                NFP CORPORATION
           or lease is for and the                                             ATTN: CHRISTINE LARNOUR, AVP EMPLOYEE BENEFITS
           nature of the debtors                                              1250 CAPITAL OF TEXAS HIGHWAY
           interest                                                            AUSTIN, TX 78746

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.390     State what the contract    SERVICE CHANGE AUTHORIZATION             NFP CORPORATION
           or lease is for and the    RE: THE MASTER SERVICE                   ATTN: CHRISTINE LARNOUR, AVP EMPLOYEE BENEFITS
           nature of the debtors     AGREEMENT DTD 8/17/2016                  1250 CAPITAL OF TEXAS HIGHWAY
           interest                                                            AUSTIN, TX 78746

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.391     State what the contract    EXHIBIT B - SCHEDULE B                   NFP CORPORATION
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: KIM DAVIS, EVP CHIEF HR OFFICE
           nature of the debtors     DTD 4/1/2015                             1250 CAPITAL OF TEXAS HIGHWAY
           interest                                                            AUSTIN, TX 78746

           State the term remaining   8/9/2019

           List the contract number
           of any government
           contract

 2.392     State what the contract    SERVICE CHANGE AUTHORZATION              NORBORD INC
           or lease is for and the                                             ATTN: CINDY BRYANT
           nature of the debtors                                              4400 BARTON INDUSTRIAL BLVD.
           interest                                                            LANETT, AL 36863

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.393     State what the contract    MASTER SERVICES AGREEMENT                NORBORD PANELS USA, INC.
           or lease is for and the                                             ATTN: CINDY BRYANT
           nature of the debtors                                              4400 BARTON INDUSTRIAL BLVD
           interest                                                            LANETT, AL 36863

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.394     State what the contract    BUSINESS ASSOCIATE AGREEMENT             NORBORD PANELS USA, INC.
           or lease is for and the                                             ATTN: SANDRA DEER, HR MANAGER, US OPERATIONS
           nature of the debtors                                              4400 BARTON INDUSTRIAL BLVD
           interest                                                            LANETT, AL 36863

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.395     State what the contract    BUSINESS ASSOCIATE AGREEMENT             NORDSON CORPORATION HOURLY RATED EMPLOYEES
           or lease is for and the                                             HEALTH PLAN
           nature of the debtors                                              ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           interest                                                            PAYROLL
                                                                               28601 CLEMENS ROAD
           State the term remaining   CURRENT                                  WESTLAKE, OH 44145-1148
           List the contract number
           of any government
           contract

 2.396     State what the contract    BUSINESS ASSOCIATE AGREEMENT             NORDSON CORPORATION HOURLY RATED EMPLOYEES
           or lease is for and the                                             HEALTH PLAN
           nature of the debtors                                              ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           interest                                                            PAYROLL
                                                                               28601 CLEMENS ROAD
           State the term remaining   CURRENT                                  WESTLAKE, OH 44145-1148
           List the contract number
           of any government
           contract

 2.397     State what the contract    BUSINESS ASSOCIATE AGREEMENT             NORDSON CORPORATION SALARIED EMPLOYEES HEALTH
           or lease is for and the                                             PLAN
           nature of the debtors                                              ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           interest                                                            PAYROLL
                                                                               28601 CLEMENS ROAD
           State the term remaining   CURRENT                                  WESTLAKE, OH 44145-1148
           List the contract number
           of any government
           contract

 2.398     State what the contract    BUSINESS ASSOCIATE AGREEMENT             NORDSON CORPORATION SALARIED EMPLOYEES HEALTH
           or lease is for and the                                             PLAN
           nature of the debtors                                              ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           interest                                                            PAYROLL
                                                                               28601 CLEMENS ROAD
           State the term remaining   CURRENT                                  WESTLAKE, OH 44145-1148
           List the contract number
           of any government
           contract

 2.399     State what the contract    SERVICE CHANGE AUTHORIZATION             NORDSON CORPORATION
           or lease is for and the    RE: THE MASTER SERVICE                   ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           nature of the debtors     AGREEMENT DTD 8/8/2014                   PAYROLL
           interest                                                            28601 CLEMENS ROAD
                                                                               WESTLAKE, OH 44145
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.400     State what the contract    SERVICE CHANGE AUTHORIZATION             NORDSON CORPORATION
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           nature of the debtors     DTD 8/8/2014                             PAYROLL
           interest                                                            28601 CLEMENS ROAD
                                                                               WESTLAKE, OH 44145
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.401     State what the contract    SERVICE CHANGE AUTHORIZATION             NORDSON CORPORATION
           or lease is for and the    RE: THE MASTER SERVICE                   ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           nature of the debtors     AGREEMENT DTD 8/8/2014                   PAYROLL
           interest                                                            28601 CLEMENS ROAD
                                                                               WESTLAKE, OH 44145
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.402     State what the contract    SERVICE CHANGE AUTHORIZATION             NORDSON CORPORATION
           or lease is for and the    RE: THE MASTER SERVICE                   ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           nature of the debtors     AGREEMENT DTD 8/8/2014                   PAYROLL
           interest                                                            28601 CLEMENS ROAD
                                                                               WESTLAKE, OH 44145
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.403     State what the contract    SERVICES CHANGE AUTHORIZATION            NORDSON CORPORATION
           or lease is for and the    RE: THE MASTER SERVICE                   ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           nature of the debtors     AGREEMENT DTD 8/8/2014                   PAYROLL
           interest                                                            28601 CLEMENS ROAD
                                                                               WESTLAKE, OH 44145
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.404     State what the contract    SERVICES CHANGE AUTHORIZATION            NORDSON CORPORATION
           or lease is for and the    RE: THE MASTER SERVICE                   ATTN: MICHELLE PIESCHALSKI, MANGER BENEFITS AND
           nature of the debtors     AGREEMENT DTD 8/9/2014                   PAYROLL
           interest                                                            28601 CLEMENS ROAD
                                                                               WESTLAKE, OH 44145
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.405     State what the contract    AMENDMENT NO 1                           NORDSON CORPORATION
           or lease is for and the    AMENDS THE MASTER SERVICE                ATTN: SHELLY PEET, VP HUMAN RESOURCES
           nature of the debtors     AGREEMENT DTD 6/2/2014                   28601 CLEMENS ROAD
           interest                                                            WESTLAKE, OH 44145

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.406     State what the contract    MASTER SERVICES AGREEMENT                NORDSON CORPORATION
           or lease is for and the                                             ATTN: SHELLY PEET, VP HUMAN RESOURCES
           nature of the debtors                                              28601 CLEMENS ROAD
           interest                                                            WESTLAKE, OH 44145

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.407     State what the contract    MASTER SERVICES AGREEMENT                OFS FITEL LLC
           or lease is for and the                                             ATTN: LEGAL DEPARTMENT
           nature of the debtors                                              2000 N E EXPRESSWAY
           interest                                                            NORCROSS, GA 30071

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.408     State what the contract    MASTER SERVICES AGREEMENT                OLMSTED COUNTY
           or lease is for and the                                             ATTN: AMY HOOT, WELLNESS COORDINATOR
           nature of the debtors                                              151 4TH ST
           interest                                                            ROCHESTER, MN 55904

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.409     State what the contract    MASTER SERVICES AGREEMENT                OPTISOM LLC
           or lease is for and the                                             4420 HOTEL CIRCLE, STE 240
           nature of the debtors                                              SAN DIEGO, CA 92108
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.410     State what the contract    MUTUAL CONFIDENTIALITY                   OPTUMHEALTH CARE SOLUTIONS INC
           or lease is for and the    AGREEMENT                                ATTN: CONTRACTS ADMINISTRATION
           nature of the debtors                                              6300 OLSON MEMORIAL HIGHWAY
           interest                                                            MN010-E151
                                                                               GOLDEN VALLEY, MN 55427
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.411     State what the contract    CONSULTING SERVICES AGREEMENT            OXFORD GLOBAL RESOURCES INC
           or lease is for and the                                             100 CUMMINGS CENTER, STE 206L
           nature of the debtors                                              BEVERLY, MA 01915
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.412     State what the contract    PURCHASE ORDER                           PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 2501151174                           245 MARKET ST, RM 543
           nature of the debtors                                              MAIL CODE N5D
           interest                                                            PO BOX 770000
                                                                               SAN FRANCISCO, CA 94177
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.413     State what the contract    SERVICE ORDER                            PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the                                             245 MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94015
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.414     State what the contract    ADDENDUM TO AGREEMENT              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    RE: MASTER AGREEMENT GENERAL       ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     TERMS AND CONDITIONS DTD 12/6/2012 77 BEALE STREET
           interest                                                      SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.415     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 4400006686                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.416     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO. 1 TO CONTRACT           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     NO. 4400006686                           77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.417     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO.2 TO CONTRACT            ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     NO. 4400006686                           77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.418     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO.3 TO CONTRACT            ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     NO. 4400006686                           77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
                                                                                              18-23309
           (Name)                                          Pg 122 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.419     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO. 4 TO CONTRACT           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     NO. 4400006686                           77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.420     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO. 5 TO                    ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     CONTRACTNO. 4400006688                   77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.421     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO.6 TO CONTRACT            ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     NO. 4400006686                           77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.422     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    AMENDS CONTRACT NO 4400006686            ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     DTD 5/3/2012                             77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.423     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 4400006686                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.424     State what the contract    CONTRACT CHANGE ORDER                    PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CHANGE ORDER NO. 11 TO CONTRACT          ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     NO. C610 DTD 5/3/2012                    77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   9/30/2019

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
                                                                                              18-23309
           (Name)                                          Pg 123 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.425     State what the contract    CONTRACT CHANGE ORDER NO. 10             PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 4400006686                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.426     State what the contract    CONTRACT CHANGE ORDER NO. 9              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 4400006686                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.427     State what the contract    CONTRACT CHANGE ORDER NO.7               PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 4400006686                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.428     State what the contract    CONTRACT WORK AUTHORIZATION              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 2501530233                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.429     State what the contract    CONTRACT WORK AUTHORIZATION              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     DTD 5/21/2013                            77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.430     State what the contract    CONTRACT WORK AUTHORIZATION              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    AMENDS MASTER AGREEMENT NO               ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     4400006686 DTD 5/3/2012                  77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.431     State what the contract    CONTRACT WORK AUTHORIZATION              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. C6467                                ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.432     State what the contract    CONTRACT WORK AUTHORIZATION              PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    NO. 2501166911                           ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.433     State what the contract    LIST OF SUBCONTRACTORS AND               PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    DISBURSEMENT RECORD                      ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors     CONTRACT NO. 4400006686                  77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.434     State what the contract    LONG FORM CONTRACT                       PACIFIC GAS & ELECTRIC COMPANY
           or lease is for and the    CONTRACT NO. 4400006686                  ATTN: LINDA WINTER, DIRECTOR
           nature of the debtors                                              77 BEALE STREET
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.435     State what the contract    SERVICES CHANGE AUTHORIZATION            PAPA JOHN'S INTERNATIONAL, INC.
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: BRENDA MILES
           nature of the debtors     DTD 7/12/2017                            2002 PAPA JOHN'S BLVD
           interest                                                            LOUISVILLE, KY 40299

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.436     State what the contract    MASTER SERVICES AGREEMENT                PAPA JOHN'S INTERNATIONAL, INC.
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              2002 PAPA JOHN'S BLVD
           interest                                                            LOUISVILLE, KY 40299

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 125 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.437     State what the contract    CONFIDENTIALITY AND                      PAPA JOHN'S INTERNATIONAL, INC.
           or lease is for and the    NON-DISCLOSURE AGREEMENT                 ATTN: SVP HR
           nature of the debtors                                              2002 PAPA JOHN'S BLVD
           interest                                                            LOUISVILLE, KY 40299

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.438     State what the contract    LEASE AGREEMENT                          PC CONNECTION SALES CORP
           or lease is for and the                                             730 MILFORD ROAD
           nature of the debtors                                              MERRIMACK, NH 03054
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.439     State what the contract    MASTER SERVICES AGREEMENT                PENNWELL
           or lease is for and the                                             ATTN: PAUL J BERNIUS, VP
           nature of the debtors                                              1421 S SHERIDAN
           interest                                                            TULSA, OK 74112

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.440     State what the contract    SERVICES CHANGE AUTHORIZATION            PENNWELL
           or lease is for and the                                             ATTN: RACHEL SAVAGE, HR MANAGER
           nature of the debtors                                              1421 S SHERIDAN
           interest                                                            TULSA, OK 74112

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.441     State what the contract    SERVICES CHANGE AUTHORIZATION            PENNWELL
           or lease is for and the                                             ATTN: RACHEL SAVAGE, HR MANAGER
           nature of the debtors                                              1421 S SHERIDAN
           interest                                                            TULSA, OK 74112

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.442     State what the contract    ADDENDUM TO AGREEMENT                    PG&E CORPORATION
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: MARIA HENDERSON, SR DIRECTOR
           nature of the debtors     GENERAL TERMS AND CONDITIONS             77 BEALE ST
           interest                   DTD 12/6/2012                            SAN FRANCISCO, CA 94106

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 126 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.443     State what the contract    MASTER SERVICES AGREEMENT                PG&E CORPORATION
           or lease is for and the    GENERAL TERMS AND CONDITIONS             ATTN: MARIA HENDERSON, SR DIRECTOR
           nature of the debtors                                              77 BEALE ST
           interest                                                            SAN FRANCISCO, CA 94106

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.444     State what the contract    SERVICE CHANGE AUTHORIZATION             PG&E CORPORATION
           or lease is for and the                                             ATTN: MARIA LOCONTE
           nature of the debtors                                              SOURCING DEPARTMENT
           interest                                                            245 MARKET STREET, ROOM 551B
                                                                               SAN FRANCISCO, CA 94106
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.445     State what the contract    MASTER SERVICES AGREEMENT                PINNACLE AFFILIATES
           or lease is for and the                                             4311 WALNEY RD.
           nature of the debtors                                              CHANTILY, VA 20151
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.446     State what the contract    MASTER SERVICES AGREEMENT                PINNACLE ENTERTAINMENT, INC.
           or lease is for and the                                             3980 HOWARD HUGHES PARKWAY
           nature of the debtors                                              LAS VEGAS, NV 89169
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.447     State what the contract    SERVICES CHANGE AUTHORIZATION            PINNACLE ENTERTAINMENT, INC.
           or lease is for and the                                             3980 HOWARD HUGHES PARKWAY
           nature of the debtors                                              LAS VEGAS, NV 89169
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.448     State what the contract    MASTER SERVICES AGREEMENT                PNK (BATON ROUGE) PARTNERSHIP
           or lease is for and the                                             777 L'AUBERGE AVENUE
           nature of the debtors                                              BATON ROUGE, LA 70820
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 127 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.449     State what the contract    MASTER SERVICES AGREEMENT                PNK (BOSSIER CITY) INC
           or lease is for and the                                             300 RIVERSIDE DRIVE
           nature of the debtors                                              BOSSIER CITY, LA 71111
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.450     State what the contract    MASTER SERVICES AGREEMENT                PNK (LAKE CHARLES) LLC
           or lease is for and the                                             777 AVENUE L'AUBERGE
           nature of the debtors                                              LAKE CHARLES, LA 70601
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.451     State what the contract    MASTER SERVICES AGREEMENT                PNK (OHIO) LLC
           or lease is for and the                                             6301 KELLOGG AVENUE
           nature of the debtors                                              CINCINNATI, OH 45230
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.452     State what the contract    MASTER SERVICES AGREEMENT                PNK (RIVER CITY) LLC
           or lease is for and the                                             777 RIVER CITY CASINO BOULEVARD
           nature of the debtors                                              ST LOUIS, MO 63125
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.453     State what the contract    MASTER SERVICES AGREEMENT                POLSINELLI
           or lease is for and the                                             900 W 48TH PLACE
           nature of the debtors                                              STE 900
           interest                                                            KANSAS CITY, MO 64112

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.454     State what the contract    SERVICES CHANGE AUTHORIZATION            POLSINELLI
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              700 2 47TH ST
           interest                                                            STE 1000
                                                                               KANSAS CITY, MO 64112
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.455     State what the contract    NETWORK SERVICES AGREEMENT               PREVENTURE INC
           or lease is for and the                                             ATTN: DAVID W PICKERING
           nature of the debtors                                              2006 NOOSENECK HILL ROAD
           interest                                                            COVENTRY, RI 02816

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.456     State what the contract    MASTER SERVICES AGREEMENT                PROGRESSIVE CASUALTY INSURANCE CO
           or lease is for and the                                             ATTN: LINDA ROSWEY
           nature of the debtors                                              6300 WILSON MILLS RD
           interest                                                            MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.457     State what the contract    EXHIBIT A - SCHEDULE OF WORK       PROGRESSIVE CASUALTY INSURANCE CO
           or lease is for and the    RE: MASTER AGREEMENT GENERAL       ATTN: LINDA ROWSEY
           nature of the debtors     TERMS AND CONDITIONS DTD 1/22/2014 6300 WILSON MILLS RD
           interest                                                      MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.458     State what the contract    FIRST AMENDMENT TO MASTER                PROGRESSIVE CASUALTY INSURANCE CO
           or lease is for and the    SERVICES AGREEMENT                       ATTN: LINDA ROWSEY
           nature of the debtors     AMENDS AGREEMENT 1/22/2014               6300 WILSON MILLS RD
           interest                                                            MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.459     State what the contract    MASTER SERVICES AGREEMENT                PROGRESSIVE CASUALTY INSURANCE CO
           or lease is for and the                                             ATTN: LINDA ROWSEY
           nature of the debtors                                              6300 WILSON MILLS RD
           interest                                                            MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.460     State what the contract    MASTER SERVICES AGREEMENT                PROGRESSIVE CASUALTY INSURANCE CO
           or lease is for and the                                             ATTN: LINDA ROWSEY
           nature of the debtors                                              6300 WILSON MILLS RD
           interest                                                            MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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           (Name)                                          Pg 129 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.461     State what the contract    MUTUAL NON-DISCLOSURE                    PROGRESSIVE CASUALTY INSURANCE CO
           or lease is for and the    AGREEMENT                                ATTN: PETER J ALBERT, VP
           nature of the debtors                                              6300 WILSON MILLS RD
           interest                                                            MAYFIELD, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.462     State what the contract    SERVICE CHANGE AUTHORIZATION             PROGRESSIVE CORPORATION
           or lease is for and the                                             6300 WILSON MILLS ROAD
           nature of the debtors                                              BOX W33
           interest                                                            MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.463     State what the contract    SERVICES CHANGE AUTHORIZATION            PROGRESSIVE CORPORATION
           or lease is for and the    RE: MASTER SERVICES AGREEMENT            6300 WILSON MILLS ROAD
           nature of the debtors     DTD 6/2/2014                             BOX W33
           interest                                                            MAYFIELD VILLAGE, OH 44143

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.464     State what the contract    PROVISTA GPO PARTICIPATION               PROVISTA INC
           or lease is for and the    AGREEMENT                                ATTN: LEGAL COUNSEL
           nature of the debtors                                              250 E JOHN CARPENTER FRWY, STE 120
           interest                                                            IRVING, TX 75062

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.465     State what the contract    BUSINESS ASSOCIATE AGREEMENT             PUBLIX SUPER MARKETS INC
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              3300 PUBLIX CORPORATE PKWY
           interest                                                            LAKELAND, FL 33811

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.466     State what the contract    MUTUAL NON-DISCLOSURE                    PUBLIX SUPER MARKETS INC
           or lease is for and the    AGREEMENT                                ATTN: GENERAL COUNSEL
           nature of the debtors                                              3300 PUBLIX CORPORATE PKWY
           interest                                                            LAKELAND, FL 33811

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 130 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.467     State what the contract    AGREEMENT TO PROVIDE POINT OF            PUBLIX SUPER MARKETS INC
           or lease is for and the    CARE TESTING AND/OR ADMINISTER           ATTN: VP, PHARMACY OPERATIONS
           nature of the debtors     VACCINES UNDER A VOUCHER                 3300 PUBLIX CORPORATE PKWY
           interest                   AGREEMENT                                LAKELAND, FL 33811

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.468     State what the contract    AMENDED AND RESTATED AGREEMENT           PUBLIX SUPER MARKETS INC
           or lease is for and the    TO PROVIDE POINT OF CARE TESTING         ATTN: VP, PHARMACY OPERATIONS
           nature of the debtors     AND/OR ADMINISTER VACCINES               3300 PUBLIX CORPORATE PKWY
           interest                   AMENDS VOUCHER AGREEMENT DTD             LAKELAND, FL 33811
                                      9/30/2016
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.469     State what the contract    SECOND AGREEMENT TO ADMINISTER           PUBLIX SUPER MARKETS INC
           or lease is for and the    VACCINES UNDER A VOUCHER                 ATTN: VP, PHARMACY OPERATIONS
           nature of the debtors     ARRANGEMENT                              3300 PUBLIX CORPORATE PKWY
           interest                                                            LAKELAND, FL 33811

           State the term remaining   9/30/2018

           List the contract number
           of any government
           contract

 2.470     State what the contract    ADDENDUM                                 PUREWELLNESS
           or lease is for and the    RE: CONTENT LICENSE AGREEMENT            ATTN: MARE NAUGHTON, EVP
           nature of the debtors     DTD 1/2/2009                             550 STANTON CHRISTIANA ROAD, SUITE 302
           interest                                                            NEWARK, DE 19713

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.471     State what the contract    AMENDMENT NO.5 OF MASTER                 QUEST DIAGNOSTICS INCORPORATED
           or lease is for and the    SERVICE AGREEMENT FOR BLUEPRINT          ATTN: STEVEN L BURTON, GEN MGR
           nature of the debtors     FOR WELLNESS SERVICES                    10101 RENNER BLVD
           interest                   AMENDS MASTER SERVICE                    LENEXA, KS 66219
                                      AGREEMENT DTD 9/12/2011
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.472     State what the contract    BUSINESS ASSOCIATE AGREEMENT             QUEST DIAGNOSTICS INCORPORATED
           or lease is for and the                                             ATTN: STEVEN L BURTON, GEN MGR
           nature of the debtors                                              10101 RENNER BLVD
           interest                                                            LENEXA, KS 66219

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.473     State what the contract    MASTER SERVICES AGREEMENT                QUEST DIAGNOSTICS INCORPORATED
           or lease is for and the                                             QUEST HEALTH & WELLNESS
           nature of the debtors                                              ATTN: STEVE R LACZYNSKI
           interest                                                            27175 HAGGERTY ROAD
                                                                               NOVI, MI 48377
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.474     State what the contract    EXHIBIT B SCHEDULE OF WORK               RADIATION THERAPY SERVICES INC
           or lease is for and the    RE MASTER SERVICES AGREEMENT             2270 COLONIAL BLVD
           nature of the debtors     DTD 6/25/2012                            FORT MYERS, FL 33907
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.475     State what the contract    MASTER SERVICES AGREEMENT                RADIATION THERAPY SERVICES INC
           or lease is for and the                                             2270 COLONIAL BLVD
           nature of the debtors                                              FORT MYERS, FL 33907
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.476     State what the contract    MASTER SERVICES AGREEMENT                RADIATION THERAPY SERVICES INC
           or lease is for and the                                             2270 COLONIAL BLVD
           nature of the debtors                                              FORT MYERS, FL 33907
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.477     State what the contract    AMENDMENT 2 TO RAYTHEON                  RAYTHEON COMPANY
           or lease is for and the    ENTERPRISE AGREEMENT                     ATTN: KAREN HEWITT
           nature of the debtors     AMENDS AGREEMENT DTD 7/27/2011           870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.478     State what the contract    CHANGE TO PURCHASE ORDER                 RAYTHEON COMPANY
           or lease is for and the    NO. 4400553274                           ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 132 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.479     State what the contract    MASTER SERVICES AGREEMENT                RAYTHEON COMPANY
           or lease is for and the                                             ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.480     State what the contract    PROFESSIONAL SERVICES                    RAYTHEON COMPANY
           or lease is for and the    AGREEMENT                                ATTN: KAREN HEWITT
           nature of the debtors     CORP38902                                870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.481     State what the contract    PURCHASE ORDER                           RAYTHEON COMPANY
           or lease is for and the    NO. 4400553274                           ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.482     State what the contract    PURCHASE ORDER                           RAYTHEON COMPANY
           or lease is for and the                                             ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.483     State what the contract    RAYTHEON ENTERPRISE AGREEMENT            RAYTHEON COMPANY
           or lease is for and the                                             ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.484     State what the contract    SCHEDULE A STATEMENT OF WORK             RAYTHEON COMPANY
           or lease is for and the                                             ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.485     State what the contract    SERVICES CHANGE AUTHORIZATION            RAYTHEON COMPANY
           or lease is for and the                                             ATTN: KAREN HEWITT
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.486     State what the contract    PURCHASE ORDER                           RAYTHEON COMPANY
           or lease is for and the    NO. 4400445720                           LEXINGTON, BEDFORD AIR, WALTHAM, LONGBEACH
           nature of the debtors                                              870 WINTER STREET
           interest                                                            WALTHAM, MA 02451-1449

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.487     State what the contract    CONTINGENCY AGREEMENT                    RECRUITERS OF SIMPSONVILLE, INC.
           or lease is for and the                                             44 APPIAN CIR.
           nature of the debtors                                              SIMPSONVILLE, SC 29681
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.488     State what the contract    FIRST AMENDMENT MASTER SERVICES          RED BRICK HEALTH CORPORATION
           or lease is for and the    AGREEMENT                                ATTN: GENERAL COUNSEL
           nature of the debtors     AMENDS MASTER SERVICES                   510 MARQUETTE AVENUE SOUTH
           interest                   AGREEMENT DTD 1/1/2017                   SUITE 500
                                                                               MINNEAPOLIS, MN 55402
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.489     State what the contract    MASTER SERVICES AGREEMENT                RED BRICK HEALTH CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              510 MARQUETTE AVENUE SOUTH
           interest                                                            SUITE 500
                                                                               MINNEAPOLIS, MN 55402
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.490     State what the contract    MASTER SERVICES AGREEMENT                REDBRICK HEALTH CORPORATION
           or lease is for and the                                             ATTN: GENERAL COUNSEL
           nature of the debtors                                              510 MARQUETTE AVENUE SOUTH
           interest                                                            SUITE 500
                                                                               MINNEAPOLIS, MN 55402
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.491     State what the contract    EXHIBIT A TO MASTER SERVICES             REGENERON PHARMACEUTICALS INC
           or lease is for and the    AGREEMENT                                ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.492     State what the contract    EXHIBIT A TO MASTER SERVICES             REGENERON PHARMACEUTICALS INC
           or lease is for and the    AGREEMENT                                ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.493     State what the contract    HEALTH PROMOTION SERVICES                REGENERON PHARMACEUTICALS INC
           or lease is for and the    AGREEMENT                                ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.494     State what the contract    MASTER SERVICES AGREEMENT                REGENERON PHARMACEUTICALS INC
           or lease is for and the                                             ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.495     State what the contract    MASTER SERVICES AGREEMENT                REGENERON PHARMACEUTICALS INC
           or lease is for and the    CONTRACT NO. 2015.005864                 ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.496     State what the contract    SERVICES CHANGE AUTHORIZATION            REGENERON PHARMACEUTICALS INC
           or lease is for and the                                             ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.497     State what the contract    SERVICES CHANGE AUTHORIZATION            REGENERON PHARMACEUTICALS INC
           or lease is for and the                                             ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.498     State what the contract    STANDARD PURCHASE ORDER                  REGENERON PHARMACEUTICALS INC
           or lease is for and the    ORDER NO. 446138                         ATTN: MELISSA SALEMO
           nature of the debtors                                              777 OLD SAW MILL RIVER ROAD
           interest                                                            TARRYTOWN, NY 10591

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.499     State what the contract    EXHIBIT A TO MASTER SERVICES             RESOURCING LLC
           or lease is for and the    AGREEMENT                                4387 SWAMP ROAD 205
           nature of the debtors                                              DOYLESTOWN, PA 18902
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.500     State what the contract    MASTER SERVICES AGREEMENT                RESOURCING LLC
           or lease is for and the                                             4387 SWAMP ROAD 205
           nature of the debtors                                              DOYLESTOWN, PA 18902
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.501     State what the contract    MASTER SERVICES AGREEMENT                RETAMA DEVELOPMENT CORPORATION
           or lease is for and the                                             1 RETAMA PARKWAY
           nature of the debtors                                              SELMA, TX 78154
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.502     State what the contract    MASTER SERVICES AGREEMENT                RHODE ISLAND LLC
           or lease is for and the                                             C/O BURNS & MCDONNEL
           nature of the debtors                                              ATTN: LAUREN DUNN
           interest                                                            9400 WARD PARKWAY
                                                                               KANSAS, MO 64114
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.503     State what the contract    SERVICES CHANGE AUTHORIZATION            RICH PRODUCTS CORPORATION
           or lease is for and the                                             ATTN: BETSY LANSING
           nature of the debtors                                              ONE ROBERT RICH WAY
           interest                                                            BUFFALO, NY 14213

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.504     State what the contract    FIRST AMENDMENT TO MASTER                RICH PRODUCTS CORPORATION
           or lease is for and the    SERVICES AGREEMENT                       ATTN: LEGAL DEPARTMENT
           nature of the debtors     AMENDS MASTER SERVICES                   ONE ROBERT RICH WAY
           interest                   AGREEMENT DTD 2/1/2017                   BUFFALO, NY 14213

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.505     State what the contract    MASTER SERVICES AGREEMENT                RICH PRODUCTS CORPORATION
           or lease is for and the                                             ATTN: LEGAL DEPARTMENT
           nature of the debtors                                              ONE ROBERT RICH WAY
           interest                                                            BUFFALO, NY 14213

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.506     State what the contract    EXHIBIT A -1 SCHEDULE OF WORK            S.C. JOHNSON & SON INC
           or lease is for and the                                             ATTN: BENEFITS PLANNING
           nature of the debtors                                              MS445
           interest                                                            1525 HOWE STREET
                                                                               RACINE, WI 53403
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.507     State what the contract    MASTER SERVICES AGREEMENT                S.C. JOHNSON & SON INC
           or lease is for and the                                             ATTN: BENEFITS PLANNING
           nature of the debtors                                              MS445
           interest                                                            1525 HOWE STREET
                                                                               RACINE, WI 53403
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.508     State what the contract    MASTER SERVICES AGREEMENT                S.C. JOHNSON & SON INC
           or lease is for and the    EXHIBIT A                                ATTN: BENEFITS PLANNING
           nature of the debtors                                              MS445
           interest                                                            1525 HOWE STREET
                                                                               RACINE, WI 53403
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.509     State what the contract    SERVICE CHANGE AUTHORIZATION             S.C. JOHNSON & SON INC
           or lease is for and the                                             ATTN: JULIE TENNIE & STEPHANIE MICKSCHI
           nature of the debtors                                              MS445
           interest                                                            1525 HOWE STREET
                                                                               RACINE, WI 53403
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.510     State what the contract    SERVICES CHANGE AUTHORIZATION            S.C. JOHNSON & SON INC
           or lease is for and the                                             ATTN: JULIE TENNIE & STEPHANIE MICKSCHI
           nature of the debtors                                              MS445
           interest                                                            1525 HOWE STREET
                                                                               RACINE, WI 53403
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.511     State what the contract    SERVICES CHANGE AUTHORIZATION            S.C. JOHNSON & SON INC
           or lease is for and the                                             ATTN: JULIE TENNIE & STEPHANIE MICKSCHI
           nature of the debtors                                              MS445
           interest                                                            1525 HOWE STREET
                                                                               RACINE, WI 53403
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.512     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the                                             ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.513     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the    QUOTE NO. Q-554059                       ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.514     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the                                             ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.515     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the    QUOTE NO. Q-554059                       ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   6/14/2019

           List the contract number
           of any government
           contract

 2.516     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the    QUOTE NO. Q-01552185                     ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   1/14/2020

           List the contract number
           of any government
           contract

 2.517     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the    QUOTE NO. Q-00616618                     ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   5/25/2019

           List the contract number
           of any government
           contract

 2.518     State what the contract    ORDER FORM                               SALESFORCE.COM, INC
           or lease is for and the    QUOTE NO. Q-01552185                     ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   1/14/2020

           List the contract number
           of any government
           contract

 2.519     State what the contract    PARDOT SEMI-ANNUAL PAYMENT               SALESFORCE.COM, INC
           or lease is for and the    TERMS                                    ONE MARKET STREET
           nature of the debtors     QUOTE NO. Q-00616618                     SAN FRANCISCO, CA 94105
           interest
           State the term remaining   5/25/2019

           List the contract number
           of any government
           contract

 2.520     State what the contract    RENEWAL QUOTE FOR SIGNATURE              SALESFORCE.COM, INC
           or lease is for and the    ORDER FORM NO. Q-01552185                ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   1/14/2020

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.521     State what the contract    SEMI-ANNUAL PAYMENT TERMS                SALESFORCE.COM, INC
           or lease is for and the    ORDER FORM Q-00616618                    ONE MARKET STREET
           nature of the debtors                                              SAN FRANCISCO, CA 94105
           interest
           State the term remaining   5/25/2019

           List the contract number
           of any government
           contract

 2.522     State what the contract    LICENSE AGREEMENT TO PERFORM             SANGUINET BUILDING, L.P.
           or lease is for and the    WORK FOR TENANT AND/OR OWNER             201 MAIN ST.
           nature of the debtors                                              FORT WORTH, TX 76102
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.523     State what the contract    MASTER LICENSE AGREEMENT                 SAS INSTITUTE INC
           or lease is for and the    AGREEMENT NO. 74265                      WORLD HEADQUARTERS
           nature of the debtors                                              SAS CAMPUS DRIVE
           interest                                                            CARY, NC 27513

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.524     State what the contract    MASTER SERVICES AGREEMENT                SEISMIC EXCHANGE, INC.
           or lease is for and the                                             ATTN: HUMAN RESOURCES DEPARTMENT
           nature of the debtors                                              4805 WESTWAY PARK BLVD.
           interest                                                            HOUSTON, TX 77041

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.525     State what the contract    SFDC SERVICE AGREEMENT                   SFDC (SALESFORCE.COM) SARI
           or lease is for and the                                             THE LANDMARK @ ONE MARKET SUITE 300
           nature of the debtors                                              SUITE 300
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.526     State what the contract    OFFER LETTER OF EMPLOYMENT               SIFFORD, ERNIE
           or lease is for and the                                             ADDRESS REDACTED
           nature of the debtors
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.527     State what the contract    SAAS SUBSCRIPTION RENEWAL ORDER SILKROAD TECHNOLOGY INC
           or lease is for and the    FORM                            1801 W. OLYMPIC BLVD
           nature of the debtors     FORM NO. PHS20160301            PASADENA, CA 91199-1221
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.528     State what the contract    SAAS SUBSCRIPTION RENEWAL ORDER SILKROAD TECHNOLOGY INC
           or lease is for and the    FORM                            1801 W. OLYMPIC BLVD
           nature of the debtors     FORM NO. PRO20170301            PASADENA, CA 91199-1221
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.529     State what the contract    MASTER SERVICES AGREEMENT                SIX CONTINENTS HOTELS INC
           or lease is for and the                                             ATTN: VP, AMER COMPENSATION & BENEFITS
           nature of the debtors                                              THREE RAVINIA DR, STE 100
           interest                                                            ATLANTA, GA 30346-2121

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.530     State what the contract    MASTER SERVICES AGREEMENT                SIX CONTINENTS HOTELS INC
           or lease is for and the                                             ATTN: VP, AMER COMPENSATION & BENEFITS
           nature of the debtors                                              THREE RAVINIA DR, STE 100
           interest                                                            ATLANTA, GA 30346-2121

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.531     State what the contract    MASTER SERVICES AGREEMENT                SIX CONTINENTS HOTELS, INC.
           or lease is for and the                                             ATTN: VP, AMER COMPENSATION & BENEFITS
           nature of the debtors                                              THREE RAVINIA DR, STE 100
           interest                                                            ATLANTA, GA 30346-2121

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.532     State what the contract    MASTER SUBSCRIPTION AGREEMENT            SKEDULO PTY LTD
           or lease is for and the                                             3B, 11 DONKIN ST
           nature of the debtors                                              WEST END, QLD 4101
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.533     State what the contract    SFDC SERVICE AGREEMENT                   SKEDULO PTY LTD
           or lease is for and the                                             3B, 11 DONKIN ST
           nature of the debtors                                              WEST END, QLD 4101
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.534     State what the contract    TECHNOLOGY SPECIFICATION AND             SKEDULO PTY LTD
           or lease is for and the    PROPOSAL                                 3B, 11 DONKIN ST
           nature of the debtors     POPOSAL 0417-SKEDULO                     WEST END, QLD 4101
           interest                   IMPLEMENTATION PROPOSAL

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.535     State what the contract    LICENSE SCHEDULE                         SOPHOS INC
           or lease is for and the    INVOICE NO. USI000282720; PURCHASE       PO BOX 414930
           nature of the debtors     ORDER NO. T10638770101                   BOSTON, MA 02241-4930
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.536     State what the contract    STATEMENT OF WORK                        STARPOINT SOLUTIONS LLC
           or lease is for and the    RE: MASTER SERVICE AGREEMENT             ATTN: PETER MELOMO; EVP/PRACTICE PARTNER
           nature of the debtors     DTD 3/3/2014                             22 CORTLAND ST
           interest                                                            NEW YORK, NY 10007

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.537     State what the contract    MASTER SERVICES AGREEMENT                SUFFOLK CONSTRUCTION COMPANY, INC.
           or lease is for and the                                             ATTN: JOSEPH CAPPELLANO
           nature of the debtors                                              65 ALLERTON ST
           interest                                                            ROXBURY, MA 02119

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.538     State what the contract    LICENSE AGREEMENT TO PERFORM             SUNDANCE SQUARE MANAGEMENT LP
           or lease is for and the    WORK FOR TENANT AND/OR OWNER             201 MAINE STREE
           nature of the debtors                                              SUITE 700
           interest                                                            FORT WORTH, TX 76102-3134

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.539     State what the contract    EMPLOYER CONFIDENTIALITY AND             SUNRISE SENIOR LIVING MANAGEMENT INC
           or lease is for and the    DATA USE AGREEMENT                       ATTN: APRIL TY
           nature of the debtors                                              7902 WESTPARK DRIVE
           interest                                                            MCLEAN, VA 22012

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.540     State what the contract    MASTER SERVICES AGREEMENT                SUNRISE SENIOR LIVING MANAGEMENT INC
           or lease is for and the                                             ATTN: APRIL TY
           nature of the debtors                                              7902 WESTPARK DRIVE
           interest                                                            MCLEAN, VA 22012

           State the term remaining   10/23/2018

           List the contract number
           of any government
           contract

 2.541     State what the contract    MASTER SERVICES AGREEMENT                SYNOPSYS
           or lease is for and the                                             ATTN: GLORIA LEE, BENEFITS ADMINISTRATOR
           nature of the debtors                                              690 EAST MIDDLEFIELD RD
           interest                                                            MOUNTAIN VIEW, CA 94043

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.542     State what the contract    MASTER SERVICES AGREEMENT                SYNOPSYS
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              700 E MIDDLEFIELD RD
           interest                                                            MOUNTAIN VIEW, CA 94043

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.543     State what the contract    MASTER SERVICES AGREEMENT                SYSTEMAX INC
           or lease is for and the                                             ATTN: STACY ROBINSON
           nature of the debtors                                              11 HARBOR PARK DR
           interest                                                            PORT WASHINGTON, NY 11050

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.544     State what the contract    MASTER SERVICES AGREEMENT                SYSTEMAX INC
           or lease is for and the    EXHIBIT A SCHEDULE                       ATTN: STACY ROBINSON
           nature of the debtors     RE AGREEMENT DTD 6/23/2015               11 HARBOR PARK DR
           interest                                                            PORT WASHINGTON, NY 11050

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 143 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.545     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.546     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.547     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.548     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.549     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.550     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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           (Name)                                          Pg 144 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.551     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.552     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.553     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.554     State what the contract    STATEMENT OF WORK                        TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.555     State what the contract    STATMENT OF WORK                         TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.556     State what the contract    STATMENT OF WORK                         TARYX TECHNOLOGIES, INC.
           or lease is for and the                                             ATTN: CRAIG BARBER, AUTHORIZED AGENT
           nature of the debtors                                              PO BOX 119
           interest                                                            WAKEFIELD, RI 02879

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.557     State what the contract    MASTER DATA CENTER SERVICES              TELLIGEN, INC.
           or lease is for and the    AGREEMENT                                1776 WEST LAKES PARKWAY
           nature of the debtors                                              WEST DES MOINES, IA 50266
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.558     State what the contract    MASTER SERVICES AGREEMENT                TEXAS ASSOCIATION OF COUNTIES HEALTH
           or lease is for and the                                             & EMPLOYEE BENEFITS POOL
           nature of the debtors                                              ATTN: HEALTH & BENEFITS SERVICES
           interest                                                            PO BOX 2131
                                                                               AUSTIN, TX 78768
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.559     State what the contract    SERVICES CHANGE AUTHORIZATION            TEXAS ASSOCIATION OF COUNTIES HEALTH
           or lease is for and the    RE: MSA DTD 1/26/2017                    & EMPLOYEE BENEFITS POOL
           nature of the debtors                                              ATTN: QUINCY QUINIAN
           interest                                                            1210 SAN ANTONIO ST
                                                                               AUSTIN, TX 78701
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.560     State what the contract    MASTER SERVICES AGREEMENT                THE GAP INC
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.561     State what the contract    HIPAA BUSINESS ASSOCIATE                 THE GAP INC
           or lease is for and the    CONTRACT                                 ATTN: PRIVACY OFFICER
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.562     State what the contract    SERVICES CHANGE AUTHORIZATION            THE GAP INC
           or lease is for and the                                             ATTN: PRIVACY OFFICER
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.563     State what the contract    SERVICES CHANGE AUTHORIZATION            THE GAP INC
           or lease is for and the                                             ATTN: PRIVACY OFFICER
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.564     State what the contract    SERVICES CHANGE AUTHORIZATION            THE GAP INC
           or lease is for and the                                             ATTN: PRIVACY OFFICER
           nature of the debtors                                              2 FOLSOM ST
           interest                                                            SAN FRANCISCO, CA 94105

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.565     State what the contract    CONTINGENCY AGREEMENT                    THE NEWELL GROUP
           or lease is for and the                                             2082 WOODRUFF ROAD, STE B
           nature of the debtors                                              GREENVILLE, SC 29607
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.566     State what the contract    MASTER SERVICES AGREEMENT                THERAPY SERVICES INC
           or lease is for and the                                             2270 COLONIAL BLVD
           nature of the debtors                                              FORT MYERS, FL 33907
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.567     State what the contract    MASTER SERVICES AGREEMENT                U.S. SECURITY ASSOCIATES
           or lease is for and the                                             200 MANSELL COURT EAST, STE 500
           nature of the debtors                                              ROSWELL, CA 30076
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.568     State what the contract    SERVICES CHANGE AUTHORIZATION            UNITED RENTALS, INC.
           or lease is for and the    RE: MSA DTD 9/9/2013                     ATTN: AMY PUKALA, MITCH HOLDER & MARTA CARROLL
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.569     State what the contract    SERVICES CHANGE AUTHORIZATION            UNITED RENTALS, INC.
           or lease is for and the    RE: MSA DTD 7/15/2016                    ATTN: AMY PUKALA, MITCH HOLDER & MARTA CARROLL
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.570     State what the contract    SERVICES CHANGE AUTHORIZATION            UNITED RENTALS, INC.
           or lease is for and the    RE: MSA DTD 7/15/2016                    ATTN: AMY PUKALA, MITCH HOLDER & MARTA CARROLL
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.571     State what the contract    SERVICES CHANGE AUTHORIZATION            UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: AMY PUKALA, MITCH HOLDER & MARTA CARROLL
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.572     State what the contract    HIPAA BUSINESS ASSOCIATE                 UNITED RENTALS, INC.
           or lease is for and the    CONTRACT                                 ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.573     State what the contract    MASTER SERVICES AGREEMENT                UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.574     State what the contract    MASTER SERVICES AGREEMENT                UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.575     State what the contract    MASTER SERVICES AGREEMENT                UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.576     State what the contract    MASTER SERVICES AGREEMENT                UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.577     State what the contract    MASTER TERMS AGREEMENT                   UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLACE
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.578     State what the contract    EXHIBIT A - SCHEDULE OF WORK             UNITED RENTALS, INC.
           or lease is for and the    RE: MSA DTD 10/1/2013                    ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLAZA
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.579     State what the contract    MASTER SERVICES AGREEMENT                UNITED RENTALS, INC.
           or lease is for and the                                             ATTN: LEGAL DEPT
           nature of the debtors                                              100 FIRST STAMFORD PLAZA
           interest                                                            STE 700
                                                                               STAMFORD, CT 06902
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.580     State what the contract    HIPAA BUSINESS ASSOCIATE                 UNITED TECHNOLOGIES CORPORATION
           or lease is for and the    CONTRACT                                 ATTN: DIRECTOR, EMPLOYEE BENEFITS AND HUMAN
           nature of the debtors                                              RESOURCES
           interest                                                            UNITED TECNOLOGIES BUILDING
                                                                               HARTFORD, CT 06101
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.581     State what the contract    FIRST AMENDMENT TO MASTER TERMS          UNITED TECHNOLOGIES CORPORATION
           or lease is for and the    AGREEMENT                                ATTN: HR, BENEFITS DEPARTMENT
           nature of the debtors     AMENDS MASTER TERMS AGREEMENT            4 FARM SPRINGS ROAD
           interest                   DTD 6/15/2015                            FARMINGTON, CT 06032

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.582     State what the contract    LETTER OF INTENT                         UNITED TECHNOLOGIES CORPORATION
           or lease is for and the                                             ATTN: HR, BENEFITS DEPARTMENT
           nature of the debtors                                              4 FARM SPRINGS ROAD
           interest                                                            FARMINGTON, CT 06032

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.583     State what the contract    MASTER TERMS AGREEMENT                   UNITED TECHNOLOGIES CORPORATION
           or lease is for and the                                             ATTN: HR, BENEFITS DEPARTMENT
           nature of the debtors                                              4 FARM SPRINGS ROAD
           interest                                                            FARMINGTON, CT 06032

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.584     State what the contract    SECOND AMENDMENT TO MASTER               UNITED TECHNOLOGIES CORPORATION
           or lease is for and the    TERMS AGREEMENT                          ATTN: HR, BENEFITS DEPARTMENT
           nature of the debtors     AMENDS MASTER TERMS AGREEMENT            4 FARM SPRINGS ROAD
           interest                   DTD 6/15/2015                            FARMINGTON, CT 06032

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.585     State what the contract    THIRD AMENDMENT TO MASTER                UNITED TECHNOLOGIES CORPORATION
           or lease is for and the    TERMS AGREEMENT                          ATTN: HR, BENEFITS DEPARTMENT
           nature of the debtors     AMENDS MASTER TERMS AGREEMENT            4 FARM SPRINGS ROAD
           interest                   DTD 6/15/2015                            FARMINGTON, CT 06032

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.586     State what the contract    SERVICES CHANGE AUTHORIZATION            UNITED TECHNOLOGIES CORPORATION
           or lease is for and the                                             ATTN: LIDIA CARNEIRO
           nature of the debtors                                              4 FARM SPRINGS ROAD
           interest                                                            FARMINGTON, CT 06032

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.587     State what the contract    SERVICES CHANGE AUTHORIZATION            UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: JOANNA ROSEBUSH
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.588     State what the contract    SERVICES CHANGE AUTHORIZATION            UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: JOANNA ROSEBUSH
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.589     State what the contract    SERVICES CHANGE AUTHORIZATION            UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: JOANNA ROSEBUSH
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.590     State what the contract    BUSINESS ASSOCIATE AGREEMENT             UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.591     State what the contract    EXHIBIT A SCHEDULE OF WORK               UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.592     State what the contract    MASTER SERVICES AGREEMENT                UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.593     State what the contract    MASTER SERVICES AGREEMENT                UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.594     State what the contract    MASTER SERVICES AGREEMENT                UNIVERSITY OF MAINE SYSTEM
           or lease is for and the    EXHIBIT A                                ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.595     State what the contract    STANDARDS FOR SAFEGUARDING               UNIVERSITY OF MAINE SYSTEM
           or lease is for and the    INFORMATION ATTACHMENT C                 ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.596     State what the contract    STANDARDS FOR SAFEGUARDING               UNIVERSITY OF MAINE SYSTEM
           or lease is for and the    INFORMATION ATTACHMENT C                 ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.597     State what the contract    STANDARDS FOR SAFEGUARDING               UNIVERSITY OF MAINE SYSTEM
           or lease is for and the    INFORMATION ATTACHMENT C                 ATTN: LEGAL
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.598     State what the contract    SERVICES CHANGE AUTHORIZATION            UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: TOM HOPKINS
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                            Page 100 of 107
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          Provant Health Solutions, LLC       Filed 09/21/18 Entered 09/21/18
                                                                       Case number 13:35:51
                                                                                   (if known)        Main Document
                                                                                              18-23309
           (Name)                                          Pg 152 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.599     State what the contract    SERVICES CHANGE AUTHORIZATION            UNIVERSITY OF MAINE SYSTEM
           or lease is for and the                                             ATTN: TOM HOPKINS
           nature of the debtors                                              16 CENTRAL STREET
           interest                                                            BANGOR, ME 04401

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.600     State what the contract    QVIDIAN RENEWAL QUOTE                    UPLAND SOFTWARE
           or lease is for and the    Q-23644-3                                401 CONGRESS AVENUE, STE 1850
           nature of the debtors                                              AUSTIN, TX 78701-3788
           interest
           State the term remaining   8/23/2019

           List the contract number
           of any government
           contract

 2.601     State what the contract    QVIDIAN SUBSCRIPTION RENEWAL             UPLAND SOFTWARE
           or lease is for and the                                             401 CONGRESS AVENUE, STE 1850
           nature of the debtors                                              AUSTIN, TX 78701-3788
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.602     State what the contract    SALES ORDER                              UPLAND SOFTWARE
           or lease is for and the                                             401 CONGRESS AVENUE, STE 1850
           nature of the debtors                                              AUSTIN, TX 78701-3788
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.603     State what the contract    MASTER SERVICES AGREEMENT                US SECURITY ASSOCIATES
           or lease is for and the                                             200 MANSELL COURT EAST
           nature of the debtors                                              STE 500
           interest                                                            ROSWELL, GA 30076

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.604     State what the contract    MASTER SERVICES AGREEMENT                VALLEY SCHOOLS EMPLOYEE BENEFITS TRUST
           or lease is for and the                                             3050 W AGUA FRIA FREEWAY, STE 250
           nature of the debtors                                              PHOENIX, AZ 58027
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                            Page 101 of 107
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                                                                       Case number 13:35:51
                                                                                   (if known)        Main Document
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           (Name)                                          Pg 153 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.605     State what the contract    HIPPA BUSINESS ASSOCIATE                 VALLEY SCHOOLS EMPLOYEE BENEFITS TRUST
           or lease is for and the    AGREEMENT                                ATTN: EXEC DIR MEMBER SERVICES
           nature of the debtors                                              3050 W AGUA FRIA FREEWAY, STE 250
           interest                                                            PHOENIX, AZ 58027

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.606     State what the contract    FIRST AMENDMENT TO MSA                   VALLEY SCHOOLS EMPLOYEE BENEFITS TRUST
           or lease is for and the    AMENDS MASTER SERVICES                   ATTN: EXEC DIR MEMBER SVCS
           nature of the debtors     AGREEMENT DTD 8/17/2016                  3050 W AGUA FRIA FREEWAY, STE 250
           interest                                                            PHOENIX, AZ 58027

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.607     State what the contract    AMENDMENT #1                             VALLEY SCHOOLS EMPLOYEE BENEFITS TRUST
           or lease is for and the    AMENDS MASTER SERVICES                   ATTN: TOM ELLIOTT, EXEC DIR MEMBER SVCS
           nature of the debtors     AGREEMENT DTD 8/17/2016                  3050 W AGUA FRIA FREEWAY, STE 250
           interest                                                            PHOENIX, AZ 58027

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.608     State what the contract    ADDENDUM TO PURCHASE ORDER AND VAR RESOURCES INC
           or lease is for and the    CONSDITIONS OF CREDIT APPROVAL ATTN: RHONDA EVANS, NATIONAL ACCOUNT MANAGER
           nature of the debtors     APPLICATION 2013858            2330 INTERSTATE 30
           interest                                                  MESQUITE, TX 75150

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.609     State what the contract    LEASE AGREEMENT                          VAR RESOURCES INC
           or lease is for and the    BARRACUDA BACKUP SERVER                  ATTN: RHONDA EVANS, NATIONAL ACCOUNT MANAGER
           nature of the debtors                                              2330 INTERSTATE 30
           interest                                                            MESQUITE, TX 75150

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.610     State what the contract    MASTER LEASE AGREEMENT                   VAR RESOURCES INC
           or lease is for and the                                             ATTN: RHONDA EVANS, NATIONAL ACCOUNT MANAGER
           nature of the debtors                                              2330 INTERSTATE 30
           interest                                                            MESQUITE, TX 75150

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 154 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.611     State what the contract    MASTER LEASE AGREEMENT                   VAR RESOURCES INC
           or lease is for and the                                             ATTN: RHONDA EVANS, NATIONAL ACCOUNT MANAGER
           nature of the debtors                                              2330 INTERSTATE 30
           interest                                                            MESQUITE, TX 75150

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.612     State what the contract    CONFIDENTIALITY AGREEMENT                VERISK HEALTH INC
           or lease is for and the                                             ATTN: JORDAN BAZINSKY, COO
           nature of the debtors                                              201 JONES ROAD, 4TH FLOOR
           interest                                                            WALTHAM, MA 02451

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.613     State what the contract    BUSINESS ASSOCIATE AGREEMENT             WATERS TECHNOLOGIES CORPORATION HEALTH CARE
           or lease is for and the                                             PLAN
           nature of the debtors                                              34 MAPLE STREET
           interest                                                            MILFORD, MA 1757

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.614     State what the contract    AFFILIATE AGREEMENT                      WELLNESS CODES HEALTH LLC
           or lease is for and the                                             40 WALL ST, STE 2801
           nature of the debtors                                              NEW YORK, NY 10005
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.615     State what the contract    EXTENSION LETTER                         WELLNESS LAYERS INC
           or lease is for and the                                             ATTN: AMIR KISHON, PHD, CEO
           nature of the debtors                                              336 ATLANTIC AVE
           interest                                                            STE 301
                                                                               EAST ROCKAWAY, NY 11518
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.616     State what the contract    LICENSE AND SERVICES AGREEMENT           WELLNESS LAYERS INC
           or lease is for and the                                             ATTN: AMIR KISHON, PHD, CEO
           nature of the debtors                                              336 ATLANTIC AVE
           interest                                                            STE 301
                                                                               EAST ROCKAWAY, NY 11518
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 155 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.617     State what the contract    NOTICE OF EXTENSION                      WELLNESS LAYERS INC
           or lease is for and the    RE: AGREEMENT DTD 7/9/2014               ATTN: AMIR KISHON, PHD, CEO
           nature of the debtors                                              336 ATLANTIC AVE
           interest                                                            STE 301
                                                                               EAST ROCKAWAY, NY 11518
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.618     State what the contract    MASTER SERVICES AGREEMENT                WELLNESSFX, INC.
           or lease is for and the                                             152 W 57TH ST
           nature of the debtors                                              NEW YORK, NY 10019
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.619     State what the contract    SERVICES AGREEMENT                       WELLNESSFX, INC.
           or lease is for and the                                             ATTN: KATHRIN NIKOLUSS, CBDO
           nature of the debtors                                              HAMM'S BLDG
           interest                                                            1550 BRYANT ST, #590
                                                                               SAN FRANCISCO, CA 94103
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.620     State what the contract    SALES QUOTE# 3569                        WELLSOURCE
           or lease is for and the                                             ATTN: JILLIAN FAGAN, BUSINESS DEVELOPMENT SPECIALIST
           nature of the debtors                                              15431 SE 82ND DR
           interest                                                            PORTLAND, OR 97015

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.621     State what the contract    QUOTATION                                WELLSOURCE
           or lease is for and the    QUOTE NO 6641, ACCOUNT NO 90313          ATTN: RACHEL CHRISTENSEN, DIRECTOR OF SALES
           nature of the debtors                                              15431 SE 82ND DR
           interest                                                            PORTLAND, OR 97015

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.622     State what the contract    QUOTATION                                WELLSOURCE
           or lease is for and the                                             ATTN: RACHEL CHRISTENSEN, DIRECTOR OF SALES
           nature of the debtors                                              15431 SE 82ND DR
           interest                                                            PORTLAND, OR 97015

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                            Page 104 of 107
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                                                                                   (if known)        Main Document
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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.623     State what the contract    WSIV LICENSE FORM                        WELLSOURCE
           or lease is for and the    QUOTE NO. 6754, ACC NO. 90313            ATTN: RACHEL CHRISTENSEN, DIRECTOR OF SALES
           nature of the debtors                                              15431 SE 82ND DR
           interest                                                            PORTLAND, OR 97015

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.624     State what the contract    AMENDMENT TO THE SCHEDULE OF             WELLTOK, INC.
           or lease is for and the    WORK DTD 11/9/2013                       1530 15TH STREET
           nature of the debtors     RE: MASTER SERVICES AGREEMENT            DENVER, CO 80202
           interest                   DTD 11/9/2013

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.625     State what the contract    AMENDMENT TO THE SCHEDULE OF             WELLTOK, INC.
           or lease is for and the    WORK DTD 11/9/2013                       1530 15TH STREET
           nature of the debtors     RE: MASTER SERVICES AGREEMENT            DENVER, CO 80202
           interest                   DTD 11/9/2013

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.626     State what the contract    MASTER SERVICES AGREEMENT                WELLTOK, INC.
           or lease is for and the                                             1530 15TH STREET
           nature of the debtors                                              DENVER, CO 80202
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.627     State what the contract    SERVICES CHANGE REQUEST FORM         WELLTOK, INC.
           or lease is for and the    RE: SOW OF WORK NO. 3 DTD 11/4/2013; 1530 15TH STREET
           nature of the debtors     MASTER SERVICES AGREEMENT DTD        DENVER, CO 80202
           interest                   6/6/2014 AS AMENDED

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.628     State what the contract    TEAMING AGREEMENT                        WELLTOK, INC.
           or lease is for and the                                             1530 15TH STREET
           nature of the debtors                                              DENVER, CO 80202
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.629     State what the contract    SCHEDULE OF WORK - 100114 -              WELLTOK, INC.
           or lease is for and the    CENTURA                                  1675 LARIMER ST, STE 300
           nature of the debtors     RE: MASTER SERVICES AGREEMENT            DENVER, CO 80202
           interest                   DTD 11/9/2013

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.630     State what the contract    TEAMING AGREEMENT                        WELLTOK, INC.
           or lease is for and the                                             ATTN: JAMES J SULLIVAN, SR VP
           nature of the debtors                                              567 SAN NICOLAS DR, STE 360
           interest                                                            NEWPORT BEACH, CA 92660

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.631     State what the contract    INCENTIVE COMPENSATION PLAN              WHITE, BRIAN
           or lease is for and the                                             ADDRESS REDACTED
           nature of the debtors
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.632     State what the contract                                             WOLVERINE TRADING, INC.
           or lease is for and the                                             75 W. JACKSON BLVD.
           nature of the debtors                                              SUITE 200
           interest                                                            CHICAGO, IL 60604

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.633     State what the contract    AMENDMENT NO 2 TO MASTER                 ZIPONGO INC
           or lease is for and the    SERVICE AGREEMENT                        901 BATTERY ST, STE 250
           nature of the debtors     RE: MASTER SERVICE AGREEMENT             SAN FRANCISCO, CA 94111
           interest                   DTD 12/1/2015

           State the term remaining   12/31/2019

           List the contract number
           of any government
           contract

 2.634     State what the contract    MASTER SERVICES AGREEMENT                ZIPONGO INC
           or lease is for and the                                             901 BATTERY ST, STE 250
           nature of the debtors                                              SAN FRANCISCO, CA 94111
           interest
           State the term remaining   CURRENT

           List the contract number
           of any government
           contract




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                                                                                   (if known)        Main Document
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           (Name)                                          Pg 158 of 161
      List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired lease

 2.635     State what the contract    SERVICE ORDER                            ZIPONGO INC
           or lease is for and the    RE: AGREEMENT DTD 12/1/2015              C/O LERETA TAX & FLLOD SERVICES
           nature of the debtors                                              1123 PARK VIEW DIRVE
           interest                                                            COVINA, CA 91724

           State the term remaining   CURRENT

           List the contract number
           of any government
           contract

 2.636     State what the contract    SERVICE ORDER                            ZIPONGO INC
           or lease is for and the    RE: AGREEMENT DTD 12/1/2015              C/O PASIFIC GAS AND ELECTRIC
           nature of the debtors                                              245 MARKET STREET
           interest                                                            SAN FRANCISCO, CA 94015

           State the term remaining   12/31/2018

           List the contract number
           of any government
           contract




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  Fill in this information to identify the case:
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 Debtor        Provant Health Solutions, LLC


 United States Bankruptcy Court for the: Southern District of New York


 Case number          18-23309
  (if known)
                                                                                                                                         ¨ Check if this is an
                                                                                                                                            amended filing

 Official Form 206H
 Schedule H: Codebtors                                                                                                                                   12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
 Additional Page to this page.


 1.     Does the debtor have any codebtors?
        ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        þ Yes.

 2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
        Column 1: Codebtor                                                                           Column 2: Creditor
                                                                                                                                            Check all schedules
                Name                            Mailing Address                                        Name                                 that apply

 2.1            ACCOUNTABLE HEALTH              560 N. ROGERS RD                                       CNH FINANCE FUND I, L.P.             þ D
                SOLUTIONS, LLC                  OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.2            ACCOUNTABLE HEALTH              560 N. ROGERS RD                                       SWK FUNDING, LLC                     þ D
                SOLUTIONS, LLC                  OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.3            HOOPER DISTRIBUTION             560 N. ROGERS RD                                       CNH FINANCE FUND I, L.P.             þ D
                SERVICES, LLC                   OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.4            HOOPER DISTRIBUTION             560 N. ROGERS RD                                       SWK FUNDING, LLC                     þ D
                SERVICES, LLC                   OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.5            HOOPER HOLMES, INC.             560 N. ROGERS RD                                       CNH FINANCE FUND I, L.P.             þ D
                D/B/A PROVANT HEALTH            OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.6            HOOPER HOLMES, INC.             560 N. ROGERS RD                                       SWK FUNDING, LLC                     þ D
                D/B/A PROVANT HEALTH            OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.7            HOOPER INFORMATION              560 N. ROGERS RD                                       CNH FINANCE FUND I, L.P.             þ D
                SERVICES, INC.                  OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.8            HOOPER INFORMATION              560 N. ROGERS RD                                       SWK FUNDING, LLC                     þ D
                SERVICES, INC.                  OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.9            HOOPER KIT SERVICES,            560 N. ROGERS RD                                       CNH FINANCE FUND I, L.P.             þ D
                LLC                             OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.10           HOOPER KIT SERVICES,            560 N. ROGERS RD                                       SWK FUNDING, LLC                     þ D
                LLC                             OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G

 2.11           HOOPER WELLNESS, LLC            560 N. ROGERS RD                                       CNH FINANCE FUND I, L.P.             þ D
                                                OLATHE, KS 66062                                                                            ¨ E/F
                                                                                                                                            ¨ G


Official Form 206H                                                       Schedule H: Codebtors                                                        Page 1 of 2
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        Additional Page if Debtor Has More Codebtors

        Column 1: Codebtor                                                           Column 2: Creditor
                                                                                                               Check all schedules
            Name                           Mailing Address                            Name                     that apply

 2.12       HOOPER WELLNESS, LLC           560 N. ROGERS RD                           SWK FUNDING, LLC       þ D
                                           OLATHE, KS 66062                                                  ¨ E/F
                                                                                                             ¨ G




Official Form 206H                                           Schedule H: Codebtors                                    Page 2 of 2
  Fill in this information to identify the case:
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 Debtor        Provant Health Solutions, LLC                          Pg 161 of 161

 United States Bankruptcy Court for the: Southern District of New York


 Case number          18-23309
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individuals position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          þ Schedule H: Codebtors (Official Form 206H)

          þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          ¨ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 9/20/2018
                            MM / DD / YYYY
                                                              û     /s/ James E. Fleet
                                                                    Signature of individual signing on behalf of debtor


                                                                    James E. Fleet
                                                                    Printed name


                                                                    Chief Restructuring Officer
                                                                    Position or relationship to debtor




Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors
